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PAUL T. HOUSCH
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151 THE CHA;J_CERY Qdi_J-R“_T“FOR DAvInsoN COUNTY, TENNESSEE

AT NASHV`ILLE
TIMOTHY HoLLAHAN AND' 3
JENNIFER HoLLAHAN, )
PLAINTlFFS ~)
' )
vS. ) DOCKET NO. MQ:=ZE
)
THE STANDARD FIRE INSURA\IC-E ) now DEMAND oF TWELVE
coMPANY, ) -
DEFENDANT. 3

r/_
` n o
VERIFIED COMPLAIN ig C\J d Y

COMES NOW, The P_,_ TN IF`FQ TIMOTHY H_O -L_A_I~IAN AN -TENNIFEB_

__._ _ ._; ._

 

HOLLAHAN, by and through undersigned counsel, and sue DEFENDANT THE STANDARD

'FIRE [NSURANCE_COMPANY and for causes of action would sue unto the Coun as follows:

I.

PARTIES JURISDICTION AND VENUE

 

l. PLAINTIFFS TlM()TI-IY HOLLAHAN ANIJ JENNIFER HOLLAHAN are
husband and Wife, and citizens and residents Of Be]]evue, Dav'idson Coun“ry1 Tennessee, and reside
at 1016 General Creorge Pati.on Rd.q Bellevue, Tennessce 3?22].

2. The DEFENDA_\IT THE STANDARD F[RE INSURANCE COMPANY is a foreign
corporation, duly charted in the State of Connecticut, and is duly registered and licensed and
authorized to conduct insurance business in the State of Tennessee, and particularly in Davidson
County, Tennessee_ The DEFEND_ANT THE STANDARD FIRE INSURANCE COMPANY’S
home office is located at 484(] Forrest Drive, Number C')GTME 32?, Colum‘oia, South Camlina
29206. Sen»'ice of process may be obtained upon the DEFENDANT THE STA"‘~IDARD FIRE
I`NSURANCE COMPANY through the Tcnnessec Department of Commercc and Insurance for

the Slate of Tennessee_, 500 James Rober'tson Parkway_._ ?th Floor, Nashvil]e, Tennessee 37243-

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1131. (See T.C.A. § 56-2-504). `l`he DEFENDANT STANDARD_ FIRE INSURANCE
‘ COMPANY’S Agent for service of process through the Tennessee Department of Commerce and
insurance is CSC, 2908 Poslon Ave., Nashville, Tennessee 37203.

3. Jurisdiction oft_bis Court is invoked pursuant to the provisions of T.C.A. § 16-1 l-lDl ,
er seq.; and T.C.A. §47-18-109 and § 56-7-105. Venue is proper in Davidson County, 'l`ennessee,
because it is the County in which DEFENDANT conducts or has conduct business and all the facts,
which give rise to the causes of action arose in Davidson County, Tennessee.

II.
FACTUAL ALLEGATIOBS

4. On or about Auguslt 2, 2010, for consideration of premiums paid and accepted, the
DEFENDANT, THE STANDARD FIRE INSURANCE COMPAN¥, through Trave]er°s
Insurance, sold to PLAINT[FFS a Homeowner’s lnsurance Policy, to wit Policy No..978409682-
633-1. (See Exhibit “A” - Copy ofHomeowner’s Policy signature`). The Homeowner’s Policy was
issued_, With a policy term of 8/02/2010-3/02/2011 through AL Phillips Agency, on the
PLAINTIFF’S residence located at 6526 Currywood Drive, Nashville, Davidson County,
Tennessee 37205.

5. That on or about April 13, 2011, the home of the PLAINTIFFS located at 6526
Currywood Drive, Nashuille, Tennessee 37205 was damaged by and/or destroyed by a fire. The
peril of loss by r'neis a peril covered by the policy issued by me'DEFENDANT THE STANDARD
FIRE INSURANCE COMPANY. (See Exhibit “A” ). In addition to the structure, the
PLAINT[FFS suffered fire damage to their personal property and incurred other incidental and
collateral expenses, including additional living expenses all of which are also covered under the

policy of insurance

Case 3:14-cv-OOOOl Document 1-1 Filed 01/02/14 Page 2 of 141 Page|D #: 6

 

 

 

 

 

 

6. The PLAINTIFF’S fire loss to their residence was considered to be substantial as to the
damages to the residence and substantial damages to their personal property, which are covered
under the policy coverage limits of said policy

7. In accordance with the tenns and conditions of the subject policy with Homeowner’s
Insura.nce li’olicy1 the PLAINTIFFS timely and promptly notified the DEFENI)ANT, THE
STANDARD FIRE INSURANCE COMPANY of the loss that occurred as a result of the fire on
April 13, 2011.

8. The DEFENDANT, THE STANDARD FIRE INSURANCE COMPANY, did send
representatives and/or adjusters to investigate PLAINTIFFS’ loss.

9. On or about April 17, 2011, PLAINTIFFS received a letter from Mr. Ted Ale)tander,
General Adjustor for the DEFENDANT, THE STANDARD FIRE [NSURANCE COMPANY,
Who informed PLAINTIFF that he had been assigned to the handling of their claim and that the
DEFENDAN’I`, THE STANDARD FIRE INSURANCE COMPANY, intended to undertake an
investigation of the facts and circumstances surrounding their claim. (See E.)chibit “B” - Copy of
Letter from Mr. Ted Alexander, Genera_l Adjustor, dated 4/17/20] l).

10. The Metropolitan Fire Department also launched an investigation of the fire of the
PLAINT[FFS’ residence; and due to the degree of the damage to the PLAI'NTIFF’S residence and
the structural damage to the residence as a result of the tire, PLAINTIFFS were immediately
informed by the representatives of the DEFENDANT THE S'I`ANDARD FIRE INSURANCE
COMPANY and the Metropolitan Fire Department not to enter the premises because of the safety
concerns

l l. That on or about May 4, 2011, the DEFENDANT STANDARD FIRE INSURANCE

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 3 of 141 Page|D #: 7

 

 

 

 

 

COMPANY hired Greco Contractor Consultants to inspect the ltire damage to PLAINTIFFS’
residence and to determine the replacementlcosts of the tire damage to the residence Greco
Contractor Consultants determined the estimate of the tire damage to the residence structure to be
$3()8,866.25 and that the net claim was approximately $308.864.25. (See Exhibit “Cf’ - Copy of
Greco Contractor Consultant’s Surnmary; Recap by rooms/Recap`by Categon`es).

12. That on or about .Tuly 18, 2011, PLAINTIFFS, through the assistance of the
DEFENDANT, Tl~IE STANDARD FIRE INSURANCE COMPANY’S agents, PLA[NTIFFS
submitted an initial Sworn Statement in Proof of Loss. (See Exhibit “D” - PLAINTIFFS’ initial
Sworn Statement in [’roof of Loss). v

13. On or about July 28, 2011, PLAINTIFFS Were notified in writing by the
DEFENDANT THE STANDARD FIRE INSURANCE COMPANY’S oounsel, Hon. Karen K.
Karabinos, Esq., that the DEFEN])ANT, THE STANDARD FIRE INSURANCE COWANY,
intend to schedule PLAINTIFFS’ examinations under oath, arising out of the tire on their
premises oprril 13, 201 l, regarding their loss claim, at the Hampton Inu in Nashville, Tennessee,
and that PLAINTIFFS should bring with them certain documents and materials, as identified in
documents l-15 contained in said letter. (See Exhibit “E” - Copy of Letter from the
DEFENDANTS’ counsel, Ms. Karen Karabinos to PLAINTIFFS).

14. That because of the substantial tire loss and damage to PLAINTIFFS’ personal
property, including damage to their personal clothing and their children’s clothing, PLAINTIFFS
and their children had to relocate to a hotel and were unable to access their residence due to the
dangerous conditions existing of the structure of the premises due to the tire loss.

15. That due to PLAINTIFFS’ fire loss'and inability to gather records and obtain the

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 4 of 141 Page|D #: 8

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letters and documents requested, and PLAINTIFF JENNIFER HOLLAHAN’S mandatory

training at work, PLAINTIFFS’ examination under oath was continued until October 11, 2011.
(See Exhibit “F” - The DEFENDANT STANDAR]) FIRE INSURANCE COM`PANY’S
Counsel’ s letter, dated September 26, 201 l).

16. That on or about October ll, 2011, PLAINTIFFS were duly examined under oath by
the DEFENDANT, THE STANDARD FIRE INSURANCE COMPANY’S counsel, Ms. Karen
K. Karabinos.

17. That between the period prior to October I 1, 201 1 and atter October 1 l, 201 1 through
December 201 1, PLAINTIFFS attempted to locate the documents requested by DEFENDANT,
THE STANDARD FIRE INSURANCE COMPANY, to support their fire loss claim and
cooperated with the DEFEND¢LNT, THE STANDARD FIRE INSURANCE COMPANY, in
executing certain consent forms and releases to provide the ])EFENDANT, THE STAN])ARD
FIRE INSURANCE COMPANY, with documents and materialsrequested by the DEFENDANT,
THE STANDARD FIRE INSURANCE COMPANY, which PLAINTIFFS did not have in their
possession and!or that were destroyed by tire; and PLAINT[FFS made every effort to cooperate
with the DEFENDANT, TI-IE STAN])ARD FIRE [NSURANCE COMPANY, in processing
their tire loss claim. (See Exhiblt “G” - The DEFENDANT S'i`ANDARD FIRE INSURANCE
COMPANY’S Counsel’s Letter, dated October 28, 2011).

18. That on or about December 12, 2011, PLAINTIFFS were notified by the
DEFENDANT, THE STANDARD lFIRE [NSURAN CE COMPANY’S counsel by letter,

requesting more information about their tire loss claim and were notified that they had failed to

provide documentation concerning their claim. (See Exhibit “H” ~ DEFENDANT THE

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 5 of 141 Page|D #: 9

   

s'rANDAnD Fntti INSURANcE-coMPAN`Y’s eeueeei=e letter dated neeember 12,2011).

19. That on or about December 28, 2011, PLAINTIFF submitted an amended Sworn
Statement in Proof of Loss to the DEFENDANT, THE STANDARD .FIRE INSURANCE
COMPANY. {See Exhibit “l” - Sworn Statement in Proot` of Loss).

20. That on or about January 6, 2012, PLAINTIFFS received a letter, from the
DEFENI)ANT, THE sTANDARn FIRE INSURANCF. coMPANv’s eeuneei, eating ther the
DEFENDANT, THE STANDARD FIRE INSURANCE COMPANY, must reject
PLAI`NTIFFS’ Swom Statement in Proot`ot`Loss because PLAINTIFF had failed to provide any
documentation purporting the amount they were claimingl (S ee E)diibit “J” - Copy of Letter from
DEFENDANT’S counsel, dated January 6, 2012).

21. PLAINTIFFS had submitted documentation to the DEFENDANT, THE
STANDARD ii'IRE INSURANCE COMPANY,' and had previously signed Authotization Forms
and Releases for the DEFENDANT, THE STANDARD FIRE INSURANCE COMPANY’S
counsel to obtain documents for the benefit ot` the DEFENDANT, THE STANDARD FIRE
INSURANCE COMPANY, which the PLAINTIFFS were unable to obtain andfor produce
copies thereof because ot`the fire loss. Substantial records were destroyed in PLAINTIFFS’ fire
loss at the time ot`the fire.

22. That between the period January 6, 2012 through December 1, 2012, PLAlNTT_FF

waited for the DEFENDANT, STANDARD FIRE INSURANCE COMPANY, to process their

claim and were told by the DEFENDANT STAN]]ARD FIRE INSURANCE COMPANY’S
Generai Adjustor, Ted Aiexander, that their claim Was under advisement and that it had not been

officially denied by the DEFENDANT, STANDARD FIR_E INSURAN CE COMPANY.

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 6 of 141 Page|D #: 10

 

   

 

23. That PLA_IN'I`IFFS have materially complied and cooperated With the DEFEN]JANT,
STANDARD FIRE TNSURANCE COMPANY, in processing their claim under the policy,
including giving the DEFENDANT, STANDARD FIRE INSURANCE COI\'IPANY, access to
their property for the DEFENDANT’S representatives and investigators to inspect and investigate
the tire loss and providing a Swom Statement under Oath to the DEFENDANT, STANDARD

FIRE INSURANCE COMPANY at the DEFENDANT, STANDARD FIRE H`ISURANCE

 

COMPANY’S request ; and have fully cooperated with the DEFENDANT, STANDARD FIRE
INSURANCE COMPANY, in providing documentation the§,r could obtain; and for those
documents and materials that they were unable to produce, PLAINTIFFS provided consent forms
and authorization forms: duly signed for the DEFENDANT STANDARD FlRE INSURANCE
COMPANY to obtain said documents and materials thereof

24. That on December 12, 2012, the DEFENDANT, STANDARD FIRJ£' INSURANCE

COMPANY’S General Adjustor, Mr. 'I`ed Alexander, officially denied PLAINTIFFS’ tire loss

 

claim. (See Exhibit “K” - DEFENDANT THE STAl'_\lDARD FIRE [NSURANCE
COMPANY’S General Adjustor’s Letter, dated December 12, 2012).
25. That on or about January 16, 2013, PLAINTIFF’S counsel sent a letter to Mr. Ted

Ale)tander, and made demand of the claim for $500,000.00 for the fire damage to their dwelling,

 

personal property and loss ofuse as a result of the fire on April 13, 201 1. (See Exhibit “L” - Copy

of PLAINTIFF’S Counsel’s letter, dated January 14, 2013).

26. That on or about .lanuary 28, 2013, the DEFENDAN'I`, S'I`ANDARD F[RE
INSURANCE COMPANY, counsel Hon. Karen K. Karabinos, Esq., notified i

PLAINTIFFS’ counsel in writing that the DEFENDANT, THE STANDARD FIRE

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 7 of 141 Page|D #: 11

 

 

 

 

INSURANCE COMPANY, is standing by it’s original denial of claim on December 12, 2012.
(See Exhibit “M” - Copy ofDEFENDANT’S counsel’s letter dated lanuary 28, 2013).
274 That on or about February 13, 2013, PLA_INT[FFS’ counsel employed the Derryberry

Company Construction to review the Greco Construction Consultant’s Report, photographs and

lnvestigation Report of the Metropolitan l~`ire Department to determine the `cost to rebuild the house

at 6256 Currywood Drive, Nashville, Tennessee. The Derryberry Construction Company
determined that the cost to rebuild the fire damaged structure was $447,228.00. (See Exhibit “N”
- Report of the Derrybeny Construction Ccmpany Report),

28. On or about June 17, 2013, PLAINTIFFS’ counsel submitted a letter, to the
DEFEN[)ANT, THE STANDARD FIRE INSURANCE COMPANY, with PLAINTIFFS’
Arnended Sworn Statenient in Proof of l_,oss, in the amount ot` 3553,912.66, with supporting
documentation (See Exhibit “O” - PLAINTIFFS’ Arnended Sworn Statement in Proof of l.oss).

29. rhei en er about rely ls, 2013, the DEFENI)ANT, run s'rANDARD FlRE
[NSURANCE COMPANY, declined to honor PLAINTIFFS’ tire loss claim, as amended and
refused to make any payments or claims to their tire loss claim. (See Exhibit “P” - The
DEFENDAN'I` STANDARD FIRE INSURANCE COMPANY’S Counsel’S luetter7 dated .luly
18, 20]3).

30. That before the Official Denial of PLAINTIFFS’ tire loss claim on December l2,
2012, PLAINTIFFS‘ reasonably relied upon the DEFENDAN'I`, THE STANDAR_D FIRE
INSURANCE COMPANY’S duty as their insurance company to deal with them fairly and in
good faith in investigating evaluating and informing them about their claim.

31. That the subject policy was required to pay for damages to the property caused by tire

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 8 of 141 Page|D #: 12

 

   

and pay for the loss of personal property caused by the fire and loss oi` use.

32. That the DEFENDANT, STANDARD FIRE INSURANCE COMPANY, launched
an investigation into the fire loss; PLAINTIFFS assisted in the investigation thereof, as required
by their homeowner’s policy of insurance.

33. The DEFENDANT, STANDARD FIRE INSURANCE COMPANY, investigated
the claim until approximately December 12, 2012: and led PI..AINTIFFS to believe through the
DEFENDANT STANDARD FIRE INSURANCE COMPANY’S General Adjustor, Mr. Ted
Alexander, that they had cooperated with the investigation of the DEFENDANT, THE
STANDARD FIRE INSURANCE COMPANY to the best of their abilities and reliance thereof

34. That while investigating PLAINTIFFS’ fire loss claim, the DEFENDANT, THE
STAN])ARD FIRE INSURANCE COMPANY, forced PLAINTIFF to take steps, which were
unreasonable and continued to make representations to PLAINTIFF that they were not to return
to the premises due to the safety concerns of the property in hopes that the PLAINTIFF would
simply abandon their claim

35 . That the DEFENDANT, THE STANDARD FIRE INSURANCE COMPANY, while
investigating PLAINTIFFS’ fire loss claim, steered the investigation to focus on the I’LAINTIFF,
TIMOTHY HOLLAHAN as the person who may have started the fire in question of the
PLAINTIFFS’ residence on April 13, 2011.

36. That while the DEFENDANT, THE STANDARD FIRE lNSURANCE
COMPANY, conducted the subject investigation, the DEFENDANT, THE STANDARD FIRE
INSURANCE COMPANY, through it’s General Adjustor, Mr. Ted Alexander, never intended to
pay PLAINTIFFS’ fire loss claim, as he believed the PLAINTIFFS had set tire to their own

residence

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 9 of 141'Page|D #: 13

 

 

 

3?. The DEFENDANT, THE STAN.DARD F[RE INSURANCE COMPANY, has not
uncovered any facts, which establish or show that PLAINTIFF, TIMOTHY HOLLAHAN,
started the fire himself or caused the tire to be set at PLAINTIFFS’ residence on April 13, 2011.

38: That the DEFENDANT, THE STANI)ARD FIRE INSURANCE COMPANY,
during the course of it’s investigation made certain promises to the PLAINTIFFS regarding the
rebuilding and/or replacement of their residence and to afford PLAINTIFFS’ money to build on
during the adjustment ot` their claim and that those promises were made in order to lure
PLAINTIFF beyond any deadline for filing suit under said policy.

39. That the DEFENDANT, THE STANDARD FIRE INSURANCE COMPANY., has
no evidence to warrant the denial of PLAINTIFFS’ claim of their tire loss claim, and has not
uncovered any facts or intend to show or settle that PLAINTIFFS started the tire or at their
direction had someone start the fire attire premises.'

40. That at the time the DEFENDANT, THE STANDARI) FIRE INSURANCE
COMPANY, was conducting this investigation, PLAINTIFFS were in a weakened emotional state
because Of their fire loss claim and the destruction of their home and their worldiy possessions,
including their children’s clothing and furniture leaving them helpless and without funds to rebuild
their residence or to replace their personal property destroyed in the fire. That the DEFEN DANT,
THE STANDARD FIRE INSURANCE COMPANY did not even offer PLAINTIFFS any
shelter or clothing or funds to obtain shelter or clothing after the iire.

4l. That while the DEFENDANT, THE STANDARD FIRE I`NSURANCE COMPANY,
was conducting it’s investigation the DEFENI)ANT, THE STANDARD FIRE ll\lSU RANCE

COMPANY, attempted to take advantage of the PLAINTIFFS’ weakened emotional state of mind

10

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 10 of 141 Page|D #: 14

by continuously pressuring PLAINTIFFS to produce documents, which the DEFENDANT
STANDARD FIRE INSURANCE COMPANY knew or had reason to know had been consumed
in the fire, and that they did not have the original documents requested and,-’or copies thereof due
to the fire

42. That the DEFENDANT, THE STANDARD FIRE INSURANCE COMPANY,
attempted investigation and the incompletion of its investigation by the DEFENDANT, THE
STANDARD FIRE INSURANCE COMPANY was so that PLAINTIFFS would not take any
legal action against the DEFENDANT, THE STANDARD FIRE INSURANCE CDMPANY,
to assert their claims under their policy

43. That PLAINTIFFS’ counsel made demands for payment under the policy and requested
the ])EFENDANT, STANDARD FIRE [NSURANCE COMPANY to reconsider their claim, but
the DEFENDANT STANDA-RD FIRE INSURANCE COMPANY denied.the request

44. That PLAINTIFFS have demanded payment under a valid insurance policy, pursuant
to T.C.A. § 56~7-105, and that all other provisions under Ten.nessee Law apply thereof_

45. That the DEFENDANT, STANDARD FIRE INSURANCE COMPANY’S refusal
to pay the claim Within sixty (60) days is in violation of T.C.A. §56-7-105.

46. That PLAINTIFFS have complied with the policy provisions, as requested by the
DEFENDAl\iT, THE STANDARD FIR.E INSURANCE COMPANY, and that PLAINTIFFS
did not prevent the DEFENDANT, THE STANDARD FIRE INSURANCE COMPANY from
investigating any other issues relating to their claim before the DEFENDANT, THE STANDARD
F[RE INSURANCE COMPANY officially denied PLAINTIFFS’ claim on December 12, 2012.

47. That the DEFENDANT, THE STANDARD FIRE INSURANCE COl\/[PANY’S

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Case 3:14-cV-00001 Document 1-1 Filed 01/02]14 Page 11 of 141 Page|D #: 15

 

 

 

 

 

conduct and representations by it’s Gencral Adjustor, I\/lr. Ted Alexander, to PLAINTIFFS led
PLAINTIFFS to reasonably believe that their claim would be honored during the course of the
investigation Based upon this reliance and the DEFENDANT, THE STANDARD FIRE t
INSURANCE COMPANY’S General Adjustor Representative Ted Alexander’s conduct, of

leading PLAIN'I`IFFS to believe that their claim would be honored, PLAI`NT}FFS did not pursue

 

any legal action before April 13, 2012 and/or before the official denial oi` their claim on December
12, 2012_

48. That no one has been charged for actions of the fire oi` the PLAINTIFFS’ residence,
and there is no factual basis which exists Warranting a denial of PLAINTIFFS’ claim by the
DEFENDANT, THE STANDARD FIR.E IN SURANCE COMPANY.

49. The DEFENDANT, THE STANDARD FIRE INSURANCE COMPANY, has

failed to pay PLAINTIFFS’ fire loss claim under their homeowner’s policy of insurance

IV. '
CAUSES OF ACTION
COUN! I
BREACH OF CONTRAC'[

50. The allegations contained in Paragraphs l through 49 are incorporan by reference as

 

though hilly set forth herein.
51. PLAINTIFFS and the DEFENDANT, THE STANDARD FIRE INSURANCE

COMPANY, have entered into a valid contract for insurance under Horneowner’s Policy No. i

978409682-633-].

12

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 12 of 141 Page|D #: 16

 

     

 

52. Under the said Horneowner’s lnsurance Policy Company, the DEFENDANT, THE
STANDARD FIRE INSURANCE COMPANY, was required to pay for loss under fire as to the
consumed property of fire of PLAINTIFFS’ said residence, including their personal property_

53. That PLAINTIFFS suffered losses due to afire of their dwelling, personal property,
at the covered property at 6526 Currywood Drive, Nashville, Tennessee 3?205.

54. The DEFENDANT, THE STANDARD FIRE INSURANCE C()MPANY, has
refused to pay for their losses as the subject Horneowner’s Contract requires

55. That as direct result of the DEFENDANT, THE STANDARD FIRE INSURANCE
COMPANY’S refusal to pay a_valid and just claim, the DEFENDANT, THE STANDARD FIRE
INSURANCE COMPANY breached said Horneowner’s lnsurance Policy and PLAINTIFFS have
been damaged to the extent of their claim not being paid and other damages to be proven at trial.

W`I-[EREFORE, PLAINTIFFS WILL HEREINAFTER PRAY FOR RELIEF UNDER
COUNT I:

C_OM

TENNESSEE §§§!ESUMER PROTEC'I`ION ACT CLAIM
56. The allegations contained in Paragraphs l through 55 are incorporated herein by

reference as though fully set forth herein
57. PLAINTIFFS bring this Count under the Tennessee Consurner Protection Act

(hereinafter the"‘Act”), T.C.A. §§ 47-18»101 el seq.

58. PLAINTIFFS are consumers natural persons, or individuals and thus is a “person”

under T.C.A. § 47-12_109(3)_

59. The DEFENDANT, THE STANDARD FIRE INSURANCE COMPANY is a

13

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 13 of 141 Page|D #: 17

 

 

 

 

“corporation” or “other legal or commercial entity however organized" and thus is a “person” under
the T.C.A. § 47-18-103 (9).

60. That DEFENDANT, THE STANDAR]) FlRE INSURANCE COMPANY engaged '
in trade or commerce as defined by T.C.A. § 47-]8-109(]1).

6]. The providing of insurance under a valid insurance policy in exchange for paymnt of
premiums constitutes trade or commerce under the Act.

62. The contract provides that damage for fire loss would be covered absent certain
exceptions

63. The DEFENDANT, THE S'I`ANDARD FIRE INSURANCE COMPANY continued
to “su*ing PLAINTIFFS along” in the belief that they were going to repair or replace their home
while having no intention of paying the claim whatsoever.

64. The DEFENDANT, THE STANDARD FIRE lNSURANCE CO MPANY refused
to pay the claim until the ])EFENDANT, THE STANDARD FIRE INSURANCE COMPANY
felt they had manufactured enough evidence to potentially deny the claim.

65. The DEFENDANT, THE ST ANDARD FIRE INSURA.NCE COMPAN`Y refused
to pay the claim until the DEFENDANT, THE STANDARD FIRE INSURANCE COMPANY
felt they were in a position to keep PLAINTIFFS from seeking legal redress for their improper
deniall

66. None cf the exceptions to coverage under this insurance policy apply.

67. ' The DEFENDANT, THE STANDARD FIRE INSURANCE COMPANY has
attempted to invent an exception to avoid paying a valid claim under a valid insurance policy_

68v The DEFENDANT, THE STANDARD FIRE INSURANCE COMPAN`Y harassed

14

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 14 of 141 Page|D #: 18

 

 

   

 

 

PLAINTIFF during the course of their investigation into the claim in hopes that they would not
pursue nirther action on their wrongful denial.

69. The DEFENDAN'I`, THE STANDARD FIRE INSURANCE COMPANY was
negligent in the manner it handled the investigation leading to the wrongful denial of the claim.

70. ’l_`he DEFENDANT, THE STANDARD FIRE INSURANCE COMPANY, either
intentionally or negligently5 refused to investigate this matter fully and as a result the claim was
wrongfully dnied.

71. The DEFENDANT, THE STANDARD FIRE INSURANCE COMPANY turned a
“blind eye” to the truth in this matter so that they7 mayr denyr the claim.

72. The DEFENDANT, THE STANDARD FIRE INSURANCE COMPANY based
their decision to deny the claim on nothing more than wild speculation v

73_ The DEFENDANT, THE STANDARD F[RE INSURANCE COMPANY denied
their claim in hopes that PLAINTIFFS would not take any further legal action against them.

74. The DEFENDANT, THE STANDAR.D FIRE INSURANCE COMPANY has
refused to identif§,7 their alleged “Ifactual basis” for the denial of the claim in hopes that no legal
action would be taken against them. ln reality, no such factual basis exist

75. The DEFENDANT, THE STANDARD FIRE INSURANCE COMPAN`Y has denied
the claim in an attempt to "‘play the numbers” that the PLAINT[FFS will either give up, or wear
down so that the case may be settled for a lesser amount than PLAINTIFFS are entitled to.

76. The DEFENDANT, THE STANI)ARD FIRE INSURANCE COMPANY has denied
a valid claim with knowledge that no valid reason exists to deny said policy.

77. The DEFENDANT, THE STANDARD FIRE INSURANCE COMPANY’S acts Or

15

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 15 of 141 Page|D #: 19

 

 

 

practices listed above were unfair andfor deceptive and as such violate the Consumer Protection `
Act. Mde_rs, 180 S.W.3d 109, (Tenn. Ct. App. 2005). t
78. The DEFENDANT, TI-[E STANDARD FTRE INSURANCE COMPANY committed l
l l
or engaged in unfair or deceptive acts or practices affecting the conduct of any trade or commerce l
and constituted unlawful acts or practices in violation of T.C.A. § 47-] 8-l04(a). l
'?9. The DEFENDANT, THE STANI)ARD FIRE INSURANCE COMPANY has
engaged in a pattern of the above listed activities in their dealings with homeowners over the United
States thereby warranting an award of punitive damages
80. Separately, DEFENDANT, THE STANDARD FIRE INSURANCE COMPAN`Y’S
acts or practices violated particular subsections ofT.C.A_ § 47-18»104(b), namely: “Without limited
the scope of subsection (a), the following unfair or deceptive acts or practices affecting the conduct
of any trade or commerce are declared to be unlawful and in violation of this part:”
A. (b)(lZ) - “Representing that a consumer transaction confers or involves rights,
remedies, obligations that it does not have or involve or which are prohibited by
law.”
B. l (b)(27) - “Engaging in any other actor practice which is deceptive to the consumer
or to any other person.”
C. (b)($) - “Representing that goods or services have sponsorship, approval,
characteristics, ingredients, uses, benefits cr quantities that they do not have or that
a person has a sponsorship approval, status, affiliation or connection that such

person does not have”.

D. (b)(7} » “Representing that goods or services are of a particular standard, qualityl or

 

grade, or that goods are of a particular style or modei, if they are of another;”

-16

 

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 16 of 141 Page|D #: 20

 

E. (b)(9) - “Advertising goods or services with intent not to sell them as advertised”

F. (b)(l9) - “Representing that a guarantee or warranty confers or involves rights or
remedies which is does not have or involve',”

G. (b)(Zl ) - “Using statements or illustrations in any advertisement which create a false
impression`of the grade, quality, quantity, make, value, age, size, color, usability or
origin of the goods or services offered, or which may otherwise misrepresent the
goods or services in such a manner that later, on disclosure of the true facts, there
is a likelihood that the buyer maybe switched from the advertised goods or services
to other goods or services;"

I~I. (b)(27) - Engaging in any other act or practice which is deceptive to the consumer
or to any other person;

8 l . Pursuant to T.C.A. § 47-18-1 12, the Consurner Protection Act’s remedies are
cumulative and supplemental to all other existing remedies invoking it does not prohibit or
exclude using another remedy.

82. '['he exemptions from the Consumer Protection Act are set forth at T.C.A. § 47-]8-11 l.

83. The DEFENDANT, THE STANDARI) F[RE INSURANCE COMPANY does not
fit or meet any of the exemptions specified under T.C.A. § 47-18-1 l l.

84, PLAINTIFFS bring this Count under T.C.A. § 47-18-]09. She suffered an
ascertainable loss of monev, property or thing of value as a result of the DEFENDANT, THE
STANDARD FIRE INSURANCE COMPANY’S use or employment of an unfair or deceptive
actor practice prohibited by the Consumer Protection Act or in violation'of the T.C.A. § 47-18-104
(a) and (b), as set forth above

85. PLAINTIFFS bring this action to recover damages permitted by the Consumer

l7

Case 3:1'4-cV-00001 Document 1-1 Filed 01/02/14 Page 17 of_ 141 Page|D #: 21

 

 

     

Protection Act.

86. The DEFENDANT, THE STANDARD F[RE INSURANCE COMPAN'!"S unfair
or deceptive acts or practices were willful or knowing and PLAINTIhF is entitled to treble
damages under T.C.A. § 47-13-109.

87. The acts and practices cf lnsurance companies, such as the DEFENDANT, THE
STANDARD FIRE INSURANCE COMPANY are not outside the scope of the Tennessee
Consumer Protection Act. Mvint v. Allstate, 970 S.W.Zd 920, 926 (Tenn. 1998).

88. lnsuranee companies will be held liable under the act if their conduct in handling,

 

investigating or denying claims is unfair or deceptive Mvint at 927.

39. lnsurance companies will be held liable if their claims handling procedures are unfair
or deceptive pursuant to the act MML, 98 F`. Supp. 2d 933, 938 (W.D. Ten.n.,
2000). -

90. As a result of DEFENDANT, THE STANDARD FIRE INSURANCE COMPANY ’S
violation of the Tennessee Consurner Protection Act, PLAINTIFF suffered losses.

WHEREFORE, PLAINTIFFS WILL HEREIN'AFTER PRAY FORRELIEF UNDER
COUNT ll. - l

COUN !f I!I
BAD FA! !H REFUSAL TQ ]EAX

91. The Allegations contained in Paragraphs l-89 are incorporated herein by reference as
though fully set forth herein.

92. PLAINTIFFS in this matter made a demand for payment under a valid insurance

policy pursuant to Tennessee Code Annotated § 56-?-]05.

18

Case 3:14_-cV-00001 Document 1-1 Filed 01/02/14 Page 18 of 141 Page|D #: 22

 

 

   

 

93. The DEFENDANT THE STANDARD FIRE INSURANCE COMPANY has no
basis for denying the claim.

94_ ne DEFENDANT rita srANi)ARD FIRE rusURANCE CoMPANY has refined
to pay the claim.

95 . The DEFENDANT FIRE INSURANCE COMPANY’S actions in refusing to pay the
claim were not in good faith.

96. As a direct result of DEFENDANTS’ actions herein, the PLA]NTIFFS have suffered
losses.

WHEREFORE, PLAINTIFFS WILL HEREINAFTER PRAY FOR RELIEF UNDER
COUNT III.

MT_II
MLIGEM

97. The allegations contained in Paragraphs l - 96 are incorporated herein as though fully
set forth herein.

98. The DEFENDANT THE STANDARD FIRE INSURANCE COMPANY owed
PLAINT[FFS a duty to investigate the claim properly before determining that DEFENDANT
THE STANDARD FIRE INSURANCE COMPANY Was not responsible for payment

99. The DEFENDANT THE STANDARD FIRE INSURANCE COMPANY by
accepting the premium payments on the insurance policy, further owed PLAINTIFF a duty to pay
valid claims

lOO. The DEFENDANT THE STANDARD FIRE INSURANCE COMPANY breached

this duty by failing to investigate properly and failing to pay a valid claim.

19

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 19 of 141 Page|D #: 23

 

 

 

 

lOl. The DEFENDANT THE STANDARD F]RE INSURANCE COMPANY’S failure
to investigate properly auditor in conducting a goal oriented investigation was williill and/or
reckless

102. As a direct result ar I)EFENI)ANT THE sTANuARD luna INSURANCE
.COMPANY’S negligence as heretofore stated, and breach thereof, the PLA]`NTIFFS have
suffered damagesl

WI{EREFORE, PLAINT'IFFS WILL HERE[NAFTER PRAY FOR RELIEF UNI)ER
COUNTY IV.

CQUNT V
MM

103. The allegations contained in Paragraphs l-102 are incorporated herein as though fully
set forth herein.

l04. The DEFENDANT THE STANDARD FIRE INSURANCE COI¥[PANY accepted
premium payment payments on the part of the PLAINTIFFS in exchange for insurance coverage
to be paid for loss due to fire.

105. The DEFENDANT THE STANDARD FIRE INSURANCE COMPANY accepted
the premium payments and refused to provide the insurance coverage after a valid claim was made
under said policy for a tire loss.

106, As a direct result of the said actions and conduct of the DEFENDANT THE
STANDARD FIRE INSURANCE COMPAN Y, as hereinabove stateds the PLAINTIFFS have

suffered damages

\VI{EREFORE, PLAlNTIFFS WILL HEREINAFTER PRAY FOR RE_LIEF UN'DER

20

Case 3:14-,9}_/_:_0_0001 Document 1-1 Filed 01/02/14 Page 20 of 141 Page|D #: 24

 

 

 

   

 

COUNT V.

VI.

PRAYER FOB RELIEF

WHEREFORE, PREMISES CONSIDERED, PLAINTIFFS PRAY:
l. That PLAINTIFFS be allowed to file this Verifled Complaint. against the

DEFENDANT THE STANDARD FIR.E INSURANCE COMPANY, and that proper process

issue and be served upon the said DEFENDANT: and that said DEFENDANT be required to

appear and answer the said Complaint Within the time required by law.

2. That PLAINTIFFS be awarded a judgment against the DEFENI)ANT THE
STANDARD FIRE iNSURANCE COMPANY for the sum of money of $553,9]2.66 or in an
amount to be determined by the jury to be sufficient to compensate PLAINTIFFS for the damages
complained of herein.

3. That PLAlNTIFFS be awarded reasonable attorney fees pursuant to the Tennessee
C_onsumer Protection Act (T.C.A. § 47-18~101, et. seq.), and the Tennessee Bad Faith Refusal to
Pay (T.C_A_ § 56-7-105).

4. That DEFENDANT THE STANDARD FIRE INSURANCE COMPANY be
required to pay treble damages under the Tennessee Consurner Protection Act T.C.A. § 47-18-101,
et seq.).

5. That DEFENDANT THE STANDARD FIRE INSURANCE COMPANY' be
required to pay a penalty of twenty give (25%) above their actual liability pursuant to the Bad Faith

Refusal to Pay Statute.

6. That DEFENDANT THE STANDARI) FIRE INSURANCE COMPANY be made

21

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 21 of 141 Page|D #: 25

 

 

 

 

 

to pay punitive damages

7. That PLAIN TIFFS recover both Prejudgment and Post Judgment Interest against the
DEFENDANT THE STANDARD FIRE INSURANCE COMPANY.

8. That PLAINTlFFS be allowed to recover all other damages allowed under Tennessee
Law.

9_ That PLAINTIFFS demand aJury of 12 to consider this action.

lO. 'I'hat PLAINTIFFS be allowed to recover their discretionary costs as authorized by the
rules or by statute

ll. That the DEFENDANT THE STANDARD FIRE INSURANCE COMPANY be
taxed with the court costs of this civil action.

12. For such other and further and other relief as justice or equity may require

RESPECTFULLY SUBMITTED,

PAUL T. HOUSCH, ESQ.

  
  

BY:

  

» SQ. #[l]]SSS

suits 310
222 Second Avenue North
'Nashviue, TN 37201
(.615) 259-3313

ATTORNEY FOR PLAINTIFFS
TD'IOTHY HOLLAHAN ANI) JENNIFER HOLLAHAN

QM___B'OI`JD

A duly executed Cost Bond shall be filed in this cause

22

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 22 of 141 Page|D #: 26

 

     

 

 

STATE OF TENNESSEE )
COUNTY OF DAVIDSON )

I J'ENNIFER HOLLAHAN, being first duly sworn make bath that the statements
contained in the foregoing Veriiied Complaint are true and correct to the best ofmy knowledge,
information and belief

 

lm` \"
"'Nmuu“\“

Personally appeared before me the undersigned IENNIFER HOLLM-IAN, Who upon
first being duly sworn makes oath that the statements contained in the foregoing Verified Complaint
are true and correct to the best of his knowledge, information and belief

This the Z€'K" day of November, 2013.

    
   

_b.-.\\\\\\i\ll"”,“
T?.Blf '

h""¢imnm\\“"®

My Commission Expires: § A/s\/ A¢> f f

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 23 of 141 Page|D #: 27

 

 

 

sTATE 0F TENNESSEE )
couNTY or DAVIDSON )

I TIMOTHY HOLLAHAN, being first duly sworn make oath that the statements
contained 1n the foregoing Verified Complaint are true and correct to the _`“g§t,p_f my knowledge,
g\\\“ rOBY;~;O"‘I»,_

information and belief

 

”'»,,<2, . S.

O \\\‘*\
,/"”Ug‘ pell u| 1_1\\\\\

Personally appeared before me the undersigned TIMOTHY HOLLAH.AN, Who upon first
bemg duly sworn makes oath that the statements contained in the foregoing Verified Complaint are

true and correct to the best of his knowledge, information and belief l
\~`\utli |lm¢,i,_
BY

`_}\\\"` \:10___ _H "/}
This the 2.~»' jt day of Novemher, 2013. "O%’ 'F.-

  

"sTArE s O,__

 

 

My Comrnission Expires: j"{\/°/ Jd/_ti

24

Case 3 14 cv 00001 Document 1-1 Filed 01/02/14 Page 24 ot 141 Page|D # 28

     

 

EXHIBIT “A”

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 25 ot 141 Page|D #: 29

 

 

 

 

 

 

Continu.a biou
Dec:lara eions

nn
TRAVELERS l

HOMEOWN-ERS POLICY

.Namcd lnsnred

TIMOTHY K & JENNIFER A HGI:LAH.BN
5525 CURRTWDDD DR
`N'ASHVILLB TN 37205

YourAgency’s Name and Address

AL FHILLIPS :ms 11ch
3343 :PERIM'ET::R HILL o'R STE 214
NASHV:LLE. mt 37211

 

 

 

YourFolicyNumber: . 973409662 533 1
YourAccountNumber: 973409592

Far Policy Service Call: tsls) 665-1550
ForClaim Service Call: 1-aoo-cm:a33

 

Pollcy Period
seem os-oz-io 're= oe-oz-n 12=01 a.n.

Locatioll of Residence Premises
6526 manson on

sraNI>ARn'T:Mr-z AT THE RESIDENCE PREMISBB NASHVILLE TN 37205

 

 

Sect'\ori I - Property Coverages . Limits of Prerninm
Liability

n - DH'ELLING $ 500.000 5 1.95'7.00

s ~ owens sraccmss 50,000 :NCL

c - seasonnc. nassau 350,000 men

n - Loss or UsE 150.000 lnct.

 

Scction II - Liabiliry Coverages

 

 

n - reasonar.. Lm:rL:~rY (non:rr.¥ :N.~runr AND s- 500.000 $ 37.00
sRoPBR‘rY earnest men commence _
s - maureen estimates m omss- 5.000 :ncz.

EACH PERS ON

 

Policy Forms and Endorsemenls

HO'S {05-91) Homeown=ra 3 Special Pom

lin-300 '.t‘N fils-091 Specia.l Prc)visions

HO-BZ? .(0'7-02] L:°Lmil'.ed Fungi. Other microbes - $S,DDO
or Rot Re'mediat:`l.cm

57000 (02-05) High Va.lue acme Eodorsemen.t

Total Premium s 2. ooi.oo

 

 

Your Freminm Ref.tects the l"'cllowing Credits or State Surcharges

Securil:y Credit: ` -127.00
Loss F:r.’ee Cred:i.t ~295.00

 

Poli¢;y Dedn¢[ib]e; $ 1000.00 1111 perils insured against

In case of loss under section I. only that part of the lose over the stated
deductible is covered.

CDnl:iuued en next PB-§E In£lt.u.'ed Copy Page 1 of 2

PL.$651 1-3? 413/01-¢0£64 DEGB:-‘:l.\ no\$_°lf”?l?

 

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 26 ot 141 Page|D #: 30

 

 

 

     

 

 

First Murtgagee

SUNTRUST MDRTGAGE, INC
ISAOA

PD EOI 57028

IRVINE CA 92519
LOLN NUMBER: 30290647

 

.Vu“r[nsurer£ The Shandard Fire Insurnnce comp%ny
One of The Travelera Property CaBualty Companies
One Tower Square, Hartford. CT 05183

 

For Yo ur Infor marion

coverage for Your home has been increased by 1.0% to more adequately reflect the
coat co rebuild your home. This adjustment was based on information provided by
Marshall a Swift/Boeckh, an independent firm specializing in construction and
consumer oosee. If you need to adjust your limito further, or for any other policy
changesi please contact your insurance representative.

This la not a bill. The mortgagee will be billed separately for this policy.

For information about how Travelers compensates independent agents end
brokers. please visit www.Travelere.com or call our toll free telephone
number 1-866-904»8348. You may also request a written copy from Marketing
at One Tower`Square, ZGBA, Hartfo:d. Cbnnecticut 05183.

IE YQU HAVE AN¥ QUESTIONS CONCERNING YOUR INSURANCE POLICY, PLBAEE CONTACT TOUR
TRAVELERS RBPRESENTATIVE. IF YOU HAVE ANT BDDITIONAL QUESTIONS, YDU MAY EONTACT
US AT P.o. BDI 59059, KNUXVILLE, TN 37950~9059, ATTN: PL SERVICE MANAGER 03 BY

CALLING 1~588-237-9877.

Thank you for insuring with Travelers. We appreciate your busineas. If you
have any questions about your ineurance, please contact your agent or
representative.

These declarations with policy provisions HD-J (06~91) and any attached
endorsements form your Bomeownere Inaurance Polioy. Pleaao keep them Vibh
your policy for future reference.

Page 2 of 2

PL¢-€BS! 1~9? 413!0)'!668$ DEC#: 10

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 27 ot 141 Page|D #: 31

 

 

 

 

 

THE THAVELERS' lNoEllelTY ooMPANv oF AMEthA
THE AuTolvloBlLE INSURANCE comm ol_= HAn'n=ono, ooNNEoTIcUT

Ho-a`zr lor-ozl

r`nls EnooRsEMENT cHANoEs THE PoLlcY. PLEASE READ lT c-AREFuLLY.
l,illlll'l'ED FUNG|, OTHER MlCROBES OR ROT REMEDIAT\QN

DEF|NlTlONS
The following definition is added:
' "Fungi" '

a. "Fungi" means any type or form ol iungus.
including mold or mt|dew. and any myoolox-
ins, spores. scents or_by-produots produced or
released by ‘fungi’. '

b, Under Seclion lll this does nol include any
‘tungi" that are. are ong or are contained ln.
products or goods intended tor consumption

S ECT}DN l -~ PROP_ERTY COVERAGES
CCNERAGE D - LOSS OF USE

Paragraphs 1. and 2. are deloth and replaced by the -

following: l
1. Additional Living E)cpense

ll a loss covered under Secfion l makes that pan
of the 'residence premises' where you reside not
fit to live ln, we cover any necessary increase lrl
living expenses incurred by you so that your
household can maintain its normal standard ot
living. l-lowever, additional l|vlng expense due to
4“fungl”, other microbes or rot remediation will not
be paid in addition lo any amounts paid or pay-
able under the Additional Covcrage Limited
"Fungi"l Dther Mioro bcs Or Ftot Remediation.

Paymenl will be for the` shortest time required to
repair or replace the damage or, if you perma.
nent!y relocate, the shortest time required for your
household to settle elsewhere This period of time
is not limited by expiration of this policy.

Z. Falr Ren tal Va`lue

lt a loss covered under 5eotion l makes lhal Dal'l

ol the "residenco Pmel'SBS" rented to others Or
held for rental by you not fit to live inl we cover
the fair rental value of such premises less any
expenses that do not conlln ue'whlle lt is not fit to

live in. Howcver. tair rental value due to _'fungl’, -

other microbes or 'r'.ol.remedietion will not be paid
in addition to any amounts bald or payable under
the Additlona| Coverage Limited "Fungi", Other
Miorobes Or Rot Remediation.

F'ayment will be tor the shortest time required to
repair or replace auth pramlses. This period of
time is not limited by expiration ot this policy.

Ho-azr ter_ozl

Case 3:14-cV-OOOOl Document 1-1 Filed 01/02/14 Page 28 of 141 PagelD #: 32

nool'rlonAL covERAcEs
The tol|owing` additional cloverage ls added:
Limited "Fungi", Dther h'licrobes Clr Rot Re~`

mediation

a. lt a loss caused l)y a Peril insured A'guinsl
under Sec'lion l results in "l`ungi”. other rl'li-
probes or rotl we wii| pay tor:

(1) Remediation ot the ‘lungi', other rrl'r
probes or rot, This includes payment for
the reasonable and necessary cost to:

_ (a] Rerl'love the "fungl", other micmbes
or rot from covered properly or lo re-
pair. restore or replace that properly;
and

(b) Tear out send replace any part ot the
building as needed to gain access to
the "fungl'. other microbes or rot;

[2 Any reasonable and necessary increase
ln living expense you incur so that your
household can maintain its normal stan-
dan:l of living or loss of falr rental value if
the “fungi". other microbes or mt makes
the “residence premises" not fit lo live ln.
' We do not cover loss or expense due to

cancellation ol' a lease or agreement and

Any reasonable and necessary testing or
moniton‘ng of air or properly to confirm
the absenoe, presence or level ol'the
"lengi’, Other microbes Ol' roll whether
perlormed prior to, during or after rs-
‘ moval. repair. restoration or replacement

ta

b. We will pay under this additional coverage

only if:

{'l} The covered loss occurs during the policy
pon'od; _

{2} All reasonable means me used to save

and preserve the properly at the time o'l
and after the covered loss; and

lle We receive prompt notice of the covered
cause`of loss that is alleged to have re-
sulted in “lungl', other mlorobes or rol.

c. The most we will clay under this additional

coverage is$ . 'I. .Th'rs is the most we
will PH>' lDr lite total of all loss or costs regard-
less of the:

Page‘l of 2

 

 

Case 3:14-cv-OOOOl Document 1-1 Filed 01/02/14 Page 29 of 141 Page|D #: 33

 

 

(1} Number Ot_|ocations or ilerrs of property

insured underthis policy; or
(2} Number of losses or claims made.

d. Thls is not additional insurance and does not
increase the limit of liability that applies to the
damaged property

sEcTioi~i t- PERiLs insunsd As.=iiusr

ln form HO-3 (and endorsements HA-15. HA-E‘t§,
57000 and 58055, if applicable) paragraph C.?.i:. is
deleted and replaced by the-iol|owtng: `

c. Smog. rust or other corrosion;
SECT!ON l- EXCLUS|CNS
The following exclusion is added:

9. “Fu ngi”, Other Micro bes or Rot. meaning
any loss or cost resulting from, arising out oil
caused by, consisting of, or related to, `ftingi'r
Other microbes or roi. Such loss is excluded
regardless of any other cause or event oon~
tn'buting concurrently or in any sequence to
the loss. This exclusion does not apply to
"tung|", other microbes or rol remediation
coverage that may be afforded under the Ad~
ditiona| Coverage Limited "'Fungi", Other
Microbes Or Rot Remec_liation.

SECT|ON ll - EXCLUSIONS

The following exclusion is added under item 1. Covu
erage E - Personat Liabilily and Coverago F -
Medlcat Payments To others:

ni. "Bodily injury or properly damage" consisting of,
arising out ol, caused by. contributed-to.. aggra-
vated by or resulting trom, whether directly or in-

Ho_azr loi.oz; '

12

ito-327 tor»oz)

directly, ay 'rungi‘, other microoes or roL This .

includes:

('l} The cost or testingl monitoring, abating, miti-
gating, removing, remediating or disposing or
‘tungi". other microt)es or rot;

Any supervision tiistruclion, disclosures or
failures to disclose,' recommendations warn-
- ings, or advice given, or that allegedly should
have been glven, in connection with “bodily
injury’ or “pmperty damage' consisttng" oi,
arising out ol, caused by, contributed to, ag-
gravated by or resulting irom, whether directly
orindlrec:ttyl by 'iurigi", other microbe's or rot,
or me activities described in ni.ti) above _

~¢.r

[3} -Any obligation to share with cir repay another
who must 'pay damages because of "bodiiy
injury“ or “property damage' damage ot the
type described in this exclusion ThiS applies
regardless of any other cause that contributed
directly or lndirecily. concurrently or in any
sequence to the "l)odily lnjury' or "property
damage"; and

[4

-\¢~

Liabitity imposed upon any “insured' by any
governmental authority for 'bodi|y lniury" or
'propeity damage" consisting ofl arising out
Uf. caused bi'. contributed 10. aggravain b'l'
or resulting from, whether directly or indi-
rect|y, by "lungl'°, ot.”ier mierobes Dr ral.

Atl'other provisions of this policy apply.

Pagez uf 2

 

 

 

 

 

 

5?`000 (02-05]

THIS ENDQRSEMENT CHANG ES THE POL|CY. PLEASE READ lT CAREFULLY.

llch vALuE acme ENDoF<'sEMENT

For an additional premium, we agree to provide the
following cover age:

DEF|NIT!ONS

Under 6. "Occurrence,' the following sentence is
added:

lt also means offenses which resu|t. during the policy
period, in personal injury.

'Ti-ie following is added:

1tl. "Personal injury" means injury arising out of one
or more of the following offenses:

a. Fa|se arrest, detention or imprisonment, or
malicious prosecution;

b. Libel. slander or defamation of character; or

c. invasion of privacy, wrongful eviction or
wrongful entry.

11. "Personal dela" means the personal facts or re-
cords of any insured. lt does not include any
hardware, commercial software, or materials on
which data is recorded, including magnetic tapes,
disk packs, paper tapes and cards.

SECTlON l - PROPERTY COVERAGES
CDVERAGE C PERSONAL PROPER‘|'Y
Coverage C is changed as lollows:

The Coverage C {Personal Properly) limit shown on
the Dectaratlons is increased to `(D% of the limit
shown for Coverage A (Dwelling).

The second paragraph is deleted and the following is
substituted:

Our limit of liability for personal properly usually situ-
ated at any insured’s residencel other than the resi.
dence premises, is 30% of the limit of liability for
Coverage C;. Personal property in a newly acq.lired
principal residence is not subject to this limitation for
the 30 days immediately after you begin to move the
property there.

SPEC|AL LlMlTS OF LlABlLlTY is deleted and re-
placed by the following:

SF'EClAL LlMlTS OF LIABILITY. These limits do not
increase the Coverage C Limit of Liablllty. The spe-
cial limit for each numbered category below is the
total limit for each loss for all property in that cate-

§‘3 ry‘

57000 (02-05)

1.

10,

11.

12.

$1,000 on money, bank notes, bullion, gold other
than goldware. silver other than silverware. plati-
num, coins and medals.

$5.000 on securitle:s. accounls, deeds. evidences
of debt. letters of credit, notes other than bank
notes, manuscripts, passports tickets and
stamps.

$2,000 on watercra.ft. including their trailers. fur-
nishings. equipment and outboard motors.

$3.000 on trailers not used with watercraft

$5.000 for loss by lhefl. misplacement or mislay~
ing of jewelry. watches, precious and semi-
precious stones.

$5,000 for loss by lheft, misplacement or mislay~
ing of furs.

$10.000 for loss by theft. mislaying or misplace-
ment of silverware, silver-plated ware. goldware.
gold-platted ware and pewtenrlare. '

$S.UUU for loss by theft, mlslaying or misplace-
ment of firearms

310.000 on business property on the residence
premises in storage or as a sample or for sale or
detivery after sale and business property pertain-
ing to a business actually conducted on the
residence premises. This includes huslness
data designed to be used or stored in a computer
and any computer used for business and associ-
ated accessories at the residence premises.

$1.000 on business property away from the
residence premise:s.

$1.000 for loss to electronic BPDBFElll-IS. while in or
upon a motor vehicle or other motorized land
conveyance, if the electronic apparatus is
equipped to be operated by power from the elec-
trical system of the vehicle or conveyance while
retaining its capability of being operated by-other
sources of power. Electronic apparatus includes:

a. Accesscries or antennas: or

b. Tapes. wires. records. discs or oth er media;

lfor use with any electronic apparatus described in

this item 11.

$1.00(] for loss to electronic apparatus. while not
in or upon a motor vehicle or other motorized land
conveyance if the electronic apparatus:

Page 1 of9

Case 3:14-cV-OOOOl Document 1-1 Filed 01/02/14 Page 30 of 141 Page|D #: 34

 

 

   

s. ' ls equipped to be operated by power from the
electrical system of the vehicle or convey-
ance while retaining its capability of being op
erated by other sources cf power'.

b.- ls away from the residence premises; and

c. ls used at any time or in any manner for any
business purpose

Electronic apparatus includes:
a. Acceseories and antennas; or
b_ Tapes. wires, records, discs or other media;

for use with any electronic apparatus described in
this item 12.

13. $5.000 for personal data which is designed to be
used or dored in a computer al the residence
premises

The special limits of liability for categories 2., 5_, and
'f. are increased to a combined limit Of $59,000 while
within a vault at a federal or state chartered bank.,
savings and loan association or thrift institution CBU'
tlon: This coverage is void as respects property
removed from the premises of the banlt, savings
and loan association or thrift institution.

coveaAce o. l.oss oF use `

The Coverage D {l.oss of Use} limit '-shown on the
Dec|aralions is not applicable with this form. There is
unlimited Loss of Use Coverage.

Coverage is changed as-io|lows:

1. Additional l..lving Expense. The following para-
graph is added:

if a power outage caused by a Peril insured
Against makes the residence Premlses uninhab-
ltab|e, we cover any necessary increase in living
expenses incurred by you so that your household
can maintain its normal standard of living. Pay-
ment shall be for the shortest time required lo re
pair or replace the premises or. if you
permanently relocate, the shortest time required
for your household lo settle elsewhere

SECTlON l - EXCLUSION 4- PGWER FAlt_UF-tE
does not apply to this coverage

2. Fair Renlal Value. The following paragraph is
added:

if a power outage caused by a Peril |nSuT€d
Against makes that part of the residence prem~
ises rented to others or held for rental by you un-
lnhabitable. we cover its fair rental value.
Payment shall be for the shortest time required to
repair or replace the part of the premises rented
or held for rental. Fair rental value shell not in-

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ciude any expense that does not continue while
that part of the residence premises rented lo or
held for rental is uninhabitable.

SECT|ON l - EXCL.US|ON 4. POWER FAlt_URE
does not apply to this coverage

3. Prohibiled use. The following paragraph is
added: '

if a civil authority prohibits you from use of the
residence premises, we cover any resulting Ad-
diljona| Living Expense and Fair Rental Value.

ADD|TIONAL COVERAGES
Additional Coverages ere changed as follows:

1; nebrig Removal. is deleted and replaced by the
following:

1. Dehris Removal. We will pay the reasonable €X-
pense incurred by you in:

a. the removal of debris of covered property
provided coverage is afforded for the peril
causing the loss;

b. the removal of one or more trees fallen on the
residence premises as a result of a peril in-
sured against under Coverage A - Dwel|ing or
Coverage B - (Jther Structurec but nol more
than 3500 for any one tree'. and

c. the removal of debris of property. not other-
wise covered on the residence premises, as
a resultol a Peril lnsured Agaihsl_

Dabris Removal will be considered a separate
expense from the limit of liability for the damaged
Prop€dy-

3. Trees, Shrubs and Other Plants.
We agree to increase the limit of liability that ap-

plies to any one tree, shrub, or plant to atotai of
$1.000.

4. Fire Department Servlce Chargel

We agree lo increase the limit of liability that BP'
plies to this Addil:ional Coverage to a total of
$‘1.000.

5. Property Ftemover.l.

We agree to increase the time of coverage while
removed from the residence premises to atotal
of 90 days.

6. Credit Card, Funds Transfer Card, Forgery
and Counterfeit M|oney.

We agree to increase the limit of liability that ap-
plies lo this Additional Coverage to a total of
$10.590.

PageZ of 9

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 31 of 141 Page|D #: 35

 

 

 

 

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The following ADDiTiONAL

 

LOS$ ASS ESS me lil.

We agree to increase the limit of liability that ap-
plies to this Additional Coverage to a total of
$S,l}lll).

Refrlgerated F'roducts Cov erage.

We agree to increase the limit of liability that ap-
plies to this Additional Coverage to a total of
$750.

Spi|lage or Residue Remo~val Co'verage.

We will pay up to $5.000 for the removal of sub-
stances:

a_ accidentally spilled on; or
b. residue covering

an interior building item or contents insured under
Cov erage A - Dwelling, Coverage B - Other
Structures or Coverage C - Pereona| Propeny.

This coverage includesl but is not limited to the
cleaning. correction, modification removal, repair
or renovation oi the interior building or contents
item[s) altered, coated, covered or damaged by
such spillage or residue

This coverage is limited to interior building and
contents items. We do not cover any item located
outside the exterior walls of the building or below
the undersuriace of the lowest basement floor or.
where there is no basement. below the surface of
the ground inside the ioundatlon wal|s.

We will not pay for spillage or residue removal if
the spillage or residue was caused by a peril ex-
cluded or limited by this policy. However. cover-
age exception c.'r'.c. under S_ECTlON l -
COVERAGE A - DWELLING and COVERAGE B
- OTHER STRUCTURES F'erils lns.lred Again$t
does not apply to this ADDlTlONAL COVERAGE.

COvERAoES ore

added:

13.

Ordinance or Law.

a. You may use up to 20% of the limit of liability
that applies to Coverage A for the harassed
costs you incur due to the enforcement of any
ordinance or law which requires or regulates:

(1] The construction, demolition, remodel'
ing, renovation or repair of that part of a
covered building or other structure dam-
aged by a Peril insured Against;

[2] The demolition and reconstruction of the
undamaged part of a covered building or
other structure. when that building or
other structure must be totally demol-
ished because of damage by a Peril tn-

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sured Against to another part ol that
covered building or other structures or

[3] The remodeling, removal or replacement
of the portion of the undamaged part of a
covered bidding or other structure nec
essary to complete the remodelingl re
pair or replacement of that part of the
covered building or other structure dam-
aged by a F’eril lnsured Against.

b. You may use all or part of this ordinance or
law coverage to pay for the increased costs
you incur to remove debris resulting lfrom the
constr_uctlon, demolition. remodeling. renova-
tion, repair or replacement ol property as
stated in a. above.

c. We do not covers

(1} The lossin value to any covered building
or other structure due to the require
merits of any ordinance or law; or

(2) The costs to comply with any ordinance
or law which requires any insured or
others to test for, monitor, clean up, re-
move, contain, treat, detoxify or neutral-
ize, or in any way respond to. or cases
the effects of, pollutants on any covered
building or other structure

F'ollutants means any.solid, liquid, gase-
ous or thermal irritant or cohtarninant,
including smoke, vaporl soot, fumes. ac»
ids, alkaiies, chemicals and waste
Waste includes materials 10 be recycled
reconditioned or reclaimed-

This coverage is additional insurance.

ll this coverage is also provided under any other
endorsement on this policy, this is an additional
amount of coverage

Lock Repiace merit Coverage.

We will pay you an amount, not to exceed $500,
that you incur in changing the locks on your resi-
dence premises when your keys have been sto-
|en. The theft of the keys must be reported to the

_ police for this Additiona| Coverage to apply.

Na deductible applies to this Additiona| Coverage.
Reward C overa ge_

We will pay you an amount, not to exceed $500.
that you have incurred in the payment afterwards
for information leading to the return of stolen arti-
cles or the arrest and conviction of any person{s)
who have stolen attlcies andlor damaged any of
your covered property

Page 3 of 9

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 32 of 141 PagelD #: 36

 

 

 

 

 

18. Persona| Property Coverage E:ictension-

We will pay up to $2.500 for damage to your per-
sonat property occurring while it is away from your
residence premises caused by:

a_ flood [meaning rising water];
b_ earthquake;
|andslide; or

d. collision or overturn of the conveyance in
which your property is carried

SECTlON l - EXCLUSIONS - 2. E.ARTl-l MOVE-
MENT and 3. WATER DAMAGE do not apply to
Additional Coverage 15.

. Mortgage Renegotlation Coverage.

lt your residence premises incurs a loss be-
cause of a Feri| insured Against. that results in
the payment of at least 40% of the Coverage A
limit shown on the Declarations. and if the first
mortgagee shown on the Declaratlons exercises
its right to renegotiate the mortgage we will pay
up to $5.000 total under this coverage for.

a. The mortgage origination points. and inspec-
tion fees incurred by you. and

b. any additional monthly mortgage payment,
(1} if the interest rate increases and
(2} ifthe mortgage term remainsthe same.
Uncter sections a. and b. above, we do not covert

(1} Any expenses incurred in renegotiating
any other mortgage.

(2) Any additional interest expense points
or other expenses incurred above those
based on the original principal amount of
the first mongage.

(3) Legal fees (except as provided below in
c.}, service charges. taxes, insuance
assessments or any other expense
whether or not incurred in renegotiating
the mortgage or included iri mortgage
payment

(4} Any additional interest expense incurred
beyond the earliest of the following
dates:

(a) The final payment date of the mort-
gage ln effect at the time of loss.

(b} The date Hve years after the date of
loss

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(c) The date the title or insurd)le inter-
est in the residence premises is
relinqi.fshed by you.

The time period under sections (a) and
(b] is not limited by the expiration of the
policy.

c. The legal expenses incurred by you to rene-
gotiate or maintain a first mortgage held by a
first mortgagee shown in the Deciarations of
this policy_

We do not cover fines. judgements. service
charges, or legal services by any lawyer ex~
ceptyours.

No deductible applies to this coverage

13. identity Fraud Expense

a. We will pay up to $25,000 for expenses in-
curred by an insured as the direct result of
any one identity fraud discovered during the
policy period.

Any act or series of acts committed by any
one person or group of persons acting in con»
cert or in which any one person or group of
persons is concerned or implicated is Ool'tsid-
ered to be one identity fraud. even if a se-
ries of acts continues into a subsequent policy
period.

b. Definitions. With respect to the provisions of
this additional coverage onlyl the following
definitions are added:

"Eicpenses" means:

(1) Costs for noiarizing fraud affidavits cr
similar documents for financial institu-
tions or similar credit grantors or credit
agencies that have required that such af-
fidavits be notarized

(2] Costs for certified mail to law enforceL
ment agencies. credit agenciesl financial
institutions or similar credit g'antors

(3} Lost wages as a result of time taken off
from work to meet with. or talk to, law
enforcement agencies, credit agencies
andlor legal counsel. or to complete
fraud affidavits or due to wrongful incar-
ceration arising solely from someone
else having committed a crime in the in-
sured's niame, up to a maximum pay-
ment of $“|-.DDO per week for a maximum
period of five weeks. Lost wages shall
not apply in the case of wrongful incar-
ceration absent all charges being
dropped or an acquittal of the insured

Page 4 of 9

Case 3:14-cV-OOOOl Document 1-1 Filed 01/02/14 Page 33 of 141 Page|D #: 37

 

 

[:l) l_oan application fees for reapplying for

a loan or loans when the original applica-

` lion is rejected solely because the lender
received incorrect credit information

(5) Reasonabte attorney fees incurred, with
our prior consent. fort

la) Defense of lawsuits brought against
the insured by merchants or their
collection agencies

[b] The removal of any criminal or civil
judgments wrongly entered against
an ins ured. and

(c] Chal|enging the accuracy or com-
pleteness cf any information in a
consumer credit repor't.

[5) Charges incurred for long distance tele-
phone calls to merchantsl law enforce-
ment agencies` financial institutions or
similar credit grantors, or credit agencies
to report or discuss an actual identity
fraud.

[7] Costs for daycare and eldercare incurred
by an insured solely as a direct result of
any one identity fraud.

identity fraud means the act of knowingly
transferring or uslng. without lawful authority,
a means of identification of an insured with
the intent to commit, or to aid or abet, any
unlawful activity that constitutes ‘='i violation of
federal law or a felony under any applicable
state or local law. .

Excii.isions. The following additional exclu-
sions apply to this coverage.

We do not cover:

['l} Loss arising outof business pursuits of
any insured

[2) Expenses incuned due to any fraudu6
lentl dishonest or criminal act by an in-
su red or any person acting in concert
with an insured, or by any authorized
representative of an insured. whether
acting alone or in collusion with others.

[3} Loss other than expenses

Deductib|e. No deductible applies to identity
fraud cov erage. '

Your Dutles Aftei' Loss. The following is
added under Section l Condition 2. Your Du»
ties After L.oss. paragraph e.: '

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(Bl Receipts, bills or other records that Stp-
port your claim for expenses under
identity Fraud Expense coverage

SECTlD'N l - PER|LS lMSURED AGAlNST

CO‘VERAGE C ~ PERSDNAL PRC|PERTY is deleted
and replaced by the following

We insure against risks of direct physical loss to
property described in COVERAGE C EJCCEP'|':

A. We do not cover ariy loss thatresi.ilts from aperii
excluded or limited by this policy, even if a cov-
ered peril is a concurrent cause of loss.

B.~ We do not cover any loss Or damage to yoi.r per-
sonal property caused directly or indirect|y. con-
tributed to, or aggravated by defective`
inadequale. or faulty planning. construction 01‘
maintenance or any property whether On or Off the
residence premises resulting from:

DEFE CTIVE, INAD EQUATE ClR. FAULTY

1_ Deveiopment, subdividing, surveying or sit-
ing; including grading, excavation and SOi|
compaction;

2. Specifications. building codes or their en-
forcement or zoning requirements

3. Alteration, construction repair. renovation or
remodeling;

¢l. Materials recommended, selected, supplied
or used in alteration construction repairs.
renovation or remodeling;

5. lvlaintenance.

You may not claim any of the situations included
in B. above as a cause of ioss. These are not per~
ils’we insure against Ensu`ng periis, not other-
wise excluded or limited by this policy, are
covered

C. We do not cover:

1. l.oss excluded under SECTlON l - EXCLU-
SlONS.

2. l.oss caused by freezing of a plumbing. drain-
age, heating. air conditioning system or
automatic fire protective sprinkler system or
of a household appliance. or by discharge,
leakage or overflow from within the system or
appliance caused by freezing_ Thls exclusion
applies only while the dwelling is vacant, un-
occupied or being constructed unless you
have used reasonable care to:

at Maintain heat in the building, or
b. Shut off the water supply and drain the
system and appliances of water.

Page 5 of 9

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 34 of 141 Page|D #: 38

 

 

 

Loss caused by freezing, thawing, pressure or
weight of water, snow or ice, whether driven
by wind or not, to a:

a. Fence. driveway, roadway, walkway,.

pavement. patio, swimming poo|. spa or
hot tub;

b_ Fcundarion, retaining wall, bulkhead; or
c. Pier, decl<. wharf or docl<.

Loss caused by theft_in or to a dwelling under
construction, or of materials and supplies for
use in the construction Unfil the dwelling is
completed and occupied.

l.oss caused by vandalism or malicious mis-
chief or breakage of glass and safety glazing
materials if the dwelling has been vacant for
more than 30 consecutive days immediately
before the loss. A dwelling being constructed
is not considered vacant.

Loss caused by continuous or repealed seep-
age or leakage of water or steam over a pe-
riod of tlme, weeks, months or years from
within a plumbing, drainage, heating. air con-
ditioning system or automatic fire pmlecllve
sprinkler system or from within a household
appliance.

l.oss caused by:

a. Wear and tear, marrlng, deterioration or
failure to maintain;

b. |nherent vice, latent delect. mechanical
breakdown;

Smogl rust, mold. water dry rot;

d. Smol<e from agricultural smudging or in-
dustrial operations;

e. Diseharge, dispersal, Seepage. migra-
tion, release or escape of pollutants un-
less the discharge, dispersa|, saepage,
mlgratlon. release or escape is itself
caused by a peril insured against under
Coverage C of this potlcy.

F'ollutanls means any solidl liquid, gase-
ous. or thermal irritant or contaminant,
including smoke, vapor, soot, fumes, ac-
idsl alkalis, chemicals and waste waste
includes materials to be recycled, recon-
ditioned or reclaimed.

Except as provided by SECT|ON l - AD-
DlTlONAL COVERAGE 12. Spillage or
Ftesidue Removal Coverags;

f. Settling, cracking. shrinli:ing, bulging or

expansion of driveways, roadways.

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10.

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walkways, pavements, patios, founda-
tions, walls. l'loors, roofs or ceilings;

g. Birdsl vermln. rodents. crlnsects'l or
h. Animals owned or kept by any lnsured.

lf any of these cause water to suddenly as
cape from a plumbing heating or air condi-
tioning system or automatic tire protective
sprinkler system or household appliancel we
cover loss caused by the water. WE DO NOT
COVER LOSS 'l'O THE SYSTEM OR AP-
PL|ANCE FROM WH|CH Tl-iE W`ATER ES-
CAPED.

Loss caused by collapse other than provided
as ADD|T|ONAL COVERAGE 3. ' COL'
LAPSE.

breakage of slatuary, marbie, brtc-a-brac,
giassware, porcelains, eyeglasses and similar
breakable articles; except cameras and pho-
tographic lenses, watches bronzes and jew-

e|r)r;

breakage of this property ls covered if it is the
result of:

a. fire or Eghtning;
b. windstorm or hait_:

explosion, riot or civil co mmotion;

P-S"

collapse of a building or a part of a build-
ing;

e. smcke, except smoke from industrial op-
erations or agricultural Smudging;

water not excluded elsewhere;

then cr attempted theft;

:_'l’tr:.’*

vandalism or malicious mischief;

alrcraft;

i. vehicles other than aircraft
lt. earthqual<c; or

l. sudden and accidental tearing apart
buming, bulging or crackan of a steam
heating system, a hot water heating sys
tem, an automatic tire protective sprin-
kler systern. an air conditioning system
or an appliance for heating water;

Loss caused by collision with other than a
land vehicle

Loss caused by strandingl swamping or sinit-
ing of watercraft, watercraft trailers, watercraft
equipment or filmishings. including outboard
motors.

Page 6 of 9

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 35 of 141 PagelD #: 39

 

 

 

 

 

12. l.oss caused by dampness of atmosphere or
extremes of temperature unless the loss is di-
rectly caused by snow. sieet. rain or hail.

Under items 2. through 7.. any ensuing loss not
excluded is covered.

SECT|DN |- EXCLUS|DNS

2. EARTH MOVEMENT. The following paragraph ls
added:

This exclusion does nol apply to property de-
scribed in Coverage C_

3. WATER DAt.llAGE. Subparagraph b. ls deleted
4. POWER FA|LURE. is deleted.
SECTION |- COND|T|ONS

Under 3. l.oss Setllement: paragraphs a_ and b. are
deleted and replaced by the following:

a. Awnings. carpeting_ outdoor antennas. and
personal property at the cost to replace or re_
pair at the time of the loss.

For the purposes of this Coverage:

{1} Personal property includes domestic ap-
pliances and outdoor equipment

{2) Personal property does not inciude:

{a} Antiques. fine arts. palnt|ngs. statu-
ary. and similar articles which. by
their inherent nature. cannot be re-
placed with new articles; and

{b} Articles whose age or history con»
tribute substantially to their value.
including but not limited to memo-
rabilia. souvenirs and oollector's
items.

We will not pay more than the actual
cost to repair or replace less deduction
for depreciation at the time of loss for
any of the aboye.

(3] l'Cost to Replace" means the cost at the
time of loss of a new article of like kind
and quatity to the one damaged. de-
stroyed or stolen. When an article is no
longer manufactured or is not availablel
the 'cost to replace' means the cost of a
new article similar to that damaged, de-
stro yed or stolen, which is of comparable
quality and usefulnessl

[4} The Imil of liability lor loss on any per-
sonal property shall not exceed the
smallest of the following amounts sub-
ject to any deductible:

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(1} The limit ot liability of this policy
- applicable lo Coyerage C:

(2) Any special limits of liabilllll de-
scribed in the policy!

(3} The cost to replace. withom deduc-
tion for depreciation at the time of
loss.

We have the option either to repair or replace
any item under this coverage or to reimburse
the oostto replace it_

b. Structures including swimming pools that are
not buildings and the items listed under
3.3.(2}{3} & fbi above at actual cash value at
the time of loss. but not exceeding the
amount necessary to repair or replace

The following CDND|T|ON is added:

ADDlTlDNAL REPLAC!EM ENT COST PROTEC-
110N

{Appiies only when loss to the dwelling exceeds the
Coverage A Limi't of L.|ability shown in the Declara-
tionsi .

To the extent that coverage is provided_ we agree lo
provide an additional amount of insurance in aCDOr-
dance with the following provisions:

a. if you have:

iii Allowed us to adjust the Coverage A limit of
liability and the premium in accordance with:

(a} The property evaluations we make; and
(b} Any increases in ln‘i|ation: and

{2) Notified us. within 30 days of completion of
any improvements alterations or additions lo
the dwelling which increase the replacement
cost of the dwelling by 5% or more:

the provisions of this endorsement will apply after
a loss. provided you elect to repair or replace the
damaged or destroyed dwelling on the same
premises

b_ li' there is a lose to the dwelling that exceeds the
Coverage A limit of liability shown in the Declara-
tions, for the purpose of settling that loss ody:

{‘l} We will provide an additional amount of in-
surance. up to 50% of the Coverage Aiimit of
liability: and

(2) The Section l Condition 3. Loss Settlement
paragraph c_ is: deleted and replaced by para-
graphs c._ d. and e. as follows:

c. The dwelling under Coverage A at re
placement cost without deduction for de-

Page? of 9

Case 3:14-cV-OOOOl Document 1-1 Filed 01/02/14 Page 36 of 141 PagelD #: 40

 

 

 

preciation. We witt pay no more than the
smallest of the following amounts for like
construction and use on the same prem»
ises:

(1) The repiacement cost of that part of
the dwelling damaged or destroyed;

(2) The necessary amomt actually
spent to repair or replace the dam-
aged or destroyed dwelling; or

{3] The limit of liability under this policy
that applies to the dwelling, plus any
additionai amount provided by this
endorsement

d. We will pay no more than the actual
cash value of the damage until actual
repair or replacement is complete

e. You may disregard the replacement cost
loss settlement provisions and make
claim under this policy for loss or dam-
age to the dwelling on an actual cash
value basis. You may then make claim
within 130 days after loss for any addi-
tional liability on a replacement cost ba-
sls.

SECT!ON li - LlABILlTY COVERAGES
- CDVE RAGE E - PERSONAL LlABlLiTY
This section is deleted and replaced by the following:

lt a claim is made or a suit is brought against any in-
sured for damages because-of bodily lnjury, per-
sonal injuryr or property damage caused by an
occurrence to which this coverage applies. we will:

a. Pay up to our limit ot liability for the damages for
which the insured is legally iiable. Damages in-
clude prejudgment interest awarded against the
in sured; and

h. Provide a defense at our expense by counsel of
our choice even if the suit is groundless false or
fraudulent We may make any investigation and
settle any claim or suit that we decide is appropri»
ate. Our duty to_ settle or defend any claim or suit
ends when the amount we pay ior damages re-
sulting from the occurrence equals our limith li-
ability.

SEGTION ll - EXCLUSIGNS

1_ Coverage E - Personal Llability and Ccverage
F ~ Medical Payments to Clthers g. Is deleted
and the loliowing substituted:

g. arising out of:

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Case 3:14-cV-OOOOl Document _1-1 Filed 01/02/14 Page 37 of 141 Page|D #: 41

 

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(2)

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the ownership, maintenance use, load-
ing or unloading ol watercraft described
below;

the entrustment by any insured of a wa-
tercraft de:scnbed below to any person;
or

vicarious liabilityl whether or not statth
n'ly imposed, for the actions ci 3 Child cr
minor using a conveyance excluded in
paragraph (1) or (2) above

Excluded watercraft are those that are princi-
pally designed to be propelled by engine
power. jet power or electric motor, or are sail-
lng veseeis, whether owned by or rented to
any ins ured. This exclusion does not apply to
watercraft

i`ll

iz)

that are not sailing vessels and are pow-
ered by:

{a) inboard or inboard-outdrive engine
or motor power of 50 horsepower or
less not owned by any insured;

(b) inboalrd or inboard-outdrlve engine
or motor power of more than 50
horsepower not owned by Or rented
to any insu red;

(c] one or more outboard engines or
motors with 50 horsepower or |ess;

[d) one or more outboard engines or
motors with mere than 50 total
horsepower if the outboard engine
or motor is not owned by any in-
surec!;

(e) outboard engines or motors of more
than 50 total horsepower owned by
any insured if:

(i] you acquire them prior to the
policy period; and

[a] you declare them at policy
inception'.

ibi limit intention to insure is
reported to us in writing
within 45 days after you
acquire the outboard mo-
tors‘,

(ii) you acquire them during the
policy period.

This coverage appi|es for the policy pe-
riod.

that are failing vessels with or without
auxiliary power

Page 8 of 9

 

 

 

[a} less than 26 feet in overall length;

(bj 26 feet or more in overall length not
owned by or rented to any insured.

[3} that are stored.

(1}ic] This change to exclusion g. does
mt aPIJ|y in indiana orl<entucky_

2. Coverage E - Persona| Llability. Subparagraph

c. is deleted and replaced by the following

c. property damage to property rented to, occu-
pied or used by. or in the care olthe insured.
This exclusion does not apply to property
damage caused by lire, smoke, explosion or
water damage.

The following is added:

'4. Personal injury insurance does not apply to:

a. Lia blilty assumed by the insured under
any contract or agreement except any
indemnity obligation assumed by the in»
sured under a written contract directly
relating to the ownership, maintenance
or use of the premises;

b. injury caused by a violation cf a penal
law or ordinance committed by or with
the knowledge or consent of an insured;

c. injury sustained by any person as a re-
sult of an offense directly orincireetiy re-
lated to the employment of this person
by the lnsured.

d. injury arising out of or in connection with
a business engaged in by an insured.
This exclusion applies but is not limited
to an act or omission, regardless of its
nature or circumstance, involving a ser-
vice or duty rendered, promised, owed,
or implied to be provided because of the
nature of the business

e. Civic or public activities performed for
pay by an lnsured; or

t. injury to you or an insured within the
meaning of part a. or b. of insured as
defined.

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57000 iUZ-US}

This exclusion does nat apply to a not-for-
proiit corporation or Dl'ganlzation for a maxi-
mum limit of 510,000.

SECT|ON ll -ADD|'T`|ONAL COVER.AGES
3. Damage To Properly of Others.

We agree to pay ai replacement cost and to in-
crease the limit of liability that applies to this addi-
tional coverage by $?50 per ace urren ce.

SECT|ON ll ‘ CONDITIONS

‘l. Limii of Liability. is deleted and the following
sLbstituted'.

1. Limit of Liabllity. Ftegardlees of the number of
insureds, claims made or persons injured, our to-
tal liability under Coverage E stated in this policy
for all damages resulting from any one occur-
rence shall nat exceed $200,000 plus the limit of
liability for Coverage E stated in the Declarations.
Ai| bodily injuryl personal injury and property
damage resulting from any one accident or from
continuous or repeated exposure to stbsiantially
the acme general conditions shall be considered
to be the result of one occu_rrence.

Our total liability under Coverage F for all medical
expense payable for bodily injury to one person
as the result of one accident shail not exceed
$2.000 plus the limit of liability for Coverage F
stated in the Deciaratlcns-

SECT|ON lAND SEC‘|'%ON ll - CDND|TIOHS

1. POL|CY PERlO D. is deleted and replaced by the
following:

1. POL|CY PER|OD. This policy applies to loss un-
der Section l or bodily injury, personal injury or
property damage under Section |l. which occurs
during the policy period

You may continue this policy, subject to our con-
sent, for successive periods by paying required
premiums when due:.

All other provisions of this policy apply.

Page 9 of 9

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 38 of 141 Page|D #: 42

 

 

 

 

 

HA_::no rn lus_osi;

TH|S ENDORSEMENT CHANGES THE POLlCY. PLEASE READ |'l' CAREFULLY.

SPECIAL PRC|V[S]ONS ~ TENNESSEE

DEF|NlTlONS
The following definitions ana added:

10. "luei system” means:

11.

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 39 of 141 Page|D #: 43

a. One or more containers tanks or vessels
which have a total combined fuel storage ca-
pacity of 100 or more U.S. gallons; and;

(1} Are, or were, used to hold fue|', and

l2) Are, or were, located on any one loca-
tion;

b. Any pumping apparatus, which includes the
motor, gauge, nozzie, hose or pipes that are,
or were, connected to one or more containers
tanks or vessels described in Paragraph a.;

c. Fil|er pipes and liues connected to one or
more containers, tanks or vessels described
in Paragrapha.;

d, A boilerl furnace Or a water healer, the fuel
for which is stored in a containerl tank or ves-
sel described in Paragraph a.;

e. Fittjngs and pipes Conneoting the boller, fur-
nace or water heater lo one or more contain-
eral tanks or vessels described in Paragf‘=’lph
a.; or

f. A structure that is specifically designed and
built to hold escaped or released fuel from
one or more containersl tanks or vessels de-
scribed in Paragraph a.

A fuel system does not include any fuel tanks
that are permanently affixed to a motor vehicle or
watercraft owned by an lnsurcd, used for power-
ing the motor vehicle or watercraft and not used
at anytime or in any manner for business

"sln kh ole co llapse" means:

Actuai physical damage to the dwelling and other
covered structures:

1. Arising out oi; or
2. Caused by:

the sudden settlement or collapse ofthe earth
supporting such property The settlement or
collapse must result from subterranean voids
created by the action of water on limestone or
similar rock formations.

HA-aoo m los-093

SEC TlON i- PROPERTY COVERAGES

CDVERAGE C - PERSC|NAL PROPERTY
SF'EC]AL LlMiTS OF Ll.AB|LlTY

items B. and 9. are deleted and replaced by the fol-
iowing:

tl. $5,000 on properly, on the residence premises
used at any time or in any manner for any busi-
ness purpose

5. $1,000 on properly away from the residence
premises used at any time or in any manner for
any business purpose. However, this limit does
not apply to loss to adaptable electronic appara
tus as described in lSpecia| Limits 1lJ. and 11.bc-
low.

SECTION l- ADDIT|ONAL COVERAGES

The following additional coverage is added: (Forms
H0-2 and HO-:l on|y)

' Clrdlnance' or Law.

a. You may use up to 10% of the limit of liability
that applies to Ooverage A for the increased
costs you incur due to the enforcement cl any
ordinance or law which requires or regulates

{1) The construction demolition, remodel»
lng, renovation or repair of that part of a
covered building or other structure dam-
aged bya Perii Insured Againsl;

(2) The demolition and reconstruction of the
undamaged part of a covered building or
other structurel when that building or
other structure must be totally demol-
ished because of damage by a Peril |l'l-
sured Against to another part of that
covered building or other structure; or

tel The rcmodeling, removal or replacement
of the portion of the undamaged part ofa
covered building or other structure nec
essary to complete the remodeling, re-
pair or replacement cf that part cl the
covered building or other structure dam-
aged bya Perii insured Agalnst,

b. Ycu may use rul or part of this ordinance or
law coverage lo pay for the increased costs
you incur to remove debris resulting from the
construclicn, demolition, remodeling, renova-
tion, repair or replacement of properly as
stated in a. abc-ve-

Page 1 cl 4

 

 

 

c_ We do not cover:

(1} The loss in value to any covered building
or other structure due to the require-
ments of any ordinance or |aw; or

(2) The costs to comply with any ordinance
or law which requires any insured or oth-
ers to test for, monitor, clean up, re-
move, contain, treat, detoxiiy or
neutralize, or in any way respond to, or
assess the sheets oi, poiltlants on any
covered building or otherstnicture.

Pollutants means any soiid, liquidl gase-
ous or thermal irritant or corlaminanl,
including smoke, vapor, soot, fumes, ac-
ids, alkalis, chemicals and waste Waste
includes materials to be recycled, recon-
ditioned or reclaimed.

Thi_=, coverage is additional insurancel

8. Coilapse is deleted and repiaced by the follow-
ing:

B. Col|apse.
e. With respect to this Additlonal Coverage:

('l] Cn|lapse means an abrupt falling down
or saving in of a building or any part cia
building with the result that the bu'lding
or part of the building cannot be occu-
pied for its cun'ent intended purpose

{2} A building or any part ofa building that is
in danger of falling down or saving in is
not considered to be in a state of coi-
iapse.

(3} A part of a building that is standing is not
considered to be in a state ct collapse
even if ii has separated from another
part of the building.

{4) A building that is standing or any part of
a building that is standing is not consid-
ered to be in a state of collapse even if lt
shows evidence of cracking, bulging,
sagging, bending. leaning. settiing.
shrinkage or expansion

b. We insure for direct physical loss to covered
prope rty involving collapse of a building or
any part of a building if the collapse Was
caused by one Or more nfthe following:

{'i} Perils insured Against in Coverage C -
Personal Propeny. These penis apply to
covered buiidings and personal property
for loss insured by this Additional Cover-
age;

nA-soo rn town

HA-300 TN lUB-UB)

(2} Decay that is hidden from view, unless
the presence ot such decay is known to
you prior to collapse;

(3} insect or vermin damage that ls hidden
from vievli1 unlessthe presence of such
damage is known to you prior to coi-
lapse;

(rt,} Weight of contents, equipment, animals
or people;

(5} Weight of rain which collects on a roof;
or

(B} Use of detective material or methods in
construction, remodeling or renovation ii
the collapse occurs during the course of
the constmction, remodeling or renova-
tion.

c. l_oss to an Bwning, fence, patin, pavement.
swimming pool, underground pipe, flue, drain,
cesspoo|, septic tank, foundation, retaining
watl, bulkhead, pler, wharf or dock is not in-
cluded under b.(2} through {G} above unless
the loss is a direct result of the collapse of a
btilding or any part ofa building.

d. This coverage does not increase the limit of
liability applying to the damaged covered
property.

SECTION l ~ EXCLUS|ONS

The first paragraph of this section is deleted and re
placed by the following: '

We do not cover any direct or indirect loss ordamage
caused by, resulting from, contributing to or aggra-
vated by any of these excluded pen'ls. Loss from any
of these penis is excluded regardless of any other
cause or event contributing concurrently orin any se-
quence to the_loss.

These exclusions apply whether or not the loss event
{t} Resuils in widespread damage;
(2) Affecls 8 Subslili'lt.ia| meal 0|°
(3) Occurs graduaiiy or suddenly.

These exclusions also apply whether or not the loss
event arises from:

itt Any acts of nature;

{2) Any human action or inaction;

{3] The forces of animals, plants or other living or
dead organismi;; or _

t4) Any other natural or artificial process

2. Earth Movement is deleted and replaced by the
toliowing:

Page2 of4

Case 3:14-cV-OOOOl Document 1-1 Filed 01/02/14 Page 40 of 141 Page|D #: 44

 

 

2.

3.

3.

Case 3:14-cV-OOOOl Document 1-1 Filed 01/02/14 Page 41 ot 141 Page|D #: 45

Earfh Movement, meaning events that include
but are not llm|ted to the following:

a. Earthqualre and earthquake arrershocks;
b. Volcano activity including bul not limited to:
1. \i'olcanic Eruptlorl;
2. Voica nic Explosion;
3. Efft.lsion Of volcanic material; or
4. Lava Fl°Wi

c. Nludslide, including mudflow, debris flow,
|and'slide, avalanche, or sediment;

d. Subsld ence;
e. Excavation collapse;
f. Eroslon;

g. Any expansionl shifting, risingl sinlclng. con-
tracting, or settling ofthe earth, soil, or iand.
This exclusion applies whether or not the earth.

soil Dr land is combined or mixed with water or
any other liquid or natural or man made malerial.

The Earth tv‘|ovement Exciusion does not apply to
"sinlchole colla pse".

l-lot-.'e\rer, loss caused directly by the specific-

peri|s:
a. tire;
b. explosion;

c. breakage of building or dwelling glass or
safety glazing maleriat, including storm doors
or windows; or;

d. theft;
following any earth movement is covered.

Water Damage is deleted and replaced by the
following:

Water dama ge, meaning;

a. Flood, surface water, ground water. storm
surge, waves, wave wash, tidal waterl lsu.
nami, selche, overflow of a body of water, or
spray from any of thesel whether or not a re-
sult of precipitation or driven by wind.'

b. any water or water borne material that enters
through or backs up from a sewer or drain, or
which overflows from a sump, sump pump or
related equipment

c. any water ar water borne material'located be~
low the surface of the ground including water
or water borne materia|:

HA_soo ~rN tower

 

 

HA-SOI] TN {GB~GB)

{1} Whlch exerts pressure on, seeps, leaks

or flows inilJ:

{a} Any part of the dwelling or other
structulres;

ibt The foundation of the dwelling or
other structures;

(c) Any paved surface iocated on the
residence premises; or

{d} Any spa. hot tub, orswimming poot_
(2} Which causes earth movement; or

d. any overflowl release, migration or discharge
of water in any manner from a dam, leveel
dike, hurricane barrier or any water or flood
control device.

Direct loss by rire, explosion or theft resulting
from water damage will be covered

SECTiON l - CDND|T|('JNS
3. Loss Settlement. lirr Forms HO-2 and H0-3 onlyl

paragraph c.(43 is deleted and replaced by the fol-
|owing:

(4] We witt pay no more than the actual cash
value ofthe damage until actual repair or re~
placement is complete Once actual repairis
comptete. we will settle the loss according to
the provisions of c.(1} and c.(z] above.

However, if the cost to repair or replace is
less than $2.5(‘.\0 we will settle the loss ao»
cording to the provisions of c.(t) and c.(2}
above. whether or not actual repair or re
placement is complete

Other insuranoe. irl Fon'n HA-G onty, is deleted
and replaced by the following:

Other insurance and Senrice Agreement.

a. if a loss covered by this policy is also covered
by:

tt) Other insurance, except insurance in the
name of a corporation or association of
property ownera. we will pay only the
proportion of the loss that the limit of ti-
ability that applies underthis policy bears
to the total amount of insurance covering
the |oss; or

(2] A service agreement, this insurance is
excess over any amounts payable under
any such agreement Service agreement
means a service plan, property restora-
tion plan, home warranty or othersimi|ar
service warranty agreementl even if it is
characterized as insurance.

Page 3 of 4

 

 

 

b. |f, at the tirrre of lossl there is other insurance
or a service agreement in the name Gf a cor~
poration or association of property owner
covering the same property covered by this
policy. this insurance will be excess over the
amount recoverable under such other insor~
ance or service agreement

SECTION ll - EXC LUSlO NS

Covera ge E - Personal Liabiiity and Coverage
F - Meclicai Payments to Others: The following
items are added:

° or any lossl cost, payment or expense. includ-
ing. but not limited to, defense and investiga-
tion, of any kind arising out ol, resulting froml
caused by or contributed to by the actual or
alleged presence Or aclu al, alleged or tll'eat-
ened dlapersal, reiease, ingestion, inhalation
or absorption of lead, lead pigment. lead
compounds or lead in any form which ls Df
was contained or incorporated imo any mate
r'ial or substance. This exclusion applies, but
is not limited to:

{1) Any supervision, lnstructions, recom-
mendations wam`rngs or advice given in
connection with the above;

(2) Any obligation to share damagee, losses
costs, payments or expenses with or re-
pay someone else who must make DHY'
ment because of such bodily injury or
property damage, damages. lossl cost,
payment or expense; or

(3) Any request. order or requirement to test
for, monitor, abatel mitigate, remediate,

oontain, remove, dispose of, or ln any -

way respond to or assess the effects of
iead, lead pigment, lead compounds or
materials or substances containing lead
in any form.

* arising out of, resulting from, caused by or
contributed to by the escape or release of fuel
from a fuel system. `T‘his exclusion applies,
but is l'iGl limited to:

{1) Any supervision. instructionsl recom-
nienda\ionsl warnings or advice given in
connection with the above;

(2) Any obligation to share damages losses.
costs, payments or expenses with or re-
pay someone else who must make pay-
ment because oi such bodily injury or
property damagel damages, ioss. co$t.
payment or expense; or

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r-rA.aorr 'rN ins-osi

(3) Any request. order or requirement to test
for. monitor, abate, mitigate, re_mediate.
containl remove, dispose of, or in any
way respond to or assess the effects of
fuel in any fomr.

l-lowever, this exclusion does not apply to
bodily injury or property damage arising
out or tire or explosion that results from such
escaped or released fuel.

SE CTIDN il - ADD!T|ONLAL COVERAG ES
The following additional coverage is added:
5. Property Damage coverage for Mi|itary Feraon-

net and Federal Government Employees:

lf aninsured is:

a. a United Stares Govemment Emp|oyee'. or
b. a member of the Llnited Statea Mi|itary,

We agree to pay for property damage to United
States government property, for which such in-
sured is responsible under applicable rules or
regulations

Payment for such property damage will be at re-
placement cosL Llnder this endorsement ”re-
placement cost" is defrned as the amount
necessary to repair or replace the damaged prop-
erty with no deduction for depreciation, sublth to
the Limit of Lia bliity for this Addition at Coverage.

Our l.imit ot l_labillty, per occurrence, under this
Addilional Coverage for all damages restating
from any one occunence shall not exceed two
months basic pay for the ins ured, as of the time
of the occurrence

We will not pay for property damage to:
a. aircraft

b. motor vehicles, including vehicles not de-
signed for travel on public roads or subject to
registration;

c, watercrafl; or
d. weapons
We will not pay for property damage:

a. to the extent of any amount payable under
Sr.=.ctlon l of this policy, or

b. caused intentionally by any ins ured who is 13
years of age or r:rlder.

All other provisions of this policy apply.

Page4 oft

Case 3:14-cv-OOOOl Document 1-1 Filed 01/02/14 Page 42 of 141 PagelD #: 46

 

 

.~
TRAVELERS l

Homeowners Policy Book|et

 

from Travelers

H0-3 HOMEOWNERS 3 - SPECIAL FBRM

Case 3:14-cV-OOOOl Document 1-1 Filed 01/02/14 Page 43 of 141 Page|D #: 47

 

 

 

 

 

 

 

YOUR HOMEOWN ERS POL|CY QU|CK REFE|RENCE

$ECTION l
PROPERTY
COVERAGES

DEC LARAT!ONS PAGE
Your Name
Location of Your Resldence
Pollcy Period

Coverages
Amnunts of lnsurance
Dec|uctible Amounts
Beginning

On Page
AGREEMENT.. ________ _____________ ____ _...___..,._.._..1
DEFlNlTlONS_ ______ .________ ___ ___________ -...._..._._ ...__:__._ _______ l

COVERAGES -_._~_.....-_.-.__......._...__...._.______.__..________ __ _. ._.._.___ 2
Coverage A - Dwdling _______________________._ _ ._ __ .. . __._ 2
Coverage B - Other S|'.ructures _______________._ __ _.._._.. . _._..__-_._.._._ 2
Coverage C - Persona] Property ___ _ _____ ______ 2
Coverage D ~ boss of Use______________________ ___ ________ __ ______ 4
Additional Coverages ._ __ __ -_ - 4

PER.[LS H'\]SU'RED AGAD‘]S'I: ___________ . _..... . ._ _ -._. ..._.__._ 7

EXCLUSIONS _,____________________________._._.___.. __ .. ..._ _ . __ ]O

CONDIT[ONS ____._._..._....,.. ,__.___ _________,_..._. .._._ _. .__.. ._..__ 11
Your Duties After Loss_.____.,__ _..________.._._._.._ _.. __. __ ._. ll

LosS Settlemeni .__.__ __._.___ -. ________ _. .. _.... . _-.-. _.._..______ 12

 

 

SECTION !l
LlAB|L!TY
COVERAGES

 

COVERAGES _____ 14
Coverage E -Personal Liabiliiy_ .......... _________....._ _______ ._.._.._. 14
CoverageF -Medic:al Payments to OLhers _______ __ ________ __.__. 14

EXCLUS!ONS ________ _ _ _. ___ ._.__ . ......... 15

A'DDmoNAL covIzRAGE;s _____ ___________ _____________ 17
CONDH'IONS _____ _____ _ _________ __ ____ _ __ _________ 18
Limitorl_iabimy_ ______ ____ _ _____18
Dutiw After Loss___.._.__. __.___.__.____________ _____ _ _._____________ 18

 

SECT|ON l and
SECT|ON ll
COND[TIC|NS

Ho-s (06-91}

Case 3:14-cV-OOOOl Document 1-1 Filed 01/02/14 Page 44 of 141 Page|D #: 48

 

CONDITIONS ._._____.____ _ __ _.....- .. 19
Policy P»m`od,______ __________________________ _________ ___ __ ___________ 19

Canoellation________________ _____ ____________.-._. _________ 19
Nonrenewal__.__._. _____ _____________ .__._...._,_ ....- _ ___________ 20

 

 

 

 

 

 

 

i-io-s icc-911

Hcmeowners 3 Spec|al Form_

 

Aoseem em

 

We will provide the insurance described in this policy in return for the premium and compliance with all applica»

ble provisions ci this poilcy.

 

DEFlN|TlONS

 

Throughout this poiicy. "you" and "your" refer to the
"nemed tnsured" shown in the Declarations and the
spouse. it a resident ci the same household. and
"we", "us" and "our" refer to the Company providing
this insurance. |n addition, certain words and phrases
are defined as follows!

1. "aircrafi" means any contrivance, whether cr not
ieihered, used or designed for air or space flight
capable cf carrying cargo or people, The contriv-
ance may be either lighter cr heavier than the air.
engine powered or designed or used to float,
glide, soar or control desceni_

2, "bod||y injury" means bodily haI'n*l. sickness Or
diseasel including required oaI’E, loss of services
and death that results.

3. "business" includes trade_ profession or occupa-
tion `

4. "insured" means you and the following residents
of your household: '

a. your relativ es;

b_ any other person under the age of 21 who is
in the care of any person named above.

Under Section i|, "insured" also means:

o. with respect 10 animals or watercraft to which
this policy applies, any person cr organization
legally responsible for these animals or wa-
tercraft which are owned by you or any per-
son included in 4.a. or 4.b. above. A person
or organization using or having custody of
these animals or watercraft in the course of
any husiness. or without permission of the
owner ls not an insured;

d. with respect to any vehicle to which this policy
applies:

[1) persons while engaged in your employ or
that of any person included in ¢t.a. or 4.b.
above; or

(2} other persons using the vehicle on an
insured location with your gunseni,

5. "insured location" means:
a. the residence premises;

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Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 45 of 141 Page|D #: 49

b. the part cit any other premises other slmc-
iures, and grounds used by you as a resi~
dance end which is shown in the Deciarations
or which is acquired by you during the policy
period for your use as a residence'.

c. any premises used by you in connection with
the premises included in 5.a. or 5.b.:

d. any part ot a premises not owned by any in-
sured but where any insured is temporarily
residing;

e.' vacant land owned by or rented to any in-
sured other than farm landi

f. land owned by or rented to any insured on
which a one or two family dwelling is being
constructed as a residence for any lnsured:

g. individual or family cemetery plots or burial
vau|ts ot any insu red:

h. any part of a premises occasionally rented to
any insured for other than business pur-
poses.

i_ any pan of a premises which is noia resi-
dence. owned or rented by any insured used
for other than business purposesto.'

(1) moor or store watercraft;

(2) garage or store motorized land vehicles;
or

(3) park or store aircraft,

"occurrence" means an accident inciuding con-
tinuous or repealed exposure to substantially the
same generally harmful conditions w_hich resilts_
during the policy period. in:

a. bodily injury: or

b. properly damage.

"property damage" means physical injury to.
destruction of, cr loss of use of tangible property

"residence employee" means an employee ot
any insured who performs duties in connection
with the maintenance or use of the residence
premises. including household or domestic ser-
vices. or who performs duties elsewhere of a

Page 1 of 21

 

 

lar nature not in connection with the business of
any insured.

9. "resldence premises" means the one or two
family dwelling, other structures and grounds or

ito-3 los-slt

. that part of any other building where you reside
and which is shown as the "residence premises"
in the Declaretions.

 

SECT|C}i"ll l - PROPERTY COVERAGES

 

COVERAGE A ~ DWELLlNG
We covert

a. the dwelling on the residence premises shown in
the Declarations used principally as a private
reddence, including structures attached to the
dwelling on the same or contiguous foundation;
and

b. materials and supplies located on or adjacent to
the residence premises for use ln the construc-
tion, alteration or repair of the dwelling or other
structures on the residence premises

Ti-iis cox/EP.AGE oOEs NOT APPLY To:
a. FENcEs;

b_ EXTER|OR WALLS THAT DO NOT SUPPORT
THE FZOOF OF THE DWELLING;

c. L.':'\lelr lNCLUDlNG LAND ON WHlC-H THE
DWELL|NG |S L_OCATED.

COVERAGE B - OTH ER STR UCTURES
We cover:

Other structures on the residence premises, sepa-
rated from the dwelling by clear space. Structures
with a separation from the dwelling and its foundation
and linked by only a conduit, deck, fence, patlo. utility
lin e, walk, wail, or similar connector means that
structure is an other structural Olher strud.ures in-
clude but are not limited to:

a. Bams;

b. Extericr walls that do not support the roof of the
dwelling;

c. Fences;

d. Garages that are detached from the dwelling;

e_- Gazebos;

f. Sheds; or

g. Swimming pools that are exterior to the walls

supporting the roof of the dwelling

`l'l-llS COVERAGE DOES NOT APPL¥ TO LAND,
lNCLUDlNG LAND ON WHlCl-l THE OTHER
STRUCTURES ARE LOCATED.

WE DO NOT COVER OTHER STRUCTURES:

a. LJSED lN WHOLE OR lN PART FOR BUSINESS
PURPOSES: OR

HO-3 (06$1)

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 46 of 141 Page|D #: 50

b. RENTED OR HELD FOR RENTAL TO ANY
PERSON NOT A TEiNANT OF THE DWEL-LlNG,
UNLESS USED SCJLELY AS A PRl\/ATE GA-
RAGE. Use of Covs)rage B does not reduce the
amount of coverage available to you under Cov-
erage A - Dwelling.

COVERAGE C - PERSClNAL PROPERTY

We cover personal property owned or used by any
insured while il is anywhere in the wond. At your re-
quest. we will cover personal properly owned by oth-
ers while the property is on the part of the residence
premises occupied by any insured. |n additionl we
will cover at your request_ personal property owned by
a guest or a residence Employee, Wl'lil& the pmme
is in any residence occupied by any insured.

Our limit of liability for personal property usually lo-
cated at any insured's residence, other than the
residence pr emises. is 10% of the limit of liability for
Coverage C. or $1,000, whichever is greater. TH|S
LlMtT APPLlES TO THE PERSONAL PROPERTY
OF lNSUREDS, lNCLLJDiNG, BUT NOT LlMlTED
TO, STUDENTS WHO RESIDE AWAY FROM THE
RESIDENCE PREMISES F'ER|'CJD!C`,i'lLL‘rl FOR THE
P'ERSONAL PROPERTY AT THE LOCATION
AWAY. Personal property in a newly acquired princi-
pal residence is not Subject to this limitation for the 30
days immediately after you begin to move the prop»
er|y there.

SPEC|AL LIMITS OF L|lABlLlTY. THESE LlMlTS DO
NOT lNCREASE THE COVERAGE C LlMlT OF Li-
ABILiTY. THE SPEC!AL LIM|T FDR EACH FOL-
LOWING NUMBERED CATEGORY iS THE TOTAL
LlMlT FOR EAC-H OCC£LJRRENCE FOR ALL PROP~
ERTY lN THAT NUMBERE |J CATEGORY.

1. $200 Oi~l MONEY. BAN|< NOTES, ElULt.lot~lr
c.ot_o orr-isn THAN GoLowARE. stores
oTi-lEi=t THAN le\/ERWARE. PLATiNuM,
coins ANo MEDALS.

2. $’i,i]i][l ON SECURlTlES, ACCOUNTSl DEEDS,
EV|DENCES OF DEBT, LETTERS OF CREDlT,
NOTES OTHER Tl:'lAN BANK NOTES. MANU-
SCR|PTS. PASSPORTS, TlCKETS AND
STAMPS.

3. $‘i,tJOU ON WATEFZCRAFT. lNCLUDlNG THEiR
TRAILERS, FURNlSHlNGS. EOU|PMENT AND
OUTBOAFilD MOTORS.

Page 2 of 21

 

 

10.

11.

   

$1‘000 ON TRA[LERS NOT USED WITH WA-
TERCRAFT.

$1.000 FoFa LOSS BY THEFT 0F .JEWELRY,
wATcHEs. FuRs. PREc\ous AND sEM\PRE-
csous sToNEs.

$2.500 FOR LOSS BY THEFT OF SlLVER-
WARE. S|LVER-F'LATED WARE. GOLDWARE_
AND GOLD-PLATED WARE AND PEWTER-
WARE. THIS |NCLUDES FLATWARE. HOLLO-
WARE. TEA SETS. TRAYE AND TROPHIES
MADE OF OR |NCLUDING S1LVER. GOLD OR
PEW'T`ER.

SZ.OOQ FOR LOSS BY THEFT OF FlREARMS.

$2.500 ON PROFERT¥. ON THE RES|DENCE
PREM|SES USED AT ANY TIME OR |N ANY
N|ANNER FOR ANY BUS!NESS PURPOSE:

$250 ON PROPERTY AWA\’ FROM THE
RESIDENCE PREM]SES USED AT ANY T!ME
OR lN ANY MANNER FOR ANY BUS|NESS
PURPOSE. HOWEVER. TH|S LIM|T DOES NOT
APPLY TO LOSS TO ADAPTABLE ELEC-
TRON§C APPARATUS AS DESCR|BED IN
SPEC!AL LlMiTS '1D. AND 1‘1. BELOW.

$1000 FOR LOSS TO ELECTRON|G APPARA-
Tus, WHILE rN 0R uPoN A MOTOR vEl-HCLE
OR OTHER MOTORleD LAND CO'NVEYANCE.
lF THE ELECTRON!C APPARATUS JS
EC|UIPPED TO BE OPERATED B¥ POWER
FRONI THE ELECTR|CAL SYSTEM OF THE
vEchLE OR cONvEYANcE WH|LE RETAIN-
ING ITS CAPAB|L|TY OF BE|NG OPERATED
BY OTHER SOURCES OF POWER. ELEC-
TRON|C APPARA'T'US INCLUDES:

a. ACCESSOR!ES AND ANTENNAS: OR

b. TAPES. WIRES. RECORDS._ DlSCS OR
OTHER MED\A:

FOR USE WlTH ANY ELECTRON\C APPARA-
TUS.

$'1000 FOR LOSS TO ELECTRON|C APPARA-
TUS. WHTLE NOT !N OR UPDN A MOTOR VE-
H|CLE OR OTHER MOTCIR|ZED LAND
CONVEYANCE. |F THE ELECTRON|C APPA-
RATUS:

a. IS EQUlPPED TO BE OF'ERATED EY
POWER FROM THE ELECTR|CAL SYSTEM
OF THE VEHICLE OR CONVEYANCE
WH]LE RETA!NING |TS CAPAB|L|TY OF
BE|NG OPERATED BY OTHER SOURCES
OF POWER:

b. lS AWAY FROM THE RES[DENCE PREM-

|S ES: AND

c. !S USED AT ANY T|ME OR |N ANY MAN-

NER FOR ANY BUS!NESS PURPOSE_

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ELECTRONIC APPARATUS |NCLU DES.'

a. ACCESSOR|ES AND ANTEN NAS: OR

b. TAPES. WIRES. RECORDS. D|SCS OR
OTHERMEDIA;

FOR USE WITH F\NY ELECTRON|C APPARA-
TUS.

PROPE RTY NOT COVERED. WE DO NOT COVER:

1.

ARTICLES SEPARATELY DESCR|BED AND
SPEC|F\CALLY INSURED !N THlS OR ANY
OTHER|NSURANCEZ

ANIMALS. BlRDS OR FlSH:
MOTORIZED LAND VEH!CLES. EXCEPT WE

`DO COVER:

a. MOTOR|ZED LAND VEH|CLES lNCLUDiNG
THE\R ACCESSOR¢ES, ATTAGHMENTS.
EDU|PMENT OR PARTS. NOT SUBJECT
TO MOTOR VEHICLE REG!STRAT|ON.
USED TO SEF',V|CE AN INSURED'S FZES|v
DENCE.

b. MOTOR¥ZED [.AND VEH|CLES. NOT RE'
QU|R|NG MOTOR VEH|C|_E REGESTRAr
TiON DES!GNED FOR ASS\ST\NG THE
HAND|C'APPED.

c. EXTRA ACCESSOR|ES. EQ.,U!PMENT OR
PARTS DETACHED FROM A MOTORlZED
LAND VEH|CLIZ SUEJECT TO MOTOR VE~
HlC|.E REGiSTRATlON. OWNED OR iN
THE POSSESS!ON Of" ANY lNSL|RED,
PROV!DED THAT XMMED[ATELY FOI.-
LOW|NG THE LOSS TO THE l'T`EMS
CLAIMED THAT VEH|CLE FOR WH\CH THE
|TEMS WERE lNTENDED BE FULLY AS-
SEMBLED W§TH ALL OF ITS USUAL AC-
CESSOR{ES. EQUIPMENT OR PARTS AND
BE CAPABLE OF OPERAT|ON, AS DE-
S\GNED. FROPERLY AND LEGALLY.
UPON THE PUEL|C WAYS FOR AN
AMOUNT NOT EXCEED|NG 5500.

a_ ANY DEVlCE OR lNSTRUMENT. iNCLUD-
iNG ANY ACC;ESSORIES OR ANTENNAS.
FOR THE TRANSM|`|_['!NG. RECORD|NG.
RECEIVING OR REF'RODUCT|ON OF
SOUND WH\{;H lS DES\GNED TO BE
SOLELY OF'ERATED BY POWER FROM
THE ELECTRI'CAL SYS'TEM OF A MOTOR
VEH}CLE. OR.ANY `TAPE. WIRE. RECORD.
DISC OR OTHER MED|UM FOR USE WITH
ANY SUCH DEV|CE OR lNSTFZUMENT
WH[LE ANY OF THlS PROPERTY |S IN OR
UPON A MOTC}R VEH|CLE:

b. RADAR DETE[}T|ON DEVICES_

5. AchRAFTAND A:RCRAFT PARTS;

Pag& 3 of 21

Case 3:14-cV-OOOOl Document 1-1 Filed 01/02/14 Page 47 of 141 Page|D #: 51

 

 

 

6. PROPERTY OF ROOMERS, BOARDERS AND
OTHER TENANTS. EXCEPT PROPERTY OF
ROOMERB AND BOARDERS RELATED TO
ANYiNSl_|RED; '

?'. PROPERT`\' CONTAINED lN AN APARTMENT
REGULARLY RE NTED OR HELD FOF~’. RENTAL
TO OTHERS BY ANY iNSl_iRED;

B. PROPERT¥ RENTED OR HELD FOR RENTAL
TO OTHERB AWAY FROM THE RES!DENCE
PREM|SES.

COVERAGE D ~ LOSS OF t_lSE

The limit of liability for Cov erage D is the total for all
the following ooverages.

1. Additionai Living E>tpense. if a loss covered
under this Section makes the residence prem-
ises uninhabitable, we cover any necessary in-
crease in living expenses incurred by you so that
your household can maintain its normal standard
ot |iving. PAYMENT SHALL BE FOR THE
SHORTEST TlME REOU|RED TO REF'NR OR
REPLACE THE PREM|SES OR, IF YOU PEFt-
MANENTLY RELOC,l-\TEl THE SHORTEST TlME
REQU|RED FOR YOUR HOUSEHGLD TO SET-
TLE ELSEWHERE_ This period oflime is not lim-
ited by expiration of this policy.

2. Fair Renial Value. if a loss covered under this
section makes that pad of the residence prem-
ises rented to others or held for rentai by you un-
inhabitabie, we cover its fair rental value.
PAYMENTS SHALL BE FOR THE SHORTEST
TIME REQU|RED TO REPA!R OR REPLACE
THE PART OF THE PREMISES RENTED OR
.HELD FOFi RENTAL. Thls period of time is not
limited by expiration 01' this policy. FA|R RENTAL
VALL|E SHALL NOT lNCLUDE ANY EXPENSE
THAT DOES NOT CONT|NUE Wl-iiLE THAT
PART OF THE RESiDENCE PREN|iSES
FtENTED OR HELD FOR RENTAL lS LININ-
HABITABLE.

3. Prohibited Use. if a civil authority prohibits you
from use of the residence premises as a remit
of direct damage to neighboan premises by a
Perii insured Against in this policy, we cover any
resulting Additional Livlng expense and Fair
Rentai Value loss FOFZ A PERIOD NOT EK-
CEEDING TWO WEEKS DURING WH|CH USE
iS PROH|B|TED.

WE DO NOT COVER LOSS OR EXPENSE DUE TO
CANCELLAT!ON OF A LEASE OR AGREEMENT.

ADD!T|ONAL COVE RAG ES

1. Deb rts Rem oval.

We will pay the reasonable expense incurred by
you in:

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Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 48 of 141 PagelD #: 52

 

Ho-s mean

a. the removal oil debris of Covered property
PROVIDED COVERAGE iS AFFORDED
FOR THE PER-lL CAUS|NG THE LOSS; and

b. the removal oi one or more trees fallen on the
residence premises as a result ol a peril in-
sured against UNDER BECTION l - PERlLS
iNSURED AGiAiNST. COVERAGE A -
DWELL[NG Al*~|D COVERAGE B - OTHER
STRUCTURES. but not more than 5500 for
any one occurrence regardless oi the number
of failen trees.

Debiis removal expense is included in the limit of
liability applying to the damaged properly When
the amount payable for the actual damage to the
property plus -ihe expense for debris removal ex-
ceeds the limit of liability for the damaged prop-
erty, an additional 5% of that limit of liability will
be available to cover debris removal expense
However the availability of this additional amount
does not change the $500 maximum payable for
tree debris removal under subsection b above.

Reasnnable Repairs. ln the event that covered
property is damaged by an applicable Perll ln-
sured il§gainstl we will pay the reasonabie cost
lNCURRED ElY YOU FOR THE NECESSARY
MEASURES TAKEF\| SOLELY TO PROTECT
AGAENST FURTHER DAMAGE. iF THE MEAS-
URES TAKEN |NVOLVE REPAlR TO OTHER
DAMAGED PROPERTY. WE W|LL PAY FOR
THOSE MEASURES ONLY iF THAT PROP-
ERT‘\’ |S COVE RED UNDER TH|S POLIC‘( AND
THE DAMAGE TO THAT F'ROPERTY |5
CAL|SED BY AN APPL|CABLE PER!L iNBUFtED
AGAlNST.

This Additional Coverage:

a. DOES NOT |i‘iCREASE THE LIMIT OF Ll-
AB|Li`|"Y THAT APPLiES TO THE COVERED
PROPERT¥.

b. DOES NOT Ct'iANGE YOl.ll-'t OBL|GAT|ONS
OR DUTIES. ii= THERE lS LOSS OR DAM-
AGE TO COVERED PROPERT\’, AS
STATED iN iSECT|ON l ~ CONDiT|ONS,
CONDITION 2. YOUR DUTiES AFTER
LOSS SUBSECTIGN d.

Trees, Shrubs and Other Planls. We cover
trees, shrubs, plants or iawns, on the residence
premises. for loss caused by the following Perils
insured Against; Fire or itghtning, Explosion. Riot
or civil commotioni Aircraft, Vehioles not owned
or operated by lt resident of the residence
premises, Vandailsm or malicious mischief or
Thei't.

WE WILL PAY LlP TO 5% OF THE LiMiT OF Li-
ABiLiTY THAT Ai’PLlES TO THE DWELL|NG
FOR ALL TREES. SHRUBS. P[_ANTS OR

Page4 of 21

 

 

 

   

Case 3:14-cV-00001 Document 1-1

 

LAWNS. NO MORE THAN $500 OF TH|S LlMl`|'
WiLL BE AVA|LABLE FOR ANY ONE TREE,
SHRUB OR F'L.ANT. WE DO NOT COVER
PFtOF’ERT'tl GROWN FOR BUS|NESS PUR-
POSES.

THiS COVERAGE
ANCE.

Fire Department Service Charge. WE W|LL
PAY UP TO $500 for your liability assumed by
contract or agreement for tire department charges
_incun'ed when the fire department is called to
save or protect covered property from a Peril ln-
sured Againsi. No deductible applies to this cov-
erage.

Property Ftemoved. We insure covered property
against direct loss from any cause while being
removed from a premises endangered by a Peri|
insured Agalnst and no more than 30 days while
removed. THiS COVERAGE iJOES NOT
CHANGE THE LlN|lT OF LlAB|LlTY APPLY|NG
TO THE PROPERTY BE|NG REMOVED.

Credit Card, Funci Transfer Card, Forgery and
Counterfeit Money. We will pay Llp to $1.000 fort

a. the legal obligation of any insured to pay be-
cause of the theft or unauthorized USS Of
credit cards or fund transfer cards issued to or
registered in any insured's name. WE DO
NOT COVER USE B‘( A RESlDENT OF
YOUR HOUSEHOLD, A PERSON WHO HAS
BEEN ENTRUSTED WITH THE CREDlT
CARD OR FUND TRANSFER CARD, OR
ANY PERSON, iF ANY iNSURED HAS NOT
COMPL[ED WiTH ALL TERlv‘lS AND COl~l-
DlTlONS UNDER WH|CH THE CREDlT
CARD OR FUND TRANSFER CARD lS lS-
SUED.

b. loss to any insured caused by forgery or al~
teration of any check or negotiable instru~
ment; and

c. loss to any insured through acceptance in
good faith of counterfeit United States or Ca-
nadian paper currency.

ALL LO$S RESULTING FROM A SERIES OF

ACTS COMM|TTED BY ANY ONE F‘ERSON OR

lN WHICH ANY ONE FERSON |S CONCERNED

OR lMPLlCATED lS CONSiDERED TO BE ONE

LOSS. ~

WE DO NOT COVER LOSS AR|SING OUT OF
BUS|NESS PURSU|TS OR DlSHONESTY ClF
AN¥|NSURED.

No deductible applies to this coverage

lS ADDlTlONAL iNSUR-

Deien se:

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7.

 

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a. We may make any investigation and settle
any claim or suit that we decide is appropri'
ate. OUR OElLl_GATlON TO DEFEND AN¥
CLA|M OR Eil..|iT ENDS WHEN THE
AMOUNT WE PAY FOR THE LOSS
EQUALS OUR t.lN|lT Ol'-' LtABlLlTY.

b. if a claim is made or a suit is brought against
any insured for liability under the Credit Carcl
or Fund Transfer Card coverage we will proh
vide a defense at our expense by counsel of
our choice.

c. We have the option to defend at our expense
any insured or any lnsured's bank against
any suit for the enforcement of payment un»
der Forgery cov erage.

Loss Assessment. We will pay up 10 $1,000 for
your share of any loss assessment charged during
the policy period against you by a corporation or
association of property owners. This only applies
when the assessment is made as a res.ilt Of each
direct loss to the pri>perty'. owned by all members
collectively caused by a Peri| insured Against
under Coverage A - Dwelilng.

This coverage applies only to loss assessments
charged against you as owner or tenant of the
residence pre mrse:s.

We do not cover loss assessments charged
against you or a corporation or association of
property owners by any governmental body.

THE r.erT oF $1,000 ls THE Mosr WE err_
PAY WITH RESPECT To ANY owe LOSS. RE-
GARor_Ess or THE NUMBER oF ASSESS-
MENTS.

Under Section l and ii Cond|tions, Conditlon1.
Poiioy Pericd does not apply to this additional
coverage

Collapse. EXCEP°l' FOFt LOSS CAUSED BY
SE`TTLFNG, CRACi'\'.lNG, BULGING OR EXFAN-
SlON, we insure for risk of direct physical iossto
covered property resulting from COiiapse Ot a
building or any part of a building CAUSED ONLY
BY ONE OR NlORE OF THE FOLLOW|NG:

a. hidden decay;

b. hidden bird, insect or vermin damage;

c. weight of contents, equipment, animals or
people

d. weight of precipitation which collects on a
roof; '

e. use of defective material or methods in at-
teraiion. constn.rction, remodeling or renova-
tion if the collapse occurs during the course at
the alteration, construction, remodeling or
renovation.

Page 5 of 21

Filed 01/02/14 Page 49 of 141 PagelD #: 53

 

 

uNoEa irene a _. e., THis coven/ice ooEs'
NoT iNcLuDE LOSS To AN AWNiNG, FENcE.
PATio, DRIvEWAY, ROADWAY. wALi<wAY.
PAVEMENT, SwiiviMiNc PooL, sPA_ HoT
TuB. UNDERGRou_No PiPE_, i=LuE. omm.
oEcKS. cEsSPooi., sePTic TANK, FouNoA-
'rioN. i=,E'rAir~iiNo wALL. BuLi<i-iEAo, PiisR.
WHARF on Doci< uNLEss T_HE LOSS is A
oiREcT RESLJLT oF THE coLLAPSE oF A
euii_piiic.

f. The specific Perils that follow:
[1} Fire or Lighinirig
- {2} Vinndstorm orHail
{3} Explosion
{4) Riot or civil commotion

{5} Aircraft including self-propelled missiles
and spacecraft.
iGi

Vei'iicies
t?i

Smoke, meaning sudden and accidental
damage from smoke.

{8} Thef't
{9) Fatiing objects
{10)Weighl of ice, snow or elect

{11)Accidentat discharge or overflow ol
water or steam from within a plumbing
drainage.- heating or air conditioning
system or from within a household appli-
ance_

{'12)St.idden and accidental tearing a$lm-
der, cracking, burning or bulging of a
steam or hot water heating system. an
air conditioning system, or an appliance
for heating water-

(13)Freeztng of a plumbing drainage heat-
ing. air conditioning system or of a
household appliance

(14}Sudden and accidental damage from
artificially generated electrical cur-
renl.

These perils apply to covered biliding and

personal property for loss insured by this ad-
ditional coveragc;

TH|S COVERAGE DOES NOT [NCREASE ANV
LlMlT OF LIABlLlTY APPLY|NG TO THE DAM-
AGED C-OVERED PROPERTY.

Glass or Salety Glazing Material
We cover:

a. the breakage of glass or safety glazing mate-
rial which is part of a covered building storm
door or storm wlndow'. and

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10.

11.

 

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b. damage to covered property by glass or
safely glazing maten'ai which is part of a
buildingl storm door or storm window.

THIS COVERAGE DOES NOT |NCLUDE LOSS
ON THE REStDEENCE PREMISES iF THE
DWELLING HAS BEEN VACANT FOR MORE
Tl'lAN 39 CONSEC-UTl\/E DAYS |MMED|ATELY
EEFORE THE LO$S. A DWELL|NG BE|NG
CONSTRUCTED lS NOT CONS|DERED VA-
CAN'|'.

Loss for damage to glass will be settled on the
basis of replacement with safety glazing materials
when required by ordinance or iaw.

THIS COVERAGE DOES NOT lNCREASE THE
LlMlT OF i_lABlLt'l"i’ THAT APF’LiES TO THE
DAMAGED PROPEERTY.

Ftetrlgeraled Proc|ucts Boverage

We will pay up to 5500 for damage or loss to the
contents of freezers or refrigerated units mooted
by a power interruption or a mechanical failure of
the appliance located on the residence prem~
isec.

FOWER lNTERRUPTlON SHALL NOT lNCLUDE
DiSCONNECTlON OF THE ELECTR|CAL
SERVICE TO THE APPL|ANCE BY UNPLL.|G-
GlNG lT FROM THE ELECTRICAL SOURCE OR
BY SWtTCHtNG `l'HE APPLlANCE OR ELEG-
TRlC SOURCE OF F-

Mechanioai failure means the breakdown or mal-
function of the appliance compressor or its related
components resulting in the loss of refrigerationl

WHEN YOU LEARN CF A POWER iNTERRUF'-
TlON OR MECHAN|CAL FAlLU RE OCCUR-
RENCE THAT MAY RESULT lN LOSS OR
DAMAGE TO THE CONTENTS OF A FREEZER
OFt REFRlGERATED UNlT, YOU MUST USE
ALL REASONABLE MEANS TO PROTECT THlS
PROPERTY FROM FURTHER LOSS OR DAM-
AGE. lF YClU DO NOT PROTECT THESE RE~
FRIGERATED PF.GDUCTS FROM FURTHER
DAMAGE. THIS COVERAG_E WlLL NOT AP-
PLY.A $100 DED|JCT|BLE APF'LIES TO TH|S
COVERAGE. '

Excavation Coverage

We will pay the reasonable GOSt lNCURRED BY
¥OU LiP TO $‘l,UULJ, for the digging or excavation
oi the grounds on the residence premises to ex-
amine or unearth un derground:

Di'a.ins;
Flues;
Pipes:
Tanks; or

ease

Page€ of 21

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 50 of 141 PageiD #: 54

 

 

 

e. Wiring

TO PREVENT DAMAGE OFZ RESTORE UT|L|TY
SERVlCE ON SUCH PREMISESTO THE‘.

a. DwELLtNG;
b. oTHERsTRucTuRE(s;c)R
c. coNTENTS.

WE WlLL PAY ONLY FOR THE DlGG|NG OR
EXCAVAT\ON. REASONABLY NECESSARY
UNDER THlS ADD|T!ONAL COVERAGE. LOSS
OR DAMAGE TO THE:

a_ DRA!NS‘,
FLL)ES;
P:PES;
TANKS} OR
e. wlRlNG

15 NOT COVERED UNDER TH?S ADDIT\ONAL
COVERAGE.

WE WlLL NOT PA‘¢' FOR:

a. ANY DlGGlNG OR EXCAVAT[ON BEYOND
THE UTlLlTY SHUT'OFF F'O|NT;

b. THEESl SHRUBS. PLANTS OR LAWNS; OR
c. ANV REF|LL OR BACKF|LL.

12_ Spillage -or Resiclue Removal Coverage
We will pay up to $5,000f0r1he removal of

P-S".°'

   

 

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a. subslances acc`hdenlly spilled On; or
b. residue covering

an interior building item insured under Coverage
A - Dweliing or Cov wage B Olher Slruclurea

THlS COVER.AGE INCLUDES. ElUT |S NOT
LlNl|TED TO THE CLEAN|NG, CORRECT]ON,
MOD|FICAT|ON, REMOVAL, REPA§R OR
RENOVAT|ON OF THE lNTERIOR BUILDING
lTEM(S} ALTERE[), COATED, COVERED OR
DAMAGED BY SU€]H SF’|LL.AGE OR RES|DUE.

THIS COVERAGE !S LlMlTED TO INTERIOR
BU|LDlNG ITEMS. WE DO NOT COVER ANY
ITEM LOCATED OUTS|DE THE EXTER§OR
WALLS OF THE BU|LDING OR BELOW THE
UNDERSURFACE OF THE LOWEST BASE-
MENT FLOOR OR, WHERE THERE !S NO
BASEMENT, BELOW THE SURFACE OF THE
GROUND INSlDE THE FOUNDATION WALLS.

WE WlLL NOT PAY FOR SPILLAGE OR RES!-
DUE REMOVAL l|: THE SP||.LAGE OR RES|-
DUE WAS CAUSED BY A PER|L EXCLUDED
OR L|MlTED BY TH|S POL|CY. HOWEVER
COVERAGE EXCEPT}ON C. 7.&. UNDER SEC-
TlON l - COVERAGE A. DWELL|NG ard COV-
ERAGE B - OTHER STRUCTURES PER|LS
INSURED AGA!NST DOES NOT AF'F'LY TO
TH|S ADDITEONAL COVERAGE.

Th'cs coverage is additional coverage.

 

 

SECTION l- PER|LS lNSUREDAGA|NST

 

COVERAGE A DWELLING AND - COVERAGE B
OTHER' STRU CTURES

We insure againsi risks of mrecl physical loss lo
properly described `ln COVERAGE A and B, EX~
CEPT:

A. WE DO NOT COVER ANY LOSS `|'HAT RE»
SU|.TS FROM A PER|L EXCLUDED OF{ LlM-
ITED BY THIS POLICY, EVEN IF A COVERED
PERIL lS ACONC URRENT CAUSE OF LOSS.

B. WE DO NOT COVER ANY LOSS OR DAMAGE
TO YOUR DWELL|NB OR OTHER STRUC-
TURES CAUSED D[RECTLY OR |ND|RECTL“¢’,
CONTR|BUTED TO. OR AGGRAVATED BY DE'
FECTIVE. INADEQUATE, OR FAULTY PLAN-
N[NG, CONSTRUCTION. OR MAINTENANCE
OF AN"( PROPERTY WHETHER ON OR OFF
THE insured location RESULT|NG FROM;

DEFECTIVE, INADEQUATE, 0 R FAULTY:

1. DEVELOPMENT. SUBDlVlDlNG, SURVEY-
|NG, OR SIT|NG; INCLUDING GRADlNG,
EXCAVAT\ON. AND SO'-L COMPACT\ON.

HO-s(ae-91}

Case 3:14-cV-OOOOl Document 1-1 Filed 01/02/14 Page 51 of 141 Page|D #: 55

Z. SPECIFICAT|C\NS. BUILD|NG CODES OR
THE|R ENFOFZCEMENT OR ZONlNG RE-
OUIP.EMENTS;

3. ALTERAT\ON, CONSTRUCT\ON, REPA|RS,
RENOVAT|ON, OR REMODEL!NG;

4. MATERIALS R.ECOMMENDED, SELECTED,
SUPF’LIEDl C'R USED lN ALTERAT|ON,
CONSTRUCT}ON, REPA]RS, RENOVATION
OR REMODEL[NG;

S. N'|AINT ENANCE.

`r'OU MA‘( NOT CLAIM AN`( OF THE SITUA-
TIONS |NCLUDED lN 'B_" ABOVE AS A CAUSE
OF LOSS. THESEZ ARE NOT PERILS WE lN-
SURE AGA|NST- Ensuing perlls, NOT OTHER-»
WlSE EXCLUDED OR LIMITED B‘r' TH|S
POL}CY are covered

C. WE DO NOT COV|ZR.'

1. LOSSES EXCLUDED UNDER SECTICN l -
EXCLL|SIONS.

2. LOSS CAUSED ElY FREEZ|NG OF A

PLUMBING. DRA|NAGE, HEATING. AlR

Page 7 of 21

 

 

 

 

 

COND!T|ON|NG SYSTEM OR AUTOMATlC
FlRE PROTECT|VE SF'RINKLER SYSTEM
OR OF A HOUSEHOLD APPLlANCE, OFZ BY
DlSCHARGE, LEAKAGE OR OVERF|.OW
FROM WlTHIN THE SYSTEM OR APPL]'
ANCE CAUSED BY FREEZ|NG. TH|S EX-
CLUS?ON APPL!ES ONLY WHILE THE
DWELLlNG lS VACANT, UNDCCUF’iED OR
BE|NG CONSTRUCTED UNLESS ‘(OU
HAVE USED REASONABLE CARE TO:

a. MAIN'T`A!N HEAT lN THE BUiLDlNG.
OR

h. SHUT OFF THE WATER SUF’PLY AND
DRA1N THE SYSTEM AND APPL]-
ANCES OF WATER.

3. LOSS CAUSED B"( FREEZING, THAW[NG,
PRESSURE OR WE|GH'T' OF WATER.
SNClW OR lCE. WHETHER DRIVEN BY
WIND OR NOT TO A:

a. FENCE, DRIVEWAY, ROADWAY.
WALKWAY. PAVEMENT. PAT|O,
SWlMMING POOL. SPA. OR HOT TUBi

b. FOUNDAT}ON. RETA|NlNG WALL\
BULKHEAD;OR

c:. PlER, DECK. WHAFZF OR DOCK

4. LOSS CAUSED B‘( THEFT lN OR TO A
DWELL|NG UNDER CONSTRUCTlON. OR

OF MATERLALS AND SUPPL|ES FOR USE_

lN THE CONSTRUCT|ON UNT|L THE
DWELLING IS COMPLETED AND OCCU~
PIED;

5. LOSS CAUSED BY VANDAL|SM AND MA-
LlClOUS MlSCHlEF OR BREAKAGE OF
GLASS AND SAFETY GLAZlNG MATER|-
ALS lF THE DWELL|NG HJ-'\S BEEN VA-
CANT FOR MORE THAN 30 CONSECUTIVE
DAYS |MMEDlATELY BEFORE THE LOSS.
A DWELL|NG BE|NG CONSTRUCTED iS
NOT CONS|DERED VACANT;

6. CONTENUOUS OR REF'EATED SEEF'AGE
DR LEAKAGE OF WATER OR STEAM
OVER A PERlOD OF TIME, WEEKS.
MONTHS OR YEARS. FROM W|THlN A
PLUMBING. DRAINAGE, HEATlNG, A|R
CONDITION|NG SYSTEM OR AUTOMAT|C
FlRE PROTECTIVE SPR[NKLER SYSTEN|
OR FRDM WlTHIN A HDUSEHOLD APPL|~
ANCE;

'r'4 LOSS CAUSED BY:

a. WEAR AND TEAR. MARR|NG. DETE~
RlORAT|ON, OR FA|LURE TO MAIN-
TAIN:

h. lNHERENT vlCE. LATENT DEFECT.
MECHAN|CAL BREAKDOWN:

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c. SN|OG. RUST OR OTHER CORRO~
SlON. MOLD. FUNGUSl WET OR DRY
ROT; `

d. SMOKE FROM AGR|CULTURAL
SMUDG|NG OR |NDUSTR|AL OPER.A-
TlONS;

e. , DlSCHARGE, D|SF’ERSA\L1 SEEF’AGE.
M|GRAT|ON, RELEASE OR ESCAPE
OF POLLUTANTS UNLESS THE DlS-
CHARGE, DlSPERSAL. SEEPAGE.
MIGRAT|ON. RELEASE OR ESCAPE |S
|TSELF CAUSED BY A PER|L lN-
SURED AGAINST UNDER COVERAGE
C OF TH|S POL|CY. POLLUTANTS
MEANS ANY SOLiD. L|QU|D. GASE-
OUS, OR THERMAL lRRl'l'ANT OR
CONTAMINANT. lNCLLJDlNG SMOKE.
VAPOR. EiOOT. FUMES. AC|DS. AL-
KAL|S, CHEM|CALS AND WASTE.
-WASTE iNCLUDES MATER|ALS TO BE
RECYCLE|:|, RECONDIT!ONED OR
RECLAIMEED EXCEF'T AS PROV|DED
BY SECTlON l ~ ADD|TIONAL COV-
ERAGE 13. Spillage or Residue Re~
moval Coverage;

f. SETTLING, CRACK|NG, SHR|NK|NG,
BULG|NG OR EXPANS|ON OF
DRlVEWAYS. ROADWAYS, WALK-
WAYS, PAVEMEN'T`S. PATIOS. FOUN-
DATIONS. WALLS. FLOOFZS. ROOFS

on cEiLles;
g. Blnos, vERMlN. RODENTS oR lN~
sEcTs;OR
h. ANlMALs owNEn oR I<EPT BY ANY
leuRED.

il any of these cause writer to suddenly escape from a
plumbing. healing\_air conditioning Syslem or auto-
matic fire protective sprinkler system or household
appliance, we cover loss caused by the water We
also cover the cost of learan out and replacing any
pari of a building necessary lo repair ina syslem or
appliance. HOWEVE R. "TEAR]NG OUT" DOES NOT
lNCLUDE ANY DIGGING OR EXCAVA'HDN FOR
THE EXAM|NAT|ON OF UNDERGROUND DF'ZAlNS.
FLLJES. P|PES1 TANKS OR WlRlNG, EXCEP'T AS
PROVlDED BY SEBT|ON l - ADD|T|ONAL COVER-
AGES - 11. Excavalian Coverage. WE DD NO°T'
COVER LOSS TO THE SYSTEM OR APPL|.ANCE
FFZON| WH|CH TH|S WATER ESCAPED.

B. LOSS CAUSED BY COLLAPSE OTHER
THAN PROV|[)ED AS ADD|T|ONAL COV-
ERAGE 8.

UNDER |TEMS B. AND C. 2 THRDUGH 7 ANY EN-
SU|NG LOSS NOT EXCLU|JE{) lS COVERED_

Page 8 of 21

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 52 of 141 Page|D #: 56

 

 

 

   

COVERAGE C FERSONAL ~ PROPERT`(

WS insure for direct physical loss lo property de-
scribed in Coverage C caused only by the perils
named below. unless excepted or excluded by SEC~
TiON| EXCLUSIONB:

1. Fire or lig htning.

2. Windstorm or hail.

THlS PERlL DOES NOT lNCLUDE LOSS TO
THE PROPERTY CONTA|NED IN A BU]LD|NG
EY RA|N. SNOW. SLEET. SAND OR DUST UN-
LESS THE DlRECT FORCE OF WlND OR HA|L
DAN|AGES THE BUlLDiNG CAUS|NG AN
OPEN|NG lN A ROOF OR WALL AND THE
RA|N, SNOW. SL.EET. SAND OR DUST EN-
TERS THROUGH THlS OPEN|NG.

THIS PER|L lNCLUDES LOSS TO WATER-
CRA.FT AND THE|R TRAILERS, FURN|SH|NGS.
EQU|PMENT. AND OUTBOARD ENGlNES OR
MOTORS, ONLY WH|LE lNSlDE A FULLY EN-
CLOSED BU|LD|NG.

3. Exp|osion.
Riot or civil commotion.

Alrcraft. including se|f~propel|ed missiles and
spaoecrafl.

Vehicles.

Smoke, meaning sudden and accidental damage
from smoke.

TH|S PERll_ DOEB NOT lNCLUDE LOSS
CAUSED B‘l' SMOKE FROM AGRlCULTURAL
SMUDGING OR lNDUSTR|AL OPERAT|ONS.

B. Vanda|ism Or malicious mischief.

9. Theft. including attempted theft and ross of prop-
erty from a known location when it is likely that
the property has been stolen.

THlB PER|L DOES NOT lNCLUDE LOSS
CAUSED B‘( THEFT:

a. COMM|TTED BY ANY lNSURED, OR ANY
F'ERSON RENT|NG THE RES|DEHCE
PREMISES;

b. lN OR TO A DWELLlNG UNDER CON-
STRUCTION. OR OF N|ATER|ALS AND
SUPPLlES FOR USE lN THE COI\STRUC-
TlON UNTIL THE DWELLlNG 58 COM-
F'LETED AND OCCUP|ED: OR

c. FROM ANY PART OF A RES|DENCE
PREM|SES RENTED FOR MORE THAN 60
DAYS ANNUALLY BY AN INSURED TO
OTHER THAN AN {NSURED.

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THJS PERIL DOES NOT lNCLUDE LOSS
CAUSED BY THEIFT THAT OCCURS AWA‘\’

FROM THE RESlD|ENCE PREM!SES OF:

a. F'ROPERTY WH|LE AT AN‘( OTHER RESI-
DENCE OWNE{D, RENTED TO. OR OCCU-
PlED BY ANY lNSURED, EXCEPT WH|LE
ANY |NSURE[} |S TEMPORAR|L¥ RESlD-
lNG THERE. F’ROPERTY OF A STUDENT
WHO lS AN lN-SURED IS COVERED WHILE
AT A RES|DENCE AWAY FROM HOME lF
THE STUDENT HAS BEEN THERE AT ANY
TIME DURING THE 45 DAYS lMMED|ATELY
BEFORE THE LOS$}

b. WATERCRAFT¢ lNCLUDlNG THEIR FUR'
N|SH|NGS. EC|UIPMENT AND OUTBOARD
ENGlNES OR l\*lOTOR'S‘. OR

c. TRAILERS AND CAMPERS-
Falllng Objects

THlS PER!L DOES NOT lNCLUDE LOSS TO
PROF‘ERTY CON`|'A|NED lN A BU|LD|NG UN~
LESS THE ROOF OR AN OUTS|DE WALL OF
THE BUlLDlNG |S F|RST DAN|AGED B‘(A FAL-
L|NG OBJECT. DAMAGE TO THE FALL|NG OB-
JECT |TSELF lS NOT lNCLUDED.

Weight ot lce, snow or sleet which causes
damage lo properly contained in a building.

Accidental discharge or overflow of water or
steam from within a plumbing. drainagel healing.
automatic fire protective sprinkler system or air
conditioning system or from within a household
appliance.

THIS F'ER|L DOES NOT lNCLU DE LOSS:

a. TO THE SYSTEM OR APPLlANCE FROM
WH|CH THE WATER OR STEAM ES-
CAPED;

b. CAUSED BY OR RESULTING FRON|
FREEZ|NG‘ except AS PROV|DED lN THE
PERlL FREEZ[NG [14. FRE EZ|NG] BELOW;
OR

c. ON THE RES|DENCE PREMISES CAUSED
EY AOC|DENTAL DISCHARGE OFZ OVER~
FLOW WH|CH OCCURS OFF THE RESl-
DENCE PREMFSES.

Sudden and accidental tearing asunder,
cracking, burning or bulging of a steam or hot
water heating system, an air conditioning syslem,
an automatic tire protective sprinkler Syslem or an
appliance for heating waler.

WE DO NOT COVER LOSS CAUSED BY OR
RESULTING FROM FREEZ|NG UNDER `lHlS
PERlL.

Page 9 of 2‘l

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 53 of 141 PagelD #: 57

 

 

 

14. Freezing of a plumbing, drainage heatingl au!o-
inch tire protective sprinkler Syslem Dr air condi~
tioning system or of a household appliance TH|S
PERIL DOES NOT lNCLUDE LOSS ON THE
RES|DENCE PREM|SES WH|LE THE DWELL-
ING lS UNOCCUPIED, UNLESS YOU HAVE
USED REASONABLE CARE TO:

8. MA!NTA|N HEAT lN THE BU|LD|NG: OR

 

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b. SHUT OFF THE WATER Si.lPl`-"L‘il AND
DRA[N THE SYSTEM AND APPLlANCES
OF WATER.

15. Suclden and accidental damage from artiH-

cially generated e§ectrical current TH|S PERlL
DOES NOT lNCl-UDE LOSS TO A TUBE.
TRANSlSTOR OR SlMlLAR ELECTRON!C
COMPONENT!

 

S ECTION l - EXCLUS|ONS

 

WE DO NOT COVER LOSS RESULTING DIRECTLY
OR lNDlFtECT|.Y FROM:

1_

URD|NANCE OR LAW, MEAN|NG ESTAB~
LlSHING, ENFORCEMENT OF, DR THE FA|L-
URE TO ESTABL|SH OR ENFORCE AN‘{
ORDlNANCE, REGULAT|ON OR LAW REGU--
LATING THE CONSTRUCT|ON, REPAIR.
DEMOL|T!ON OR ZON[NG OF A BUiLDlNG OR
OTHER STRUCTURE, UNLESS SF'EC|F¥CALLY
PROV|DED UNDERTH|S PO|.|CY.

EARTH MO'VEMENT', MEAN|NG ANY LOSS
CAUSED B`r". RESULTJNG FROM, CDNTR!B-
UTED TO, OR AGGRAVATED BY EVENTS
THAT |NCLUDE, BUT ARE NOT LlMiTED TO
THE FOLLOW|NG:

a. EARTHOUAKE AND EARTHQUAKE AF-
TERSHOCKS

b. VOLCANO ACTIV|TY lNCLUlJlNG BUT NOT
L|MITED TO:

1. VOLCAN|CERUPTIDN;
2. VOLCAN|CEXPLOSION;

3. EFFUSlDN OF VOLCAN|C MATERlAL;
UR
4. LAVA FLOW;
C. MUDSL|DE lNCLUDING, MUDFLOW, DE-

BR|S FLOW, LANDSLlDE, AVALANCHE. OR
SEDIMENT;

ci. SINKHOLE;

e. SUBSIDENCE;

f. EXCAVATJON COLLAPSE;

g. EROS|ON;

h. ANY EXPANSJON, SHlFTlNG. RlSlNG,

SlNi(ING, CONTRACT|NG, OR SETTLING
OF THE EARTH. SOlL. OR LAND.

THIS EXCLUSlON APPLlES WHETHER OR
NO'I` THE EARTH, SO|L, OR LAND lS COM~`
BlNED OR MlXED W|Tl-l WATER OR ANY
OTHER |.lQUlD OR MATER|AL NATURAL OR
MAN-MADE.

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However, loss caused directly by the specific per-
ils:

a. iire;

b. explosion;

c. breakage of building or dwelling glass or
safely glazing material. including storm doors
or windows; or;

cl. theft,
following any EAR`l‘i-| MOVEMENT is covered.

WATER DAM AGE, MEANING:

a. FLooo, SuRFACE WATER, WAVES,
wave wAsl-l, TioAL wATER OVERFLOW
oF A ooov 09 wATER on sPRAY FROM
ANY oF THESE. wHETHER OR NoT A

` RESULT OF F*REC|PITAT|ON; OR DRivEN
BY wlNo;

b. WATER

m wach eAcKs uP THRoucH sew-
Ens ANo DRAins;

(2) WHlCr-i OVERFLOWS FROM A SUMP;
OR

c. WATER BELClW THE SURFACE DF THE
GROUND, lNCLUDlNG WATERI

(‘l} WHlCl-l EXERTS PRESSURE ON, OR
SEEPS OR L.EAKS THROUGl-l A
BU|LDENG, DRIVEWAY, ROADWAY,
WALKWAY, PAVEMENT. FOLlNDA-
TtON, SPA. HOT TUB, SW]MM|NG
poOL on GTHER STRuCTuRE:

(2) WH|CH CAUSES EAF(I'H MOVEMENT.

ALL LOSS FROM WATER DAMAGE lS EX-
CLUDED NO MATTER lF LOSS OR DAMAGE
WAS CAUSED EY. DR AGGRAVATED BY ANY
OTHER PERiL lN ANY SEGUENCE. However.
direct loss by lire. explosion or theft resulting from
WA`I'ER DAMAGEwill be ODvered.

POWER FA|LURE, MEANING THE FAlLURE OF
POWER OR OTH ER U'TlLlTY SERV|CE lF THE
FAILURE TAKES PLACE OFF THE RESiDENCE
PFCEMISES. lF A PE RlL lNSURED AGAINST

Page 10 of 21

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 54 of 141 PagelD #: 58

 

   

ENSUES ON THE RES|DENCE PREN||SES, WE
WlLL PAV ONLY FOR LOSS CAUSED B`*r' THE
ENSUlNG FER|L.

NEGLECT, MEANlNG NEGLECT OF THE lN-
SURED TO USE ALL REASONABLE MEANS TO
SAVE AND PRESERVE PROPERTY AT AND
AFTER THE TlME OF A LOSS. OR WHEN
PROPERTY lS ENDANGERED BYA PER!L lN-
SURE D AGA|NST.

WAR, |NCLUD|N'G UNDECLARED WAR. CW|L
WAR, lNSURRECTlUN, REBELL!ON, REVOLU-
TlON, WARLIKE ACT BY A M|L|TAR"¢' FORCE
OR MlL|TAR¥ PERSONNEL. DESTRUCT|ON
OR SElZURE OR USE FOR A MlL.lTARY PUR-
FOSE, AND iNCLUDING ANY CONSEQUENCE
OF ANY OF THESE. DISCHARGE OF A NU-

 

 

Ho_s ios-an

cLEA`R WEAPON sHALL se DEEMED A wAR-
ui<E AcT EvEN iF nccloENTAL.

NUCLEAR HAZARD. TO THE EXTENT SET
FORTH ll'~| THE NlJCLEAR HAZAF\D Cl_AUSE
OF SECT|ON l- COND|TlONS.

lNTENTlONAL LOSS, MEAN|NG ANY LOSS
AR|SiNG OUT OF ANY ACT COMM|TTED.

m BY oR AT THE DrFtEc'rlON Ol-' AN lN-
SL|RED;and

[2| WITH THE INTENT TO CAUSE A LOSS.

LOSS OR DAMAG|E EXCLlJS|ONS 1-8 APPLY
¢‘-`\BOVE EVEN |F A COVERED FERIL lS A
CONCURRENT CAUSE OF LOSS. EnSuing loss
specifically accepted by the terms of this policy is
oovered.

 

SECTlON l

insurable lnterest and Limil of Liability. Even if
more than one person has an insurable lnterest in
the property covered, WE SHALL NOT BE Ll»
ABLE: `

a. TO THE !NSURED FOR AN AMOUNT
GRE ATER THAN THE INSURED'S lNTER-
EST; nor

b. FOR MORE THAN THE APP LICABLE LlM|T
OF LlABlLlTY.

\‘0ur Duties After L,oss. |n case of a loss to
which this insurance may apply. you shall see that
the following duties are performed:

a. GIVE lMMEDIATE OR AS SW|FT AS POS-
SlBLE NOT|CE TO US OR OUR!YOUR
AGENT,'

b. lN ADDlT|ON, GlVE |MMEDIATE OR AS
SW|FT AS POSS|BLE, A REPORT TO THE
POL|CE. lF THE LOSS lS THEF|'}

c. NOT!FY THE CREDIT CARD COMPANY OR
FUND TRANSFER CAFZD OOMPANY |N
THE CASE OF LOSS UNDER ADD|TIONAL
COVERAGE - 6. CREDlT CARD. FUND
TRANSFER CARD COVERAGE¢

d. m FROTE<:T THE PnoPEnTv FROM
FuR_THEn DAMAGE;

(zi MAKE REASONABLE mo NECES-
sARY REPA;RS to PRoTEcT THE
PRopERTY; AND

(3} KEEP AN ACCURATE RECORD OF
' REPA|R EXF’END|TU RES',

e. PREPARE AN INVENTORY OF DAMAGED
PERSONAL PROPERTY SH OWlNG lN DE-
TA|L THE:

HO ~3 (06~91)

- COND|T!ONS

(1) ouANTlTY;
iz} DEScRiPTioN;
(3} AcTuAL oqu vAL.uE; AND

(4) AMOUNT OF LOSS.
ATTACH TO THE INVENTORY ALL:

(1; BlLLS;
(2) REcEiPTs; AND

(3) REL.ATED DOGLIMENTS THAT SUB-
STANT|ATE THE FlGURES |N THE |N-
VENTORY;

f. AS OFTEN AS WE REASONABLY RE-
ClUlRE:

(1) SHOW TH|E DAMAGED PROPERTY;

(zi PRovloE us win-l Rr~:conos AND
oocuMEr\ns ANo PERM\T us To
MAKE cor=ies; ANo

{3) SUBMIT 'I'O EXAMINAT|ON UNDER
OATH. WH|LE NOT |N THE PRES-
ENCE OF ANY OTHER lNSURED AND
SlGNTHE SAME',

g- SUBMET TO Ul':`, WITHlN 60 DAYS AFTER
WE REQUES'I', YOUR SlGNED, SWORN
STATEMENT OF LOSS WH|CH SETS
FORTH, TO Tl"l|E BEST OF YOUR KNOWL-
EDGE AND BELIEF;

(1) THE TrME ANo cAusE oF Loss;_

[2) lNTEREST OF THE INSURED ANJ Al.L
OTHEl_"'lS IN THE PROPERTY IN~
VOLVED AND ALL. ENCUMBRANCES
ON THE PROPERTY;

(3) OTHER INSURANCE WH|CH MAY
COVER THE LOSS;

Page 11 of 21

Case 3:14-cV-OOOOl Document 1-1 Filed 01/02/14 Page 55 of 141 Page|D #: 59

 

 

 

{4} CHANGES IN T|TLE OR OCCUPANCY
OF THE_ PROPERTY DUR|NG THE
TERM OF THEPOL|CY;

tel SPEClFicATlONs or ANY DAMAGED
BU|LDlNG AND DETA|LED ESTI-
MATES FOR REPA|R OF THE DAM-
AGE;

(6] AN |NVENTORY OF DAMAGED PER-
SONAL PROPERTY DESCR|BED lN ze.
ABOVE;

l'i") RECE|PTS FOR ADDlTlONAL LIV|NG
EXPENSES lNCURRED AND REC-
ORDS SUPPORTING THE FAlR
RENTAL VALUE LOSS;

{B} EVlDENCE OR AFFfDAVlT SUP-
PORTING A CL.AIM UNDER THE
CRED|T CARD, FUND TRANSFER
CARD, FORGERY AND COUNTERFE|T
MONEY COVERAGE, STATlNG THE
AMOUNT AND CAUSE OF LOSS.

3. Loss Settlement. Covsred property losses are
settled as fOl|OWSf

PERSONAL PROPERTY AND STRUC~
TURES THAT ARE NOT BU|LD|NGS AT
ACTUAL CASH VALUE AT THE TlME OF
LOSS. BUT NO`T` EXCEED|NG THE
AMOUNT NECESSARY TO REPAIR OR
REPLACE;

CARPET\NG. DOMEST}C APF'LIANCES.
AWN|NGS, OUTDOOR ANTENNAS AND
OUTDOOR EOU|PMENT, WHETHER OFZ
NOT ATTACHED TO BUlLDINGS, AT AC-
TUAL CASH VAL UE AT THE TlME OF LOSS
BUT NOT EXCEED|NG THE AMOUNT
NECESSARY TO REPA|R OR REPLACE;

BU|LDlNGS UNDER COVERAGE A OR B
AT REPLACEMENT COST WITHOUT DE-
DUCTlON FOR DEPREClAT|ON, SUBJECT
TO THE FOLLOW|NG:

{1} iF A`l' THE TlME OF LOSS THE
AMOUNT OF INSURANCE |N THIS
POLICY ON THE DAMAGED BUILD|NG
lS 50% OR MORE oF THE FuLl. RE-
PLACEMENTCOST OF THE BUiLDlNG
iMMEDlATEL‘i' PRIOR TO THE LOSS,
WE WlLL PAY THE COST OF REF’A|R
OR REPL.ACEMENT. WITHOUT DE-
DUCT|ON FOR DEPREC[AT|ON, BUT
NOT EXCEEDlNG THE SMALLEST OF
THE FOLl-.OwlNG AMO UNTS:

(a) THE LlNl|T OF LlABll.lTY UNDER
THIS POL|CY APPLY|NG TO THE
BU|LDlNG;

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(3)

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[b] THE REPLACEMENT COST OF
THAT F'ART OF THE BU|LD|NG
DAMAGED FOR EQUNALENT
CONSTRUCT|ON AND USE ON
THE SAME PREM|SES; OR

(c) THE AMOuNT AcTuALLY Ano
NEcE:SeAinLY SPENT To ne
PA:R oR REPLACE THE DAM-
Aoi-:r) BuiLDiNG.

lF AT THE TlME OF LOSS THE
AMOUNT OF lNSURANCE |N THlS
POL|CY ON THE DAMAGED BUILDING
lS LESS THAN 80% OF THE FULL RE'
PLACEMENT COST OF THE BUILD[NG
IMN|ED|A`|`EL\" PR|OF»‘. TO THE LOSS,
WE WlLL PAY THE LARGER OF THE
FOLLUW|NG AMOUNTS, BUT NOT
EXCEED\NG THE LlM|T OF LIABlLlTY
UNDER THlS POLFCY APPLY}NG TO

`THE euiLoiNG;

(a) THE ACTUAL CASH VALUE OF
THAT F'ART OF THE BUILDING
DAMAGED; OR

(b] THAT PROPORT|ON OF THE
COST `['O REPAlR OR REPLACE,
W|THOUT DEDUCT|ON FOR DE-
PREC|ATION, OF THAT PART OF
THE BU|LD|NG DAMAGED.
WH|CH THE TOTAL AMOUNT OF
lNSURANCE lN TH|S POL|CY ON
THE DAMAGED BU!LDlNGBEAP$
TO SD% OF THE REPL.ACEMENT
COS'|' OF THE BUILD|NG.

lN DETERMlN|NC-`, THE AMOUNT OF
lNSURANCE REQU|RED TO EQUAL
80% OF THE FULL REPL'ACEMENT
COST OF THE BUlLDlNG |MMED|-
ATELY PRIOR TO THE LOSS, YOU
SHALL DlSREGARD THE vALUE OF
EXCAVA`|'|ONS, FOUNDATIONS,
PlERS AND OTHER SUPPORTS
WHICH ARE BELOW THE UNDER~
SURFACE OF THE LOWEST BASE-
MENT FLOOR OR, WHERE THERE lS
NO BASEMENT, WHICH ARE BELOW
THE SURFACE OF THE GROUND lN-
SlDE THE FOUNDAT|ON WALLS, AND
UNDERGROUND FLUES, PlF'ES,
WlRiNG AND DRA|NS.

WE WlLL PAY NO MORE THAN THE
ACTUAL CASH VALUE OF THE DANI-
AGE UNT|L ACTUAL REPA|R OR RE~
PLACEMF_NT lS COMPLETE. ONCE
ACTUAL REPA|R lS COMPLE\'E, WE
witt settle the loss according to the pva-
sions of C.{‘t) and c.(Z} above. However,

Page12 of 21

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 56 of 141 Page|D #: 60

 

 

 

 

 

 

4.

Case 3:14-cV-00001 Document 1-1` Filed 01/02/14 Page 57 of 141 Page|D #: 61

lF THE COST TO REPAIR OR RE-
PLACE lS LESS TI-|AN $1,000 we will
settle the loss ACCORD|NG TO THE
PROvlSioNs OF c. (1) and c. (2)
above. whether or not actual repair or
replacement is completel

(5) YOU MAY D|SREGARD THE RE-
PLACEMEN`|' COST LOSS SET[LE-
MENT PROV|SIONS AND MAK.E CLAlM
UNDER THlS POLICY FOR LOSS OR
DAMAGE TO BU|LDlNGS ON AN AG-
TUAL CAS|-l VALUE BASIS AND THEN
MAKE CLA!M WlTH|N 180 DA‘(S AF-
TER LOSS FOR ANY ADDlT|ONAL Li-
AB[LITY ON A REPLACEMENT COST
BAS|S.

Loss to a Pair or Set. ln case of loss to a pair or
set we may elect to:

a. REPAIR OR REPLACE ANY F‘ART' TO RE-
STORE THE PAIR OR SET TO i`i'S VALUE
BEFORE 'i'HE LOSS; OR

h. PAY THE DiFFERENCE BETWEEN AC-
TUAL CASH VAL.UE OF THE PROPERTY
BEFORE AND AFTER THE LOSS._

G|ass Replacement. Loss for damaw to glass
caused by a Peri| insured Against shall be settled
on the basis ot replacement with safety glazing
materials when required by ordinance or law.

Appraisal. lf you and we fail to agree on the
amount of loss. either one can demand that the
amount of loss be set by appraisal. if either
makes a written demand for appraisa|, each shall
select a competent, independent appraiser and
notify the other of the appraisers identity within
20 days of receipt of the written demand. The two
appraisers shall then select a competent impar-
tial umpire. ii the two appraisers are unable to
agree upon an umpire within 15 days, you or we
can aslc a judge of a court of record in the state
where the residence premises is located to se-
lect an umpire. The appraisers shall then set the
amount of loss. lf the appraisers submit a written
report of an agreement to us, the amount agreed
upon shall be the amount of the loss If the ap-
praisers fail to agree within a reasonable time,
they shall submit their differences to the umpire.
Written agreement signed by any two of these
three shall set the amount of the loss Each ap-
praiser shall be paid by the party selecting that
appraiser. Other expenses of the appraisal and
the compensation of the umpire shall be paid
equally by you and us.

Other insurance ll a loss covered by this policy
is also covered by other insurance WE WlLL
PAY ONLY THE PROPORTiON OF THE LOSS
THAT THE LlN|iT OF LlAEl|LlTV THA'T' APPLIES

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’ttl.

11.

12.

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UNDER TH|S POLICY BEARS TO THE TOTAL
AMOUNT OF lNSURANCE COVER[NG THE
LOSS.

Suit Against th. No action shall be brought UN-
LESS THERE HAS ElEEN COMPLlANCE WlTl'l
THE POLICY PRO\"|S|ONS AND THE ACT|ON
lS STARTED WlTHlN ONE YEAR AFTER THE
OCCURRENCE CAUSING LOSS OR DAMAGE.

Our Opl|on. if we give you written notice within
30 days after we receive your signed, swom_
statement of loss, we may repair or replace any
part of the property damaged with equivalent
property.

Loss Payment. Wewiii adjust all losses with you
We will pay you UNLESS SOME OTHER PER-
SON NAMED lN Tl-|E POL.|CY lS LEGAL.L.Y EN-
TlTLED TO RECE|VE PAYMENT. Loss will be
payable 60 days after we receive your proof of
loss and;

a. Reach agreement with your or
b. There is an entry of a iinaijudgment; or
c. There is a filing of an appraisal award with us.

Abandonmeni of Property. We need not accept
any properly abandoned by any insured.

Mortgage Clause. The word "morigagee" in»
ciudes trustee_ if a mortgagee is named in this
policy, any loss payable under Coverage A or B
shall be paid to the mortgagee and you, as inter-
ests appear. if more than one mortgagee is
named. the order o'i payment shall be the same
as the order or precedence of the mortgages |f
we deny your claiml that denial shall not apply to
a valid claim of the mortgagee if the mortgagee:

a. notifies us of any change in ownership, occu-
pancy or substantial change in risk of which
the mortgagee is aware;

b. pays any premium due under this policy on
demand if you have neglected to pay the
premium;

c. submits a signedl sworn statement of loss
within 60 days after receiving notice from us
of your failure to do so. Poticy conditions re-
|ating to Appraisa|, Suit Against Us and L.oss
Payment apply lo the mortgagee

if we decide to cancel or not to renew this poHcy.

the mortgagee will be notified at least 10 days

before the date of cancellation or nonrenewal
takes ptace.

lt we pay the mortgagee for any loss and deny
payment to you:

a. we are subrogated to all the rights of the
mortgagee granted under the mortgage on
the property; or

Page‘l$ ot2‘t

 
 

 

 

 

 

b. at our option, we may pay to the mortgagee
the whole principal on the mortgage plus any
accrued interest. |n this evenl, we shall re-
ceive a tull assignment and transfer cl the
mortgage and all securities held as collateral
to the mortgage debt.

Subrogatlon shall not impair the right of the mort-
gagee to recover the full amount of the mortga'
gee's claim.

13_ No Benet‘il to Elailee. We will not recognize any
assignment or grant any coverage for the benefit
ol any person or organization holding, storing or
transporting properly lor a fee regardless of any
other provision of this policy.

14. Nuclear Hazard C|ause.

a. "Nuclear Hazard" means any nuclear reac-
tion, radiation, or radioactive contamination.
all whether controlled or uncontrolled or how-

ever caused, or any consequence ot any of `

lhese.

b_ LOSS CAUSED BY THE NUCLEAR HAZ-
ARD SHALL NOT BE CONS|DERED LOSS
CAUSED BY FlRE. E.XF'LOSlON, DR
SN|OKE. WHETHER THESE PER|LS ARI`:`
SPEC{FICALLY NAMED iN OR OTHER-
WlSE, iNCLUDED WlTl'iiN THE F'ERILS lN-
SURED AGAlNST IN SECT]ON l.

c. TH|S POL|CY DOES NOT APPLY UNDER
SECTION l TO LOSS CAUSED DiRECTLY
OR tND|RECTLY BY NUCLEAR HAZARD.
EXCEPT THAT DIRECT LOSS BY F|RE FtE-

 

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SULT|NG FROM THE NUCLEAR HAZARD
IS COVERED.

15. inflation Protectiori Goverage

a. During the term of this policy, we will increase
the limit of liability for Coverage A monthly at
the rate of 1112 of the annual residential
building cost percentage change factors as
determined by our cost calculation method
which is based on a nationally recognized
construction cost index.

b_ The limit of liability shown on the Declarations
Page for Cover.'age A will be revised yearly at
each renewal to relith any changes in bulld-
ing costs during the policy period as deter-
mined in paragraph 1 above. Any adjustment
in premium resulting from this change will be
made on the basis of rates in use by us at the
time the change is made. You have the right
to refuse this change prior to the renewal date
by contacting your agenth us.

16. Recovered Property_ ll you or we recover any
property for which we have made payment under
this policy. you or we will notify the other of the
recovery At your option, the property will be re-
turned lo or retained by you or it will become our
property. if the recovered property is returned to
or retained by you‘ the loss payment will be ad-
iu$ted based on the amount you received for the
recovered property

 

section ii - t`_tAati_iTv covERAcEs

 

COVERAGE E - PERSONAL LiAEllLITY

lf a claim is made or a suit is brought against any in-
sured for damages because of badly injury or
property damage caused by an occurrence to which
this coverage applies, even if the claim or su't is
ialse, we.w'rll:

a. Pay up to our limit of liability for the damages for
which the insured is legally liabie. Damages in-
elude prejudgment interest awarded against the
insured; and

b. provide a defense at our expense by counsel Of
our ch olce, even if the suit is groundless false or
lraudulent. We may investigate and settle any
claim or suit that we decide is appropriatel Our
duty to settle or defend ends when the amount we
pay for damages resulting from the occurrence
equals our limit ot llabllity.

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Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 58 of 141 PagelD #: 62

COVERAGE F-MED|CAL PA‘(MENTS TO OTHERS

We will pay the necessary medical expenses that are
incurred or medically ascertained within three years
from the date of an accident causing bodily injury.
Medical expenses means reasonable Charges for
medical, surgica|, X~ray, dental, ambulancel hospitat,
professional nursing`, prosthetic devices and funeral
services Tbis coverage does not apply to you or
regular residents or your household except residence
employees As to others this coverage applies only:

a. to a person on the insured location with the
permission of any insured; or
b. lo a person off the insured iocation. ii the bod-
ilyl in|u ry:
(1) arises out of a condition on the insured loca-
lion or the ways immediately adjoining;

{2] is caused by the activities of any insured;

Page 14 of 21

 

 

HO~S (08-91)

(3) is caused by a residence employee in tile (4| is caused by an animal owned by or in the
course of the residence employee's em- care of anyinsored.

ployment by any insured; or

 

SECT|ON ll - E){CL_USIONS

 

1. Coverage l`:' - Personal Liability and Coverage (2]
F - Medical Fayments to Others do not apply to
bodily lnjury or property damage!
a. which is expected or intended by any in~ l3)
sured; _
b. Arising out of or in connection with a bust-
ness engaged in by any insured. This exclu-

the entrustment by any insured of a
motor vehicle or any other motorized
land conveyance to any person; or

vicarious tiabillty. whether or not statuto-
rily imposed. for the actions of a child or
minor using a conveyance excluded in
paragraph (1) or (2} above.

slon applies but is not limited to an act or Thls EXClUS§C'NF°BS nOi alI?’lf’i>l 1°?

omission, regardless of its nature or circum- (1)
st ances involving a service or duty rendered .
promised. owed or implied to be provided be»

ca use of the nature of the business; (2)

NOTE: The furnishing of home day care services for
(1) a fee, or
[2) other compensation
by the insured and the rendering of such services

two or more days per week for a period of two or (;_;)
more hours per day constitutes one type of many
different business pursuits, (4)

c. Ar|sing out of the rental or holding for rental
of any premises by any insured. This exch
sion does not apply to the rental or holding for
rental of an lnsured location:

(1) on an occasional basis if used only as a
residence.

(2} in part for use only as a raldence, un-
less a single family unit is intended for

a trailer not towed by or carried on a
motorized land conveyancel

a motorized land conveyance designed
for recreational use off public roads. not
subject to motor vehicle registration and:

ia) not owned by any lnsured; or
[b] owned by any insured and on an
insured locationl

a motorized golf carl when used to play
golf on a golf course

a vehicle or conveyance not Sl|bjBCt 10

motor vehicle registration which isr

ia) used to service any insureds resi-
dencs::

(b) designed for assisting the handi~ _
capped; or

(c) in dead storage on an insured lo-
catio.ri.

use by the occupying family to lodge 9- arising nut °f:

more than two roomers or boarders'l or (1)

(3) in part. as an office, School. studio or
private garag e;

d. arising out of the rendering or failing to render lz)
professional services;

e, arising out of aprem|se:
(1) owned by any fnsured;
(2) rented to any insured; or
(3) rented to others by any lnsured;
that is not an insured location;

l3)

f_ arising out of:

(1) the ownership, maintenance use, load-
ing or unloading of motor vehicles or all
other motorized land conveyances in-
cluding trailers, owned or operated by or
rented or loaned to any insured;

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Case 3:14-cV-OOOOl Document 1-1 Filed 01/02/14 Page 59 of 141 Page|D #: 63

the ownershlp. malntenance, use. load-
ing or unloading of watercraft described
below;

the entn.ettment by any insured of a
watercraft described below to any per-
son; or

vicarious liability, whether or not statuto-
rily imposed. for the actions of a child or
minor using an excluded watercraft de-
scribed below.

Excluded watercraft are those that are
principally designed to be propelled by
engine power. jet power or electric mo~
tor. or are sailing vesselsl whether
owned by or rented to any insured. This
exclusion does not apply to watercraft

(1} that are not sailing vessels and are
powered by:

page 1_5 of 21

 

 

 

h.

   

{a) inboard or inboard-oul drive
engine or motor power of 50
horsepower or less ncr owned
by any lnsured'.

[b] inboard or inboard-outdn`ve en-
gine or motor power of more
than 50 horsepower not owned
by or rented to any insured;

lc) one or more outboard engines
or motors with 25 total horse-
power or |ess;

(d) one or more outboard engines
or motors with more than 25
total horsepower if the out-
board engine or motor is not
owned by any insured;

(e) outboard engines or motors of
more than 25 total horsepower
owned by any insured lf:

til you acquire them prior to
the policy period.' and
(a) you declare them at
policy lnception;
(h) your intention to in-
sure is reported to us
in writing within 45
days alter you ac-
quire the outboard
motors

fill you acquire them during
the policy period.
This coverage applies for the policy
period.
(2) that are sailing vesse|s. with or
without auxiliary power:
[a) less than 26 feet in overall
length;

(h) 26 feet or more in overall
length not owned by or rented
to any insured.

{3} that are stored;

rising out of:

ill the ownership. maintenancel use. load-
ing or unloading of any aircraft;

lZ) the entrustment by anyr insured of an
aircraft to any person; or

[3) vicarious liability. whether or not statuto-
rily imposed, for the actions of a child or
minor using an aircraft.

Exctusions e, f, g and h do not apply to hod-
ily injury to any residence employee arising

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out of and in the course of the residence
employee's employment by any insured.

caused directly or indirectly by war, including
the following and any consequence of any of
the following

('l) undeclared war. civil war, insurrectionl
rebellion or revolution'.

[2) warlilte act by military force or military
personne|: or

(3) destructive seizure or use ior a military
purpose. Di:scharge al a nuclear Weapon
will be deemed a war~|it<e act even if ac-
cidental;

which arises out of the transmission of a
communicable disease by any insured.

Arising out of sexual molestation oorporal
punishment or physical or mental abuse; or

arising out of the usel sale. manulactui`el de-
llvery. transfer or possession by any person of
any Controlled Substance(s) as defined by
the Federal Food and Orug l_aw at 21
U.S.C.A. Sections 811 and 812. Controlled
Substances include but not limited to cocaine,
LSD, marijuana and all narcotic drugs i-low-
ever, this exclusion does not apply do the le-
gitimate use of prescription drugs bya person
following the orders of a licensed physician

2. Coverage E - Personal Liability. does not apply

Liability:
(1) for any loss assessment charged against
you as a member of an association cor-

poration or community of property own-
Sl'S:

[2) under any contract or agreement. How-
ever. this exclusion does not apply to
written contr'acts:

(a) that directly relate to the ownership.
maintenance or use of an insured
location; or

(b) where the liability of others is as-
sumed by the insured prior to an
occurrence;

unless excluded in {1) above or eise-
where |n this policy;
property damage to property owned by any
insured:
property damage to property rented to, oc-
cupied or used by or in the care of any in-
sured. This exclusion does not apply to

Page 16 of 21

Case 3:14-cV-OOOOl Document 1-1 Filed 01/02/14 Page 60 of 141 Page|D #: 64

 

 

 

 

 

 

property damage caused by t'ire, smoke or
explosion;

bodily lnjury to any person eligible to re~
celve any benefits:

(1) voluntarily provided; or

(2) required to be provided; ,

by the insured under any:

('t] workers compensation law;

(2) non-occupational disability law; or

(3] occupational disease law;

bodily injury or property damage for which

an in su red under this policy:

(1) is also an insured under a nuclear energy
liability policy; or

(2) would be an insured under that policy but
for the exhaustion of its limit of liability

A nuclear energy liability policy is a one is-
sued byi

(1) American N uclear lnsurers;

(2] Mutual Atomic Energy Liabi|ity Unden
writers;

(3] Nuc|ear insurance Associattion of Can-
ada; '

cr any of their successors; or

bodily injury to any person who is related by

blood. marriage, or adoption to a covered

person and who ls a resident of the household
of that person; cr bodily injury to you.

 

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3. Coverage F - Medical Payments to Othel‘S.
does not apply to bodily lnjury:

a.

to a residence employee if the bodily in-
lUl’)'i
itt occurs otfthe insured locatio n; and

(2) does not arise out of or in the course of
the residence employee's employment
by an ins ured;

to any person eligible to receive benefits:
(1) voluntarily provided; or

(2) required to be provided;

under any:

(1) workers compensation taw;

(2] non~occupational disability law; or
[3] occupational disnselaw:

from any: `

(1) nuclear reaction;

(2} nuclear radiation: or

(3) radioactive c`ontamination;

ali whether controlled or uncontrolled or how~
ever caused; or

(4) any consequence of any ct these

to any person, other than a residence em-
ployee of an insured, regularly residing on
any part of the insured location.

 

SEBTION ll - ADDlTlONAL COVERAGES

 

We cover the following in addition to the limits of li-

ability:

‘l. Clalm Expenses. We pay:

expenses incurred by us and costs taxed
against any ins ured in any suit we detend;

premiums on bonds required in a suit de-
fended by us, but not for band amounts
greater than the limit of liability for Coverage
E. We are not obligated to apply for or furnish
any bond;

reasonable expenses incurred by any in-
sured at our request, including actual loss of
earnings (but not loss ot other lncome) up to
$50 per day for assisting us in the investiga-
tion or defense of any claim or suit;

interest on the entire judgment which accrues
after entry ct the judgment and before we pay
or tenderl or deposit in court that part of the

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Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 61 of 141 Page|D #: 65

judgment which does not exceed the limit of
liability that applies

2. First Aid E)tpenses. We will pay expenses lor
first aid to others incurred by any insured for
bodily injury covered under this policy. We will
not pay for first aid to you or any other insured.

3. Damage to Property of Others. We will pay at
replacement cost, up to $500 per occurrence for
property damage to property ot others caused by
any ins ured. We will not pay tor property

damage:

a. to the extent of any amount recoverable un-
der Section l Df this policy;

b. caused intentionally by any insured who is 13
years of age or older',

c. to property omitted by any insured;

Page 17 cf 21

 

 

 

 

 

d. to property owned by or rented to a tenant of
any lnsured, or a resident in your housdlo|d;
or `

e. arising out ol:
(‘l} a business engaged ln by any lnsured;

(2) any act or omission in connection with a
premises owned. rented or controlled by
any ins ured. other than the insured lo-
cation: or

(3] the ownershlp. l'rtaintenr=.lncel or use of
aircraft, watercrait, motor vehicles or all
olher motorized land conveyances

This exclusion does not apply to a motorized land
conveyance designed for recreational use off
public roads. not subject to motor vehicle regis-
tration and not owned by an ins ured.

Loss Assessrnent. We will pay up to $1.000 for
your share of any loss assessment charged during
the policy period against you by a corporation or
association of property owners when the as-
sessment is made as a result of:

a. bodily injury or property damage not ex-
cluded under Section il of this policy; or
b. liability for each act of a director, officer or

trustee in the capacity as a dlrector, officer or
trustee, provided:

(1) the director, officer or trustee is elected

by the members of the corporation or as-
sociation of property owners and

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(Zj the director, officer or trustee serves
without deriving any income from the
exercise of duties which are solely on
behalf of a corporation or association of
property owners

This coverage applies only to loss assessments
charged against you as owner or tenant of the
residence premises

We do not cover loss assessments charged
against you or a corporation or association of
property owners by any governmental body.

Regardless of the number of assessments fha
limit of $1.000 is the most we will pay for loss
arising out of:

a. one acoident. including continuous or re-
peated exposure lo Subsiantially the same
general harmful condition; or

b_ A covered act of a director, Oflicer or trustee
An act involving more than one director, offi-
cer or trustee ls considered to be a single act.

The roltowing do not apply to this ooverage:

1. Set:tion ii - Coverage E Personal Liabillty Ex-
clusion 2.a.(1);

Z. Under Section l & ll - Conditionsl Condition 1.
Policy Period.

 

SECTION ll - COND|T|ONS

 

Llrl'lii of Liability. Our total liability under Cover-
age E for ali damages resulting from any one oc-
currence will not be more than the limit of liability
for Coverage E as shown in the Declarations.
This limit is the same regardless of the number Olr
insureds, claims made. or persons injured. All
bodily injury and property damage resulting
from any one accident or from continuous or re-
peated exposure to substantially the same gen-
eral harmful conditions shall be considered to be
the result of one occurrence

Our total liability under Coverage F for ali medical
expense payable for bodily injury to one person
as the result of one accident will not be more than
the limit of liability for Coverage F as shown in
the Declarations.

Severabillty of lnsurance. This insurance ap-
plies separately to each insured. This condition
shall not increase our limit of liability for any one
occurrence.

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3. Duties After Loss. ln case of an accident or oc»

curren ce. the insured shall perform the following
duties that apply. You will help us by seeing that
these duties are performed:

a. give written notice lo us or our agent as soon
as is practical, which sets forth:

(1) the identity of the policy and insured;

(21 reasonably available information on the
time. place end ciretmstance`s of the ec-
cident or occur ren ce; and

(3} names and addresses of any claimants
and witnesses;

b. Promptly forward to us every notice, demand,
summons or other process relating to the ao-
cid ent or occurrence;

c. at our requestl help us
(‘ll to make settlemenl;

Page 18 of21

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 62 of 141 PagelD #: 66

 

 

 

 

 

 

m ` m e"f°“"e E"Y rith ot contribution or in-

demnity against any person or organiza-
tion who may be liable to any insured;

(3} with the conduct of suits and attend
hearings and trials;

(4} to secure and give evidence and to ob-
tain the attendance of witnessesl

d. At our option. either:

(1) submit to us. within 60 days after we re-

quest, your signed, sworn statement of
loss; or

(2} Submit to an oral examination under
oath setting forth to the best of your
knowledge and beiiei:

(a) the time and cause of ioss,

(b) a description of the accident or oc-
currence and:

(c) any other information we may rea-.
sonably require

e. under this coverage- Dar'nage to the Property

of Others - submit to us within 60 days after

the loss, a sworn statement of loss and show

the damaged property, ii within the insured's
Conl.ro|;

f. the insured wili not, except at the insured's
own cost, voluntarily make any paymeni. as-
sume any obligation or incur any expense
other than for first aid to others at the time of
bodily ln_iury.

Duties of an injured Person - Guverage F -
Mei:lical Payments to Others. The injured per~
son lor so meone acting for the injured person witl:'

 

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a. give us written proof ot claim. under oath it
required, as soon as practical;

b. authorize us to obtain copies of medical re-
ports and records

The injured person will submit to physical exami-
nation by a doctor of our choice when and as of»
ten as we reasonably require

Payment of Clalrh - Coyerage F - Meclica|
Payments to Others. Payment under this cover-
age is not an admission of liability by any insured
or us.

Suit Against Us. No action shall be brought
against us unless there has been Comp|lance with
the policy provisionsl

No one shatl have any right to join us as a party
to any action against any in sured. Also, no action
with respect to Coyerage E can be brought
against us until the obligation of the insured has
been determined by final judgment or agreement
signed by us.

Bankruptcy of any lnsured. Bankruptcy or in-
solvency of any insured shall not relieve Lls le
any of our obligations under this policy.

Other insurance - Coverage E ~ F‘ersonal Li-
ability. This insurance is excess over any other
valid and coltectibte insurance except insurance
written specifically to cover as excess over the
limits of liability that apply in this policy.

 

SECTION l AND-Si£CT!ON ll - CONDITlONS

 

Potrcv PEatoo. mrs PoLth APPLtES onti'l

TO LOSS UNDER SECT|ON l OR BODFLY lN-
JURY OR PROPERTY DAMAGE UNDER SEC-
T|ON l|. WH]CH OCCURS DURING T|‘E
POL§CY PER|OD.

YOU MAY CONT|NUE TH¥S POLICY, SI_IB.JEC‘»Tl

TO OUR CONSENT FOR SUC_CE_SS|VE PERl-
ODS BY PAYING REQU|RED P_REM|UMS
WHEN DUE.

CDNCEALMENT OR FRAUD. THE ENT!_RE_.

Pottcv witt as voto tt=, wHE'n-tsa aEFor=tE
ca AFTER A Loss, ANY msuaao HAS;

'a. tNTENTtoNALL¥ coNcEALEo demise

FZEPRESENTED ANY MATER¥AL FACT OR
ClRCUMSTANCE;

HO»S (06-91]

3.

4.

b. ENGAGED lN FRAUDULENT CONDUCT;
DR

o. MADE FALSE STATEMENTS; RELAT|NG
TO THiS lNSURANCE.

Liberalization Clause. if we make a change
which broadens coverage under this edition of our
policy " WITHOL|T ADD|TiC)NAL PREM|UM
CHARGE, mat change will automatically apply to
your insurance as of the date we implement the
change in your state PROVlDED THAT THlS
DATE FALLS' WlTHIN 60 DAYS PRIOR TO OR
DURlNC-,`- THE POL|CY PERlOD STATED IN THE
DECLARAT|ONS. TH|S L|BERALiZATION
CLAUSE DOES NCiT AF'PLY TO CHANGES ltd-
PLEMENTED THROL|GH lNTRODUCT!ON DF A
SUBSEQUENT EDl'l`iON OF OUR POLlCY.

Cance||ation.

Page 19 0f11

Case 3:14-cV-OOOOl Document 1-1 'l:i|ed 01/02/14 Page 63 of 141 Page|D #: 67

 

 

 

a. You may cancel this policy al any time by re-
turning ll 10 us Or by notifying us in wrll|ng of
the dale cancellation is 10 take effect

b. WE MAY CANCEL THIS POLlCY FOR THE
REASONS STATED IN TH|S CONDlTlON
BY NOTlFY'|NG YOU lN WR!TING OF THE
DATE CANCELLATION TAKES EFFECT.
THlS CANCELLATICN NOTlCE MAY BE
DEL|VERED TO YOU. OR MAlLED TO YOU
AT YOUR MAlLlNG ADDRESS SHOWN lN
THE DE CLARATIONS. PROOF OF MA|L|NG
SHALL BE SUFFIC|ENT PROOF OF NO-
TICE.

('l} WHEN YOL.| HAVE NOT PAID THE
PREM[UM, WHETHER PAYABLE TCl
US OR TO OUR AGENT OFl UNDER
ANY FINANCE OR CREDlT PLAN, WE
MAY CANCEL AT ANY TlME BY NO'l'l-
FYlNG YOU AT LEAST 10 DAYS BE-
FORE THE DATE CANCELLAT|ON
TAKES EFFECT.

{2} WHEN TH|S POL|CY HAS BEEN lN
EFFECT FOR LESS THAN 60 DAYS
AND lS NOT A RENEWAL WlTH US.
WE MAY CANCEL FOR ANY REASON
BY NOT|F\“ING YOU AT LEAST 10
DAYS BEFORE THE DATE CANCEL-
L.ATlON TAKES EFFECT.

(3} WHEN Tst PoLlcY HAS BEEN lN
EFFEcT FOR 60 DAYS OR MORE, OR
AT ANY TlME lF lT ls A RENEWAL
WlTH Us_ WE MAY cANCEL lF THERE
HAS BEEN A MATER|AL MlsREPRE-
SENTATHJN ol= FAcT WchH u=
KNOWN TO us WOuLD HAVE
cAUSED us NOT TO lssuE THE
POLICY OR lF THE Fusl< HAS
CHANGED suBsTANT\ALLY SINCE
THE PoL;cY wAS issuED. TH|S cAN
BE DONE BY NOT:FY|NG You AT
LEAST 30 DAYS BEFORE THE DATE
cANCELLATlON TA KES EFFECT.

(4} WHEN THls PoLlcY ls WRITTEN Fon
A PERloc) LONGER THAN QNE YEAR.
we MAY cANcEL Fon ANY REASON
AT ANNWERSARY BY NOTrFYlNG
You AT LEAST 30 DAYs BEFORE
THE DATE cANcELl.AT:oN TAKES
EFFEcT.

c. WHEN THlS POLlCY lS CANCELLED. THE
PREMlUM FOR THE PER|OD FROM THE
DATE OF CANCELLATlON 'l'O THE EXP|-
R.ATFON DATE WlLL BE REFUNDED.
WHEN YOU REQUEST CANCELLATlON lN
THE FIRST POL|CY YEAFL THE RE`T'URN
PREM|UM WiLL BE BASED ON OUR

HO-s (06_91}

 

Ho-.'s (06-9-1)

SHORT-RATE TABLE. OTHERWISE, THE
RETURN PREMIUM WlLL BE PRO RATA

cl. |F THE RETURN PREMlLJM lS NOT RE-
FUNDED WITH THE NOTlCE OF CANCEL-
LAT|ON OR WHEN THlS PDLICY lS
REFURNED TCl US, WE WlLL REFUND lT
WlTHlN A REASONABLE TlME AFTERTHE
DATE CANCEL|.AT|UN TAKES EFFECT.

5. NON-RENEWAL. WE MAY ELECT NOT TO

RENEW THIS PO|.|CY. WE MAY DO 50 BY
DELl\/EFUNG TO YOU. OR MAlLlNG TO YOU
AT VOUR MAlLiNG AUDRESS SHOWN |N THE
DECLARATIONS WR|TTEN NOT|CE AT LEAST
39 DAYS BEFORE THE EXP|RAT|ON DATE OF
THlS POL|CY. PRC!OF OF MAILING SH.ALL BE
SUFFlClENT PROOF OF NOT!CE.

Assignmenl, ASS|GNMENT OF THlS POL!CY
SHALL NOT BE VAL|D UNLESS WE G|VE OUR
WR|TTEN CONSENT.

Subrngalion. Any insured may waive in willing
bech a loss all rights of recovery against any
person. |F NOT WA|VED, WE MAY REQUIRE
AN ASSlGNMENT OF R|GHTS OF RECOVERY
FOR A LOSS TO THE EXTENT THAT PAY-
MENT lS MADE BY US,

lF AN ASSlGNMENT lS SOUGHT, AN'Y lN-
SURED Sl'~lALL S|GN AND DEL]VER RELATED
PAPERS AND COOPERATE WlTH US IN ANY
REASONABLE MANNER.

Subrogallon does not apply under Sectiun ll 10
Medlca| Paymenls l;o Olhers or Darnage lo Prop-
ed.y of Others,

Death. if any person named in the Declarazions or
the spouse, lf a resident of the same household
d|es;

a. we lnsure the legal lepresentatlve 01 the de-
CeaS&d BUT ONLY WlTH RESPECT TO THE
PREMISES AND PRDPERTY OF Tl-E DE-
CEASED COV!ZRED UNDER THE POL|CY
AT THE TlME OF DEATH;

b. lNSURED lNCL.UDES:

[‘l} ANY MEMBER OF VOUR HOUSEHOLIJ
WH_O |S AN INSURED AT THE TlME
OF YOUR DEATH, BUT ONLY WHILE
A RES{D|ZNT OF THE RESlDENCE
PREM|SE$; AND

(2) wrrH RESPECT To YouR PRop-
ERTY._ THE PERSON HAVlNG
PRQPER TEMPORARY cusToDY oF
THE PROPERTY UNTlL APPOlNT-»
MENT AN o QuAul=chTloN cl= A LE-
GAL REPRESENTAn\/E.

Page 20 of 21

Case 3:14-cV-OOOOl Document 1-1 Filed 01/02/14 Page 64 of 141 Page|D #: 68

   

 

 

   

 

' Ho-3 (06-91}

9_ PREMluM_ THE PREM|UM 'STATED iN THE EFFECT|VE DATE oF THlS POLlCY, THE
DEGLARATIONS lS THE lNlTlAL PREMIUM PREMlUM SHALL BE COMPUTED EY US lN
FOR Tst POL|GY_ ON EACH RENEWAL, ACCORDANCE WlTH RULES AND RATES lN
coNTlNUATION OR ANN|vERSARY OF THE EFFECT. '

HO-3 {06-91} . Page 21 of 21

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 65 of 141 Page|D #: 69

 

 

 

 

This policy is signed fur the company which is the insurer under ihis policy.

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Wendy C. Skjerven Gregory C. Toczycllawski
Corporate Secreiary Preslden't
Personal insurance

lN WITNESS WH EREOF, the Cc>m pa ny has exec uted and attested these presents.

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Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 66 of 141 Page|D #: 70

 

 

- A
TRAVELER$J

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 67 of 141 Page|D #: 71

 

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J\l'r FEILLIFS IHS AGC!' TRAVELERSJ

3343 panrMRTER HILL DR 912 214
NASHVILLE¢ TN 37211
00247

\TtthE,‘ 14. 2010

TIMom il & JENNIFER A. HoLLAHAN
5525 CURR‘:Noon DR
NASHVILLE 'rN 37205

Dear Policyholder,

Thanl< you for allowing us to continue servicing your Horneowners policy, We value you
as a customer and appreciate your toyalty.

Enclosed. you will Flnd your renewal Polic:y Declarations and related documents.

CONTA|NED |N TH|S PACKAGE lS ONE OR MDRE lMPORTANT NDT|CES THAT OUTLlNE CHANGES
TO YDUR PDLICY. THE CHAI\IGES COULD lNCLUDE ENHANCEMENTS, CLF»R|F|CAT|ONS DR

RE DUCTlONS IN CDVERAGE. PLEASE REV|EW THE NDT!CES CAREFULLY'.

Atter you have reviewed this entire package, please store lt in a safe place with your original policy.

|f you have any questions concerning your policy, please contact your agent at the telephone number displayed
on the attached Declarations. We want to be sure that you completely understand your policy and the protection
We provide.

We appreciate your business and look forward to servicing your insurance needs.

Tr'avelers

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Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 68 of 141 Page|D #:

 

 

 

 

     

 

lMPORTANT NDTlCE

 

FOL|CYHOLDERS NOTICE OF COVERAGE CHANGE

Thank you for insuring your horne with Travelers. Your renewal is enclosedl please take a few moments to read |t
carefully as your coverage has changed '

Under Sectlon 1- E)cctusions, we are clarifying the policy language relative to the exclusion for ilood.

if your policy has increased Loss Assessment COveragE. we have broadened your coverage by eliminating the
$1,000 Specia| Limit which limited coverage to $1,000 if the assessmenlwas the result of a deductible in the pot»
icy purchased by a corporation or association of properly owners

lt you have questions please contact your agent or insurance representative

Thank you for trusting Travelers for your insurance needs.

 

This brief summary does not change any provisions of the actual policy. There are exclusions limitations. and
conditions that apply lo each coverage if there is any conflict between this policy and this summary, the provi-
sions of the policy will apply.

PL'14459 03-09 Page `l of 1
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Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 69 of 141 Page|D #: 73

 

 

 

IMPORTANT BILLING NOTICF.

This notice contains important information about our billing options and Eees.
You have chosen to have your insurance premium paid through your mortgage company.

If your billing needs change. we offer several ways to pay your premium

Bill Plan §onl'.hl}[ _lilmp StJ.m
Electrcnic Funds Trana£er (EFT} No Charge Nc. Chaz~ge
Recurring credit Card iRCC} tro Charge Nc' Charge
Bill by Mail $ 5.00 NC- Charge.

Late Charge: $l0.00 per occurrence
Payments returned by your bank: 520.00 per concurrence

Visit i~rww.amp.travclers.com if you would like to enroll in our Electrcnic Funds
Transfer (EFTl or Recurring Credit-. Card [RCC] payment plan.

If you have multiple policies with us you may be able to combine those Policies into
a single billing account. .T.f you have selected one of our montle billing OPi'-ionsr
and you combine Your policies into a single billing account, you will be charged
just one service charge per installment, and not per individual account.

To add_ this policy to an existing billing account or if you have other questions
about this notice, Please call your inlurance representative at [615}665-1550.

PL-14216 09-08

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 70 of 141 Page|D #: 74

 

 

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THlS ENDORSEMENT CHANGES THE POL|CY. PLEASE READ l'i' CAREFULLY.

SPEClAL PRC|VISIONS - TEN NESSEE

DEF|N|T|ONS
The following definitions are added:

10. ”fuel system" means:

11.

a, One or more containers tanks or vessels
which have a total combined fuel storage ca-
pacity ohth or more U.S. gallonsl and:

{‘l] Are, or were, used to hold fue|; and

12) Are, or were. located on any one ioca'-
tion;

b. Any pumping apparatus which includes the
motor. gauge, nozzle. hose or pipes that are.
or were. connected to orie or more containers
tanks or vessels described in Paragraph a.;

c. Fil|er pipes and llues connected to one or
more containers tanks or vessels described
tn Paragraph a.;

d. A boiler. furnace or a water heater. the fuel
for which ls stored in a container. tank or ves»
sel described |n Faragraph a.;

e, Fittings and pipes connecting the boiler, fur-
nace or water heater to one or more contain-
ers. tanks or vessels described in Paragraph
a.; Dr

f. A structure that is specmcalty designed and
built to hold escaped or released fuel from
one or more containers tanks or vessels dc»
scribed in Paragraph a.

A fuel system does not include any fuel tanks
that are permanently aiiixed to a motor vehicle or
watercraft owned by an lnsured. used for power»
ing the motor vehicle or watercraft and not used
at any time or |n any manner for business.

"sinkhole collapse" means:

Actual physical damage to the dwelling and other
covered structures:

1, Arising out of‘, or
2. Ca`used by:

the sudden settlement or collapse of the earth
supporting such property. The settlement or
collapse must result from subterranean voids
created by the action of water on limestone or
similar rockformations.

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SECTION l- PRDPER.TY COVERAGES

COVERAGE C - PERSONAL PROPER?Y
SPEC|AL LlMlTS OF l.lABiLlTY

Items B. and 9. are deleted and replaced by the fol-'
lowing:

5, $6.000 on properly_ on the residence premises
used at any time or in any manner for any husi»
ness purpose

9. $1,000 on property away from the residence
premises used at any time or in any manner for
any business purpose However. this limit does
not apply to loss to adaptable electronic appara-
tus as described in Special Limits 1D. and 11. be~
low.

SECTION I- AD DiTiONAL COVERAG ES

The following additional coverage is added: (Forrns
HO-2 and HO-G oniy)

" Ordinan ce or L.aw.

a. You may use up to 10% of the limit of liability
that appties to Coverage A for the increased
costs you incur due to the enforcement of any
ordinance or law which requires or regulates

(1) The cor’lstl'l..|<:tionl demolition remodel-
ing, renovation or repair of that part of a
covered building or other structure dam-
aged by a Peril insured Against:

{2) The demolition and reconstruction ot the
undamaged part of a covered building or
other structure, when that building or
other structure must be totally demol-
ished because of damage by a Peril ln~
sured Against to another pad of that
covered building or other structure; or

{3} The remodeling, removal or replacement
of the portion of the undamaged part of a
covered building or other structure nec~
essary to complete the remodeling, re-
pair or replacement of that part of the
covered building or other structure dam-
aged i)y at Pen`l insured Against.

b. You may use all or pan of this ordinance or
lawl coverage to pay for the increased costs
you incur to remove debris resulting from the
construction, clemolltion, remodeling, renova-
tion, repair or replacement of property as
stated in a. above.

Page 1 ot 4

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Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 71 of 141 Page|D #: 75

 

c. We do not cover:

(1} The loss tn value to any covered building
or other structure due to the require-
merits of any ordinance or law: or

[2] The costs to comply with any ordinance
or law which requires any insured or oth-
ers to test for_ monitor_ clean up. re-
move_ contaln_ treat detoxily or
neutralize or in any way reEPOnd fO. or
assess the effects of. pollutants on any
covered building or other structure

Pol|utants means any solid_ liquld_ gase-
ous or thermal irritant or contaminant.
including smoke vapor. soot, iumes. ac~
ids. alka|is_ chemicals and waste. Waste
includes materials to be recycled, recon~
ditioned or reclaimed.

This coverage is additional insurance.

8. Col|apse is deleted and replaced by the follow-
lng;

8. Co||apse.
a. W ith respect to this Ad dittona| Coverage:

(1) Collapse means an abrupt falling down
or caving in or a building or any part of a
building with the result that the building
or part of the building cannot be occu-
pied for its current intended purpose.

{2) A building or any part oi a building that is
in danger of falling down or caving in is
not considered to be in a stale of col-
lapse.

(3} A part of a building that is standing is not
considered to be in a state of collapse
even if it has separated from another
part of the building.

(4} A building that is standing or any part of '

a buiding that is standing is not consid~
ered to be in a state of collapse even il it
shows evidence of cracking bulging,
sagging. bending leahing_ SEl:tling,
shrinkage or expansion

b. We insure for direct physical lossio covered
property involving collapse of a building or
any part ot a building il the collapse was
caused by one or more of the iollowing:

(1) Perils insured Against in Coverage C ~
Personal Froperty. These perils apply to
covered buildings and personal property
for loss insured by this Additional Cover-

ElgE:

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HM00 TN {08-05)

{2) Decay that is hidden from view_ unless
the presence of such decay is known to
you prior to collapse:

{3) insect or v'crmin damage that is hidden
from viewl unless the presence of such
damage is known to you prior to col-
lapse:

(4) Weight of contents equipmentl animals
or people:

[5] Weight of rain which collects on a roon
or

(Gi Use of detective material Or methods in
construction remodeling or renovation if
the collapse occurs during the course ot
the construction remodeling or renova-
tion.-

c_ Loss to an awning_ fence_ patlo_ pavement_
swimming pool, underground pipe. liue_ drain_
cesspool_ septic tank, loundation_ retaining
wa|i_ bulkhead_ pier. wharl or dock is not 'n-
ciuded under b.lZ) through (5) above unless
the loss is a direct result of the collapse of a
building or any part of a building

d. This coverage does not increase the limit of
liability applying to the damaged covered
property.

SECT|ON l - EXCLUSllONS

The first paragraph of this section is deleted and re~
placed by the following:

We do not cover any direct or indirect loss or damage
caused by, resulting lrom_ contributing to or aggra-
vated by any of these excluded perils_. Loss from any
or these perils is excluded regardless of any other
cause or event contributing concurrently or in any se~
quence to the loss.

These exclusions apply whether or not the loss event
(1] Results in widespread damage;
(2} Affects a substantial area: or
(3) Occurs gradually or suddenly

These exclusions also apply whether or not the loss
event arises lrorn:

(1) Any acts of nature:
iz) Any human action or inaction:

13) The forces of animals, plants or other living or
dead organisms; or

{4) Any other natural or artificial process

2. Earlh lilloverrrent is deleted and replaced by the

following:

Page 2 014

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 72 of 141 Page|D #: 76

 

 

 

2. Earth Movement,_ meaning events that include

but are not limited to the foilowing:
Earthqualce and earthquake aftershoci<s;
Volcano activity including but not limited to:
1. Vo|canlc Eruption;
2. Volcanic Explosion:
3. Eh'usion of volcanic material; or
4. l_ava Flow;

c. Mudsllde, including mudflow. debris flow,
land*slide, avalanche, orscdiment;

d. Subsidence;
e. Excavatlon collapse;
l. Erosion;

g. Any expansion, chillingl rising, sinking. con»
tractinQ, or $eliling of the earlh\ soill or land.
This exclusion applies whether or not the aarth,

soil or land is combined or mixed with water or
any other liquid or natural or man made material

The Ealth iv‘lovement Exclusion does not apply to
"slnkhole collapse'.

l~iowever. loss caused directly by the specific
periis:

a. tire;

b. explosion;

c. breakage of building or dwelling glass or
safety glazing material, including storm doors
~or windows; or';

d. theit;
following any earth movement is covered

Water Damage is deleted and replaced by the
loilowing:

Water damage, meaning;

a. Flood. surface water, ground water. storm
surge, waves. wave wash, tidal water, tsu-
nami, selche, overflow of a body oiwater, or
spray trom any oi these, whether or not a re-
sult of precipitation or driven by wind;

b. any water or water borne material that enters
through or backs up from a sewer or dra|n, or
which ove'flow$ from a sump, sump pump or
related equipment

o. any water or water borne material located be-

low the surface of the ground including water

or water borne material:

HA-:zoo Tri ina-oat

HA-sou TN roa-osi

(1) Which exerts pressure on, seepo, leaks

or flows into:

(a) Any part ol the dwelling or other
structures:

ibt The foundation of the dwelling or
otherslructures;

{c) Any paved surlac:e located on the
residence premises; or

{d) Any spa, hot tub,' Or Sw'lmmlng pool.
i2) Which causes earth movement or

d. any overflow. release migration or discharge
ol water in any manner from a dam, levee,
dike. hurricane barrier or any water or flood
control device.

Uireci loss by lire, explosion or then resulting
from water damage will be covered

Sl‘-_'CT|ON l- CONDlTlDNS
3. Loss Settlernent. ln Forms HCl-Z and HD-Zl on|y,

paragraph c.(4l is deleted and replaced bythe fol-
lowing:

{lt.} We will pay no more than the actual cash
value of the damage until actual repair or re-
placement is complete Once actual repair is
complete, we will settle the loss amortian lD
the provisions of c.{‘i) and c.{Z) above.

However. if the cost to repair or replace is
less than $2,500 we will settle the loss ac-
cording to the provisions of c.{1} and c.(Z]
above. whether or not actual repair or re-
placement is complete

other lns urance, in Form HA-El oniy\ is deleted
and replaced by the following:

Dther insurance and Bervice Agreement.

a. if a loss covered by this policy is also covered
by:

(1) Olher insurance except insurance in the
name ot a corporation or association of
property owners, we will pay only the
proportion of the loss that the limit ot li-
ability that applies under this policy bears
to the total amount of insurance covean
the loss; or

(2) A service agreement, this insurance is
excess over any amounts payable under
any such agreement. Service agreement
means a service plan, property restora-
tion plan, home warranty or other similar
service warranty agreement even ll it is
characterized as insurance

Page 3 al 4

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Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 73 ot 141 PagelD #: 77

 

 

b. lf. al the time ofioss, there is other insurance
or a service agreement in the name of a cor-
poration or association of property owners
covering the same property covered by this
potioy, this insurance will be excess over the
amount recoverable under such other insur-
ance or service agreement

S ECT|ON li ~ EXCLUS|ONS

Coverage E - personal Liability and Coverage
F »- Medical Payments to Others: The following
items are added:

' or any ioss, cost, payment or expense, inctud-
ing, but not limited to, defense and investiga-
tionl of any kind arising out of, resulting from.

.caused by or contributed to by the actuator
alleged presence or actual, alleged or threat-
erred dispersa|. release. ingestion, inhalation
or absorption of lead. iead pigment. lead
compounds or lead in any form which is or
was contained or incorporated into any mate~
rial or substance This exclusion applies but
is not limited to:

('ii Any supervision. instructions recom-
mendations, wamings or advice given in
connection with the above;

{2) Any obilgation to share damages, losses.
costs, payments or expenses with or re-
pay someone else who must make pay-
ment because of such bodily injury or
property damage, damagec, ioss. cost.
payment orexpense; or

(3} Any request order or requirement to test
for, monttor. abate, mitigate, remediate,
contatn. remove, dispose ot, or in any
way respond to or assess the effects of
lead. lead plgment. lead compounds or
materials cr substances containing iead
in any form.

" arising out of. resulting from. caused by or
contributed to by the escape or release of fuel
from a fuel system. This exclusion applies,
but is nol limited lo.'

('t} Any supervision instructions recom-
mendations, warnings or advice given in
connection with the above;

(2) Any obligation to share damages, losses,
costs, payments or expenses with or re-
pay someone else who must make pay-
ment because of such bodin injury or
properly damage, damages loss, cost,
payment or expense; or

HA'30|.'| TN tQB-OQ}

HA-JDO TN CGB~OQ)

(3) Any request order or requirement to test

for, monitor, abate. mitigate. rernediate.-

contaln. removel dispose of, or in any
way respond to or assess the effects of
fuel in any form-

|-lowever, this exciusion does not apply to
bodily injury or property damage arising
out of tire or explosion that results from such
escaped or reieased fuel.

SECTION l! - ADDIT!ONAL C_OVERAGES
The following additional coverage is adoed:
5. property Damage coverage for Military Person-

net and i-` ederal Gotlernment Empioyees:

|fan insured is:

a. a United States Government Employee; or
b. a member of the United States Military,

We agree to pay for property damage to United
States government properly. for which such in'
sured is responsible under applicabie rules or
regulations

Payrnent for such property damage will be at re-
piacement cost. Under this endorsement "re~
placement cosl' is defined as the amount
necessary to repair or replace the damaged prop-
erty with no deduction for '.':ieprer:lalionl subject to
the LImit of Llabilily for this Additionai Coverage.

Our leit of Liabllli_y, per occurrence, under this
Addltional Coverage for all damages resulting
from any one occurrence shall not exceed two
months basic pay for the insured, as of the time
of the oocurrenoe.

We will not pay for property damage to:
a. aircraft

b. motor yehicles, including vehicles not de-
Signed for travel on pubiic roads or subject to
registration;

c. watercrafl; or
d. weapons
We witl not pay for pro pe ny damage:

a. to the extent of any amount payable under
Sectlon l of this poiicy: or

b. caused intentionally by any insured who is 13
years of age or older.

All other provisions of this policy app|y_

Page 4 of 4

Case 3:14-cV-OOOOl Document 1-1 Filed 01/02/14 Page 74 of 141 PagelD #: 78

 

   

Your privacy . .
ls our concern

WHAT WE MEAN WHEN Wli`. TALK ABDUT “PR[VACY”

Your privacy is important to us. When we sell an insurance policy to a person we need information about the
person or property that We’re insuring We consider this private and have taken steps to keep it confidential

We want you to know about our privacy policy. The privacy policy tells you the kinds of information we get
about you, where we get it, and with whom, if anyone, we may shareit.

This brochure describes our privacy policy, procedures and practices for individuals who seek or get auto,
home and other personal liability and property insurance for personal, family or household needs

WHAT_ KIND DF l'NFORMATION WE HAVE AND WHERE WE GET IT

You give us most of what We need in the application process To make sure what we have is correct we may
need to check with you by phone or mail.

You may be asked to give us more details in writing or over the phone, Plus, we may receive and check your
past insurance claims from insurance support organizations or your fortner ins urcrs.

As allowed by law, we may ask for credit end other consumer reports from consumer reporting agencies
concerning your application for insurance or any renewal otinsurance, Information given to us by an insurance
support organ izan'on, including consumer reporting agencies may be retained by thern and disclosed to other persons.

For auto insurance, we often get a report of accidents or convictions from your Sltate Motor Vchicle
Departmcnt. We get these reports through an independent reporting company. We may also check information
from government agencies or independent reporting companies This helps us correctly rate and price your policy.

For home, building, or boat insurance, we or an inspector from an independent company may visit me
property to inspect and report on its condition In some mses, pictures may be taken. This allows us to check the
estimate we have of your prop ett'y’s value If we need more details about the property or the alarm you’ve
installed, we may need to enter your property to finish the inspection We would contact you before entering your
property. t

As a part of our application and underwriting process, in most states, we also order an Insurance Score based
on credit history. We usc the Score, information you give us, and other consumer reports for underwriting and the
price we will charge lt We receive corrected personal information from a consum er reporting agency, we will rc»
evaluate you.

Once you ’re insured with us, your tile may contain details about your policy(ies). This may include bill
payments or claim history. A claim representative may commenu for exam ple, on the condition and use of the
insured properl'y, W¢ may also keep a police report if one was issued,

Sotne times we need to know about your health. For example if we need to know whether a physical
limitation will affect your ability to drive, we would ask you_to sign a form allowing your personal doctor to
answer any question we may have.

WHO HAS ACCESS TO THIS INFORMAT[QN
We keep what we collect about you in our files. Our policies and procedures protect your personal
information We have pltysical, electronic and procedural safeguards in place.

We do not give or sell our customers’ personal information to others for marketing purposes You
don’t have to ask us to keep your information private because we do not give it, unless allowed

We will usc information about you to sell you insurance, service your insurance and settle claims. We may
give the information to other persons or companies to help us manage or service our business When we do, we
require them to use it only t`or the reasons we gave it to them.

We may give, without your past permission and only if` allowed by law, information about you held in our
files to certain persons or organizations gch §§:

- Your agent or broker
' Our affiliated property and casualty insurance companies
- An independent claim adjuster or investigator

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Case 3:14-cV-OOOOl Document 1-1 Fi|e'd 01/02/14 Page 75 of 141 Page|D #: 79

 

 

 

   

’ Pcrsons or Organizations that conduct scientific research, including actuarial or underwriting studies,
provided that no individual may be identified in the studies

* An insurance support organization including consumer reporting agencies

~ Another insurer in order to prevent or prosecute fraud

Also, on rare occasions, we may be required to share this information:
l ~ With a State insurance Departmenl or other governmental agency, if required by federal, state or local

laws

v lf ordered by a summons, court order, search warrant or subpoena

v To protect our own legal interesls, or in case of suspected fraud or other illegal activities

HOW TD FIND OUT WHAT INFORMATION WE HAVE ABOUT YOU

lf you have any questions about what we have in your file please write to us. When we receive your written
request, we will respond within thirty (30) business days. We will let you know if we've given any information
about you to anyone in the past_ If we asked for a consumer report we will tell you the name and address of the
consumer reporting agency

You may also see and copy your file (except for certain documents about claims and lawsuits). lfyou believe
any of our in formation is wrong we’ll check it out and if we agree there was an error, we’ll correct it. If we don’t
a gree, you’re still allowed to lile'a letter with your comments We’ll send the correction or letter to anyone who
received or will receive the original information

lt' you have any questions about the right of access to or correction of your fiie, we’ll be happy to review our
procedures with you. Please contact:

Prlvacy Coordinator

KNOXVILLE - 413
PO BOX 59(}59
KNOXVII.LE TN 37950

WHEN YOU WRITE, PLEASE BE SURE TO TELL US YOUR:

' Namc
» _Address
'- Policy number
* Phone number and the best time ofthe day for us to call you
Please include a copy (not the original) of personal ID, such as your driver's license

WE THANK YOU FOR LETTINC US SERVE YOUR INSURANCE NEEDS. -

This notice is effective .luly 2006 and is given by Travelers Indemnity Company, and its property and `
casualty insurance afliliates, members ofthe Travelers group ofcompanies. This notice applies lo current

and former customers and may be amended at any time. The amended notice will be sent to customers and will
also be placed on Trnvelct's web sites.

A statement concerning our use of lnsurance Score is available upon request for Dr¢!gon residents

PL-11952 Flcw. 6-07

Case 3:14-cV-OOOOl Document 1-1 Filed 01/02/14 Page 76 of 141 Page|D #: 80

 

 

 

 

 

EXHIBIT “B”

Case 3:14-cV-OOOOl Document 1-1 Filed 01/02/14 Page 77 of 141 Page|D #: 81

 

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TRAvELER§'J'"

The Standard Fire Insuranoe COmpany
4840 Fo_rect Dt. # GB PMB33'7
Columbia, SC 29206

(803)790-5052

04/17/201}

'l‘imothy R'. Holla.han
5526 Currywood Dr
Naohville, TN 37205

Insured: Tirnothy K Hollallan

Policy #: 0HG664-97 8409682-633 ~l
Claim/File #: 877 FR HPX8174 T

Date of LOSS: 04/13/20]1

Reference #:

Dear Timothy K I-Iollahan

Please be advised thatI am The Standa.rd Fire Insumnoe Compauy's representative who has been
assigned the handling of your claim The Standard Fire Insurance Company intends to undertake an
investigation of the facts and circumstances surrounding your claim. This investigation will be
conducted subject to a full reservation of rights and defenses under the policy in question.

You are hereby advised that nothing done by The Standard Fire Insurance Company or anyone acting on
the behalf of The Standard Fire Insurance Company relating to the investigation of this claim shall be
construed as an admission of liability on the part ofThe Standard Fire Insurance Company. To the
eonlrary, you are formally advised that The Sta.ndard Fire Insurance Company does hereby reserve each
and every right it has under and pursuant to the policy of insurance upon Which the claim has been made
and it has and shall continue to conduct its investigation subject to this reservation of rights

If you have any questions, please feel free to contact me.

Sincet'ely,

Tt;d Aiexander

Genera] Adjuster

(303)790-50$2

Fax:

Email: TALEXAND@ha\/elers.com

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 78 of 141 Page|D #: 82

 

 

 

EXHIBIT “C”

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 79 of 141 Page|D #: 83

 

 

 

 

 

Grecco Construction Consultants
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Cliem‘,i
Propcrty:

Operator lnfo:
Operator:

Estimator:

Position:

Company:
Home:

Reference:
Com_pany;
Business:

T§,'pe of Esti:nate:
Date Entered'.

Price List:
Labor EFEciency:
Estimate:

File Number;

Hoilahan ReSidence Home:

6526 Cunywood Drive
Nashvi]ie, TN 35404

TONY

TOny Gl'ecco

Assistant Consu]tant

Grect:o Con struction Consultants
173 Fearl Point

S`narps Cnap ei, Tl\" 37866

Business:

Dan Grecco
2955 l-loney 'l`ree Drive
Gel'mantown, TN 38133

Fire

514/2011 Dt\te F\ssigncd'. 5/4!2011

TNNA?X_MAYII
Restoration!Service/`Remodel
HOLLAHAN¢RES lDENCE
HFXS l74

Business:

(615> 289-nsa

titan 696-ssn

{901) 737-2687

The scope of repair f'or this loss event is based On our visual inspection at the loss location on 5/2/2(]| l. The cost estimate does
not include any Overtime linder premium time for the completion of the documented Scape afrepnir. The Scupe ofrcpair
quantities within this document are intended to restore the building to it'S pre-loss condition The removal and/or testing Oi` '
hazardous materials is not included within this scope of repaits. A|l material and quantities should be verified by the insured
and/or their contractor Code upgrades should be reviewed by the local code enforcement department Cocle updates are excluded
from this scope document unless otherwise noted within the scope 01` repair.

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 80 of 141 Page|D #:

 

 

 

 

Grecco Construction Consultants
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254,741.5]
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Material Sales Tax @ 9.250% x
F Ppty Material Tax @ 9.250% x
Subtotal
Overheatl @ |0.0% x
Profii @ I0.0% x
P Ppty C]eaning Tax @ 9.250% x
Rej.'.lar;eineut Cost ‘v’alue
Net Claim

Tony Grecco

Assistsnl Consuliant

HOLLAHAN_RESTDENCE

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248,209.66
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257,913.93
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Page: 55

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 81 of 141 Page|D #: 85

 

 

 

Grecco Construction Consultants
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. Estlmate: HOLLAHAN_RESIDENCE

Area;

Arca:

General Conditions
Demolition

Main Level
Living Room
Dining Room
Master Barh
Mstr Tub
Mstr Closct
Mstr shower
Master Bedroom
Hallway

H clst
Bedroom l
BR l clst

BR l Bath
Bedroom 2
BR 2 clst
Betlruom 3
BR 3 clst
Bel:lroom 4
BR 4 clst

BR 4 clst 2
Hsll Bath
HB clst
Foyer/Entry
F Closet
Den

Linen
Kitchen
Pantry
Laundry Roum
'Bsthroom
Game Room
Gr clst

Gr cslt 2
Stairs

Front Porch
Utility 'Room
Rear Porch
Deckl

Recap by Room

 

 

Area Subtotal: Main Level

Garage

HO`L`LAHAN__RESI DENCE

Case 3:14-cv-00001 Document 1-1

35,416.44 14.27%
8,58].04 3.46%
26,892.71 10.83%
5,348.31 2.15 v..
4,440.69 1_79%
7,946.29 3.20%
4,903.69 1.93%
1,443.28 0.98%
2,326.51 0.94%
8,137.69 3.23%
2,886.26 1.16%
633.77 0.26%
3,653.3'»r 1.47%
897.35 0.36%
4,943.13 1.99%
3,745.60 1.51%
801 .95 0_‘!2%
3,243.42 131"/.,
1,028.51 0.41%
2,733_45 1.12"/.,
721.88 0.29%
721.88 0_29%
6,931.03 2.79%
538.16 0.22%
4,564.09 1_34%
916.49 0.37%
7,128.54 2.87%
544,37 0.22% '
13,583.60 7.49%
1,623.49 0.65 %
3,5'70.66 1.44 %
66.32 0.03 "/o
3,878.85 3.58 %
1,052.33 0.42%
1,125.13 0.45%
595.20 0.24%
1,743_06 0.70%
1,741.50 0.70%
5,709.92 230%
1,119.00 0.86%
155,947.53 62.83%
5/l2/2(}l l Pagc: 56

Filed 01/02/14 Page 82 of 141 Page|D #: 86

 

 

 

 

Grecco Construction Consultants
@ orlando _

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U'.I'S.I.WFS‘.

Garage

Storage Area/Room
Crawlspace
Crawlspace 2
Crawlspace 3
Crawlspace 4

Front Porch CRWL
Rear Porch CRWL

 

 

Area Subtotal: Garage

Area: E|evations
l\iorth
South
East
West

 

 

Area Subtotal: Elevations
HVAC

Electrcal

Plumbing

Area: Roof
Rool`l

 

 

Area Suhtotal: Roof

 

 

Subtotal of Areas

 

 

Total

HOLLAHAN__RESIDENCE

1324-07 0.49%
945.5] 0,38%
405.59 0.16%
196,33 0,(}8%
225.55 0.[]9%
155-49 0.06 "/n
266.62 0.11%
353.59 0.14%
3,772.75 1.52%
593.30 6.36%
11205.54 0.49°/0
3,193.95 1.29 %
1,565.21 0_63°/,.
6,863.00 2.17%
6,[|63.08 144 %
8,258.60 3.33 "/a
3,652.32 1.47%
12,668.60 S.lO“/n
6,936.25 2.81%
19,654.85 7.92%
248,209.66 100.00%
243,209.66 lUl].(l'U°/u

5/12/2011 _ Page: 57

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 83 of 141 Page|D #: 87

 

 

 

 

 

 

 

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Recap by Category
O&P Items Total %
APPLIANCES 3,432.86 1.|1%
AWNINGS & PATIO `COVERS 1,447_60 0.47%
CABINETRY 10.788.3 0 3_49%
CONT= CLEAN - HARD FURNITURE 18.12 0.01%
CLEANING 2,252_79 0.73%
GENERAL DEMOLITION 11,790.84 3_32%
DOORS 9,033.44 2.94%
DRVWALL 11,957.87 3.87%
ELECTRICAL 8,680.3 7 2.81%
FLOOR COVERING - CARPET 3,728.20 1.21%
FLOOR COVERING - CERAM\C TILE 349.19 0.11%
FLOOR COVERING - WOOD 19,702.45 6_33%
FINISH CARPENTRY /TRIMWORK 8,188.92 2.65%
FINISH HARDWARE 1,893.65 0.61%
FRAMING & 110 UGH CARPENTRY 37,229.64 11_05%
HEAT, vENT & AIR CONDITlONlNG 6,063.03 1.95"/..
lNSULATION 4,065.56 1.32 %
LABOR ONLv 32,665.04 10_58%
LlGHT FIXTURES 6,170.27 ;'.00" o
MlRRORS & SHOWER DOORS 1,167.41 0_33%
PLUMB|NG 9,709.45 3.14%
PANELING st WOOD wALL FiNlSHES 2,301.05 0.75%
PAINTING 21,382.95 6.92%
ROOF!NG 5,936.25 1.:6"/.,
SOFFIT, FASCIA, & GUTTER 2,295.80 0.74%
TILE 8,206.94 2.66%
TEMPORARY REPAIRS 500.56 0.16%
WINDOWS - SKYLIGHTS 473.76 U.I 6"/¢.
WINDOW TREATMEN,T 46?.36 0.15%
wINDOWS - WOOD 10,701.98 3.46".,
WALLPAPER 1,594.15 0_52%
O&P items Subiotal 245,305.85 79.42%
Non-O&P items Total %
APPLIANCES - MAJOR W/O INSTALL 2,903.31 0.94%
Non-O&P hams Subtctal 2,903.81 0_94%
O&P ltems Subiacal 245,305.85 79.»12%
Materia[ Sales Tax @ 9.250% 9,704.18 3.]4%
P Ppry Marerial Tax @ 9_250% 0.09 0,00%
HOLLAHA N”RESIDENEE 5.'1 212011 Page ss

Case 3:14-cv-00001 Document1-1 Filed 01/02/14

Page 84 of 141 Page|D #: 88

 

 

 

 

 

Grecco Construction Consultants
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Overhead @ ll).O°/n 25,474.15 8.25%
Profit @ lD.O°/o 25,474.]5 B.ZS%
P Ppiy Cleaning Tax @ 9.250% Z.OZ 0.00%
rural 303,864_15 100.00%
HOLLAHAN_R.ESIDENCE 51’]2/20! l Filch 59

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 85 of 141 Pag__e|D #: 89

 

 

 

       

 

 

EXHIBIT “D”

 

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 86 of 141 Page|D #: 90

 

 

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date issued T ca ea ins warnerqu Addiesa
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Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 87 of 141 Page|D #: 91

 

 

 

EXHIBIT “E”

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 88 of 141 Page|D #: 92

 

 

 

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DREW ECKL & FARNHAM, L_LP

ATTORNEYS AT LAW
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P.o. cox 7500
ATLANTA, GEORGIA 30357-0600
TELEPHQNE 14041 1155-1400
FAcs\MlLE 14041 avc-used

 

www_def|aw.cnm

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L'H.AD fmc )ACDGS
NA'IHAN E. WUOU‘|'

MARK E. IItBY

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DEN‘~\PS M. HALL
1190-team

.Tuly 28, 2011
{404} 885-6313
kkarabinos@det`taw.com
Reply to Atlanta

VM CERTIFIED MAIL
RETURN RECEIPT REOUESTED 7009 2250 0002 3654 mem
AND REGULAR'MAIL

PERSONAL & coNFIDENTlAL '

Timothy and Jennifer Hollahan
6526 Currywood Rd.
Nashville, TN 37;05 __

Re: Insured: Tir`nothy K. Hol]ahan
- -'PCilicyNO.: 978409682'-633~1. _
Claim No.: HFX_8174
- Date of Loss: April 13, 2011

Dear Mr. & Mrs. Hollahan:

This firm represents The Standard F_ire Insurance Company ("Standard Fire")
and its interests in the claim you have filed On the above policy.

Yo‘a_r policy provides in pertinent part that you he examined under oath if
Standard Fire asks you to do so.

Pursuant to.that policy provision, a member of this firm Will examine you
individually under oath commencing at 9:30 a.m. on August 18, 2011 at a conference
room at The Hampton Inn located at 310 4th Avenue South, Nashville, TN
United States, 3720 1 (615~277-5000).' We will begin With Mr. Hollahan's examination at
9:30 a.m. followed by Mrs. Hollahan’s immediately thereafter. Needless to sayd if this

date, time or place proves inconvenith for any reason, please contact me, and l will he

more than helan to modifv these arrangements.

NO action may be taken oh this clcihl dnt'il this examination under oath has been
completed and all documents requested have been produced

AFLA NTA BRuNsv\/Ict<

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 89 of 141 Page|D #: 93

 

 

 

   

 

 

Stric'tly Confidential
Timothy and Jennifer I-Iollahan

July 28, 2011
Page 2

As provided in the policy, and in order to ascertain the amount and nature of the
loss:l you should bring with you at the time of the examination under oath the following
materials and documents:

(1)
(2)

(3)

(4)

(5)

(6)

(7)

(S)

Ca)

(10)

(11)

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 90 of 141 Page|D #: 94

The insurance policy.

All other insurance policies covering any of this loss, or in the event such
policies are not available, you should obtain all pertinent information as to
any additional insurance covering any ot` this loss.

Any and all other documentation of whatever kind or nature, including
receipts Which you can obtain, in order to verify the claim, including your
sworn statement in proof of loss, which you have filed for this loss.

Any and all estimates, receipts or invoices for the repair, replacement or
removal of items lost or damaged, including costs related to the structure
contents, or other items

A.ll appraisals on any of the property damaged, whether that appraisal Was
made before or after the loss.

All documents related to prior insurance coverage and/or claims regarding
the same or similar property

All correspondence or Other documents between you, Standard Fire,
FEMA, the American Red Cross, the State Department of Insurance, the
Salvation A.rmy, your County Government/Agencies or other entities
regarding the events or circumstances which are the subject of these
claims

All documents related to your claim for Additional Living Expenses (past,
present or future), including any documents you rely upon to claim any
extraordinary circumstances

Any photographs or video tapes depicting any of the damaged property
either before or after damage

Copies of your personal income tax returns for the years 2009 and 2010, if
filed

Copies of monthly bank statements1 and all working financial records kept
by you or on your behalf for the period of April 1, 2010 through April 30,

 

 

 

Strictly Coniidential
'l`imothy and Jennifer Hol]ahan

July 28, 2011

Page 3

(12)

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(153

2011, including any information which may be in the hands of an
accountant, bookkeeper or other agent. (In the event you did not keep
some or all of your monthly bank statements, these records are kept by
your bank and copies can be reproduced, and we will bear any cost in
obtaining this information.)

Copies of all promissory notes to which there was an outstanding balance
at the time of the loss, which were given, endorsed or guaranteed by you or
by any business of which you were an owner part owner or partner, these
notes being in addition to and not a limita..on cfc ther books of account,

ledge rs and bank statements previously requested

Copy of all checks paid to individuals or entities for temporary repairs or
other expenses incurred as a result of the loss.

A_ll bills, invoices, or other documentation of whatever kind or nature
regarding maintenance upkeep and repairs on the damaged structure for
three-(3] years prior to the date of loss.

Your cell phone records, including text message and call history as well as
cell tower information, from Apri] 1, 2011 through April 30, 2011. You can
obtain these directly from your cell phone provider.

As stated previously, some of the information requested, if not otherwise
available can be obtained fro.."i other nurses such as iinancial instit"tions. lithere' rs
any expense in obtaining or copying any of the requested material, please notify me and
l will advance the costs or reimburse you at the time ofyour examination under oath.

l ]O.r'k forward too eir. .'...giy ou on Augnst 18th

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Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 91 of 141 Page|D #: 95

Very truly yours,

DREW ECKL 81 FARNHAM, LLP

Karen K. Karabinos

 

 

Strictl =' Confident'ial
Timothy and Jennifer Hollahan

J nly 28, 2011
Page 4

 

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5657-79630

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 92 of 141 Page|D #: 96

 

 

EXHIBIT “F”

Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 93 of 141 Page|D #: 97

 

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DEAN h DELL|NG[R M`YL¢FS LEV[LL[ ll§»W-‘| 555)
Septemb er 26, 20 11
WRITER’S DIRECI`ACCESS
(40 4) 885-6313
kkarabinos@deflaw.com
V`LA ELECTRONIC MAIL
AND REGU[AR MAIL
Timothy K. Hollahan
Jennifer Hollahan
6526 Currywood Rd.

Nashville, TN 3720 5

RE: Timofhy & Jennif`or Hollahan
Policy No.: 978409682-633~1
Claim No.: l-IFX8174
Date of Loss: 4/13/2011
Our File No.: 5657-79680 ,

Dear Mr. and Mrs. Hollahan:

This correspondence confirms my receipt of the telephone message Mrs.
Hollahan left this weekend stating that you all would not be present for this week’s
examinations under oath scheduled for Tuesday, September 26, 2011.

Mrs. Hollahan advised that her mandatory training schedule this week prevented
her from appearing She indicated that she would be available any time the week of
October loth. Because your examinations must be taken on the same day, we will
reschedule your examinations for October tim beginning with Mr. Hollahan’s at 9:30
a.m., and Mrs. Hollahan’s immediately thereafter. The examinations will be at the same
location. Please refer to my original correspondence outlining the documents you are
requested to produce at the examinations

_ Please note that this is the third time that you have cancelled the examinations
Submitting to an examination under oath is a part of your duties after loss under the
subject insurance policies, and it is a condition for any recovery Your failure to appear
at the scheduled examinations under oath may be grounds for Travelers to deny your
claim.

 

` ATLANTA ~ BRUNSWICK '
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Case 3114-cV-00001 Document 1-1 Filed 01/02/14 Page 94 of 141 Page|D #: 98

 

 

 

_ Timothy K. Hollahan `
Jennifer Hollahan
September 26, 2011
Page 2

Needless to Say, all parties continue to insist on the strict compliance of the terms
and/ or conditions of the policy and applicable law.

Very truly yours,

Dasw, ECKL & FARNHAM, LLP
ks

Karen K. Karabinos
I<KK/kkk

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Case 3:14-cV-00001 Document 1-1 Filed 01/02/14 Page 95 of 141 Page|D #: 99

 

       

 

EXHIBIT “G”

 

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 96 of 141 Page|D #: 100

 

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'DREW ECKL & FARNHAM, LLP

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October 28, 20 11

WRrrER's manor ACCF.SS

(404} 385-6313

kkarahiuos@dcflaw.com

MBQL\UC_MA_L
D REGULAR MAIL

Timothy B: Jennifer Hollahan
1016 General George Patton Road
Nashville, TN 37221

RE: Timothy & Jenm;fer Hollahan
Policy No.: 978409682-633-1
Claim No.: HFXS1-74
Date of Loss: 4/13/2011
Our File No.: 5657-79680

Dear Mr. and Mrs. Hollahan:

This correspondence follows your examinations under oath held on October 11,
2011. Due to Mr. Hollahan‘s automobile accident, I understand the documents we had
requested you produce at your examinations were ruined. Therefore, you have agreed to
obtain those documents again, and forward them to my attention at my Atlanta office.
The documents that you have agreed to produce are as follows:

1. A.ny and all other documentation of whatever kind or nature, including
receipts which you can obtain, in order to verify the claim, including your
sworn statement in proof of loss, which you have filed for this loss.

2. Any and all estimates, receipts or invoices for the repair, replacement or
removal of items lost or damaged, including costs related to the structure,
contents, or other items

3. All documents related to any claim for Addin'onai living Expenses (past,
present or future), including any documents you rely upon to claim any
extraordinary circumstances

‘ ATLANTA BRuNswici<

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 97 of 141 Page|D #: 101

 

 

 

 

 

Timothy & Jennifer Hollahan
October 28, 2011

Page 2

4. Copies of your personal income tax returns for the years 2009 and 2010, if
il]ed. -

5. All bills, invoices, or other documentation of Whatevcr kind or nature
regarding maintenance, upkeep and repairs on the damaged structure for
three (3) years prior to the date of loss.

6_ Your cell phone records, including text message and call history as well as

cell towerinformation, from April 1, 2011 through April 30, 2011. You can
obtain these directly from your cell phone provider

You agreed to sign and return the enclosed consent authorizing us to obtain your
monthly bank statements directly from SunTrust. l have enclosed a self-addressed
stamped envelope for you to return the authorizations to me.

Finally, The Standard Fire Insurance Company must reject your sworn statement
in proof of loss you submitted because you did not complete the entire form. You failed
to indicate the amount that_you were claiming for the loss and you admitted that you did
not list on the contents inventory all of your personal property that Was damaged in your
tile loss. Therefore, l have enclosed another sworn statement in proof of loss for your
Completion and inventory Please complete it, sign it and return it directly to me Within

60 days.

Should you have any questions please do not hesitate to call. Needless to say, all
parties continue to insist on the strict compliance of the terms and/ or conditions ofthe
policy, and applicable law.

Very truly yours,

DREW, ECKL & FARNnaM, LLP
Karen K. Karabinos

KKK/klck

Enclosures: Consent to Release R.ecords

Blank Sworn Statement in Proof of Loss With contents inventory
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5657-79630

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 98 of 141 Page|D #: 102

 

 

 

 

 

EXHIBIT “H”

 

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 99 of 141 Page|D #: 103

 

 

 

 

 

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Decernber 12, 2011
WRITER’S DIRECI` ACCESS
(404) 885-6313
ld<arabmos@deilaw.com

VI_A ELECTRONIC AND REGULAR MAIL

Tirnothy 8c Jennifer Hollahan
1016 General George Patton Road
Nashyille, TN 372 21

RE: Timothy & Jennl:fer Hollahan
Policy No.: 978409682-633-1
Claim No.: HFX8174
Date of Loss: 4/13/2011
Our File No.: 5657-79680

Dear Mr. and Mrs. Hollahan:

This correspondence follows my previous letter to you dated October 28, 2011 in
which l detailed the documents you were requested to produce following your
examinations under oath. These documents included some information that you were
requested to bring to your examinations under oath held on October 11th. To date, my
office has not received those documents as well as the executed release authorizing us to
obtain your monthly bank statements directly from SunTrust_ Under the terms of the
policy, you have a duty to produce these documents Your failure to do so may result in
the denial of your claim. Theret'ore, please provide these documents to my office within
the next 14 days

A.s a reminder, please note that your sworn statement in proof of loss and
oontent's inventory that I emailed you on October 28, 2011 is due on or before December

28, 2011.

Needless to say, all parties continue to insist on the strict compliance of the terms
and/ or conditions of the policy and applicable law.

ATLANTA ' BRUNSWICK ‘

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 100 of 141 Page|D #: 104

 

 

Timothy K l-Iollahan
Jennifer Hollahan
December 12, 2011

Page 2
Very truly yours,
DREW, Ecro, & FARNHAM_, LL_P
/“’ j
Karen K. Karahinos
KKK/kkk
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5657-79630

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 101 of 141 Page|D #: 105

 

 

EXHIBIT c‘I”

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 102 of 141 Page|D #: 106

 

 

 

       

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Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 104 of 141 Page|D #: 108

 

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Case 3:14-cv-00001 Document 141 Filed 01/02/14 Page 105 of 141 Page|D #: 109

 

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EXHIBIT “J” _ \
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Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 106 of 141 Page|D #: 110

 

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MATTHEW o_ wAu<En S. MEGAN RLE|N n*J-u_lssa)

January 6, 2012

WRITER’S DIRECI` ACCESS

(4043 385-6313
kkarabinos@deflaw.com

VIA ELECTRONIQ lVlAIL
AND R_EG-ULA_R MAIL

Tilnothy K. Hollahan
Jennifer A Hollahan
6526 Currywood Dr.
Nashville, TN 37205

Timothy K. Hollahan

Jennifer A. Hollahan

1016 General George Patton Road
Nashville, TN 37221

RE: Insureds: Timorhy & Jennl:fer Hollahan
Policy No.: 978409682-633-1
Clairn No.: HFX8174
Date of Loss: 4/13/ 2011
Our File No.: 5657-79680

Dear Mr. and Mrs. Hollahan:

The Standard Fire lnsurance Company ("Standard Fire"] is in receipt of your
sworn statement in proof of loss faxed to my office on December 29th Standard Fire
must reject your sworn statement in proof of loss you submitted because you failed to
provide any documentation supporting the amount you were clairning. Therefore, I
have enclosed another sworn statement for your completion Please complete it, sign it
and return it with supporting documentation directly to me within 30 days.

As you are aware, Standard Fire has made repeated requests for you to produce
documentation in support of the claim. You were requested to produce the
documentation at your examinations under oath in October 2011, but you both failed to
produce any documentation You agreed to produce the documents following your
examinationsj and despite correspondence _to you dated Decembe:r 12, 2011, none of the
requested documentation has been produced As a condition precedent to recovery,

ATLANTA ~ BRUNSWJCK

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 107 of 141 Page|D #: 111

 

 

 

Tim othy K. Hollalian
Jennifer Hollahan
January 6, 2012
Page 2

your policy requires that you provide Standard Fire With records and documents and
permit it to make copies.

To confirm, Standard Fire has requested that you produce the following:

1. A.'ny and all Other documentation of whatever kind or nature, including
receipts Which you can obtain, in Order to verify the claim, including your
sworn statement in proof of loss, which you have filed for this loss.

2. Any and all estimates, receipts or invoices for the repair, replacement or
removal of items lost or damaged, including costs related to the structure,
contents, or other items.

3. All documents related to any claim for Additional Living Expenses (past,
present or future), including any documents you rely upon to claim any
extraordinary circumstances

4. Copies of your personal income tax returns for the years 2009 and 2010, if
filed.
5. All lbills, invoices, or other documentation of whatever kind or nature

regarding maintenance, upkeep and repairs on the damaged structure for
three (3) years prior to the date of loss.

6. Your cell phone records, including text message and call history as Well as
cell tower information, from April 1, 2011 through April 30, 2011. You can
obtain these directly from your cell phone provider.

Pleas_e provide these documents within the next 30 days. Your continued failure to
produce the requested documents may be grounds for denial of your claim.

Also be advised that Standard Fire's investigation has determined that the cause
of the fire was incendiary. We understand from Metro Code that it is in the process of
demolishing the house, but Standard Fire is in no position to stop that process
Therefore, if you desire to retain any of the tire evidence you should immediately take
any necessary steps to do so.

Needless to say, all parties continue to insist on the strict compliance Of the terms
and/ or conditions of the policy and applicable law.

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 108 of 141 Page|D #: 112

 

 

Tirnotliy K. Hollahan
Jennifer Ho]lahan
January 6, 2012
Page 3

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Enclosure: Blank POL

3180252/1
5657-79680

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 109 of 141 Page|D '#: 113

 

 

Very truly yours,

DREW, ECKL & FARNHAM, LLP

Karen K. Karabinos -

 

 

 

     

SWORN sTATEMENT lN PRoor oF LOSS

 

 

 

 

 

 

 

 

'-\mouni of policy at time of loss: C|eim Number: , ‘

4 twice 1')4

Date issued Datc expires: Agent Nsme!Agency Address: l
l

TO fl'lB The Standard Fire Insuranr:e Con'lp any Df

At the time of loss, by the above indicated policy, you insured

against the loss to the property described according to thc terms and conditions of said

 

policy and of all forms, endorsements transfers and assignmcnis.anaehed thereto

 

 

 

 

 

 

 

 

 

 

 

 

 

TlME AND ORIG IN

A loss occurred about the hour of o`cloclc AM/PM (circle one) on the
day oi` ` in the year . The cause and origin o.‘:‘the said loss were:

OCCUPAN CY

The building described, or containing the property described1 was occupied at the time ofthe loss as follows and for no other purpose

Whatever:

TITLE AND INTEREST

At the time of the loss, thc interest of your insured in thc property described therein was No other person or persons

had any interest therein or encumbrance theroon, except

CHANGES

 

Since the said policy was issued, there has been no assignment thereof, or change of inicrest, use, occupancy, possession1 location or

exposure oi'the property described , except

 

 

TOTAL` INS URAN CE

THE TOTAL AMOUNT UF INSURANCE upon the property described by this policy was, at the time Oi`the lOSS, $
as more particularly specified in the apportionment attached besides Which there was no policy or other contract ofinsuran ce, wnttcn

or ora], valid or invalid.

 

Valuc THE ACTUAL CASH VALUE of said properly ai the time of the loss west 3
Loss THE WHOLE LOSS AND DAMAGE was: $_ __ __
Amount Claimcd THE AMOUNT CLAIMED under the above numbered policy is: $

STATEI\TENTS OF INSURED

 

The said loss did not originate by any acf, design or procurement on the part of your insured, or this afhant', nothing has been done by
Or With the privity or consent ofyour insured or this aft'lant, to violate the conditions ofthe policy, or render it void; no articles are
mentioned herein or in annexed Schedules but such as were destroyed or damaged at the time of said loss; no property saved has in any
manner been concealed7 and no attempt to deceive the said Company, as to the extent of said loss, has in any manner been made. Any
Oihel' information that may be required will be furnished and considered a part of this proof_

The furnishing of this blank or the preparation of proofs by a representative of the above insurance company is not a waiver
of any of its rights.

 

 

 

 

 

 

 

Siate oi`
County of
lnsured
`»ubscribed and sworn to before me this day oi` ,
Notary Pub'lic
r1727 omit
Prim.cd in U.S.A.

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 110 of 141 Page|D #: 114

 

 

       

RELEASE AND AUTHORIZATION

The T he Standard Fire Insurance Company is hereby requested, authorized and empowered to pay as follows:

 

 

To the sum of $
To the sum of $
Total s
In full settlement and satisfaction for ali loss and damage which occurred on to the property described

in this Pl'.oof of Loss, and covered under Po]icy Nurnber , issued to the undersigned

In consideration of such paymentl the Cornpany is hereby discharged and forever released from any and all
claims, demands ofliability whatsoever for said loss and damage, under said policy

 

lNSURED

 

 

DATE MORTGAGEE

Pl 727 02."07

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 111 of 141 Page|D #: 115

 

 

     

 

EXHIBIT “K”

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 112 of 141 Page|§)_#: 116

 

 

 

 

 

TRA vELERS ' ama

Personai Lines Major Case Um't
St Paul 'I`ravelers Cnmpanies
4849 ForcstDl‘. Ste 63 PMB 337
Columhi&, SC 29206

Phone 1-8|]3-'799-5052

Fax 1-800- 685-7695

December 12, 2012

Timothy 82 Jen.nifer Hollahan
1016 General George Patton' Road
Nashvi]le, TN 37221

RE: Insured: Timothy &Jerm§fer Hollahcm
PolicyNo.: 978409682-633~1
Claim No.: HFX8174
Date of Loss: 4/13/2011

Dear Mr. and Mrs. Hollahan:

This letter is in reference to your claim for a tire loss on Apri113, 2011 that you
filed with The Standard Fire Insurance Company (“Standard Fire”].

As you are aware, Standard Fire has made repeated efforts to obtain documents
in support of your claim. You Were requested to produce certain documentation and
information at your examinations When you did not produce the documentation at
your examinations Standard Fire’s attorney wrote you on October 14, 2011 and
December 12, 2011 detailing the information and documentation that needed to be'l
produced On December 29, 2011, Standar_d Fire received your revised sworn statement
in proof of loss. That proof, however, did not include any documents to support the
amount you were claiming-under the policy. In addition, you still failed to produce the
remaining documents Standard Fire had been requesting

in correspondence dated Janua_ty 6‘h you Were notiiied that Standard-Fire
rejected your revised sworn statement in proof of loss because you failed to provide any
supporting documentation You Were requested to submit another proof of loss, any
documentation to support that proof as well as the outstanding documentation within
30 days. You were specifically advised that your continued failure to produce the
requested documents may be grounds for denial of your claim. To date, We have
received no additional documentation from you. Due to your failure to respond, you
have failed to cooperate With Standa.rd Fire’s invesn'gation of your claim

Your policy provides as a condition to recovery that you provide Standard Fire
with records and documents and a sworn statement in proof of loss. Submitting this
documentation and a pr001c of loss are procedures that are a standard part of your
printed-policy Declining to comply with these conditions precedent is in violation of
the policy provision and bars any recovery regarding this claim. Consequently, the
above-referenced claim is denied for those reasons. Please note that in taking this

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 113 of 141 Page|D #: 117

 

 

Page 2

action based upon your refusal to submit the requested documents, Standard Fire has
not reached a iinal decision regarding any other issue related to your claim, since any
other issue has now become moot.

If you believe that We are operating under a misinterpretation or
misunderstanding of the facts please provide clariiication in writing Standard Fire does
not intend, by this letter, to waive any other provision or defenses and specifically
reserve its rights to assert such additional policy provisions or defenses at any time.

Sincerely,

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v

Ted Alexander

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 114 of 141 Page|D #: 118

 

 

       

EXHIBIT “L’_’

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 115 of 141 Page|D #: 119

 

 

PAUL T. `HoUsCH

 

 

 

 

Attorney at Law
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tJ_S. Claims Ccn_lr»::

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`|'NSLJprEme Ccur't:

AnEA cone 6 l5

Nashville, Tennessee 37201

 

Januai'y 16, 2013 t

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Mr. Ted Alexander, Gerleral Adjustor
Personal Alliance Major Case Unit
The Standard Fire lnsurance Company
St. Paul Traveler’s Cornpanies

4340 Forrest Drive, Suite 6D PMID 337
Columbia, South Carolina 29206

FA.XED: 1-800-685-7695

RE: !osured: Timothy and .Tennifer Hollahan
Policy No. 978409632-633-l

Claim No. I-IFXSE'M
Date ofLoss: April l3, 2011

Dear Mr. Alexander:

Please be advised that l represent Mr. and Mrs. Timothy Hollahan in their tire loss claim against The
Standard Fire lnsurance Company arising out of the fire loss of their residence on April 13, 201 l in Davidson
County, Tennessee.

On behalf of Mr. Timothy Hollahan and ienn ifer [-lallahan, demand is hereby made against Standard Fire
lnsurance Company under Policy No. 9784(}9682-633-1 under Clairn No. HFXS l 74, for payment of 3500,01}0.00
for the dwelling loss, the personal property loss and loss of use coverage, as their whole loss and damage arising
out ofthe fire loss on Aprii 13, 201 1.

 

The subject flre, which occurred on April l3, 201 l at 6526 Currywood, Nashville, Tennessee 3720$, under
Policy No. 973409682-633-l was a total loss of the dwelling and personal property, as determined by the Metro
Fire Departmcnt.

Your failure to pay the demand will be considered "bad faith” on the part of The Standard Fire Insurance
Company.

The Standard Fire Insurance Company was made aware of the fact that the subject fire of the dwellingand
personal property of Mr. and Mrs. Hollahan resulted in a total loss of their property, before The Standard Fire
Insurance Company denied Mr. and Mrs. Hollahan’s claim on December 12, 2012.

If you have any questions, please contact this office

 

cc.' Mr. Timothy Hollahan
Mrs. Jennit`er Hollahan

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 116 of 141 Page|D #: 120

     

 

 

 

EXHIBIT “M”

 

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 117 of 141 Page|D #: 121 ‘

 

 

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MR)'.T| '|'. SUSRAMANlAM

DREW ECKL & FARNHAM, LLP

ATTORNEYS A'I‘ LAW
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ATLANTA, GEORGIA 3035'7-0600
reteFHoNa non sas-1400
FAcsan_t ucc 876-0992

 

 

CH.\.D ER|C. MCD$!$

M¢\Rl: E. IRBY'

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er:HAEL l. Mlll ER .W.‘|'.'HEW U WthER MA`|THEW F 'R.AM§E\' |19\7-199.5.1

January 28, 2013

WR_T'I`ER’S DIRECI' AC-CESS

two 885-6313
ldcarabin os@deilaw.co m

VlA ELECTRONIC MAIL
AM[M
Paui T. Housch

222 Second Ayenue North
Washington Squire, Suite 310
Nashville, TN 372 01

RE: Insureds: Hmothy & Jennffer Ho llahan
Policy No.: 978409682-633¥1
Claini No,: HFX8174
Date of Loss; 4/13/2011
Our File No.: 05657-079680

Dear Mr. Housch:

I am in receipt of your January 14, 2013 correspondence to Ted Alexander and
my office regarding your request for documentation as well as your January 16, 2013
correspondence in which you demand payment of $500,000 for your clients’ reported
damages to the dwelling personal property, and loss of use as a result of the above-
referenced fire. The Standard Fire Insurance Company (“`Standard Fire”) has requested
that l respond on its behalt.

Docnmentation Reguest

Pursuant to your request, lam enclosing With the copy Of this letter sent via
regular mail the following documentation:

1. The exhibits referred to in the examinations under oath of Mr. and Mrs.
Holla.ban;

T he sworn statements in proof of loss submitted by the Hollahans;

The correspondence office to/from the Hollahans;

The documents produced by SunTrust; and

Correspondence with Verizon; and

The estimate for the repairs to the home.

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Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 118 of 141 Page|D #: 122

A Tl,)\ NTA

 

 

   

 

 

Paul T. Housch
Janual'y 28, 2013
RE: Hol[ahans
Page 2

Travelers objects to producing any other investigative documentation as such
documents are protected by the attorney-client privilege and constitute work product

Dem dfor Pa ent

Your letter makes a “bad faith” demand for payment Upon receipt of your
demand, Mr. A_lexander reviewed both the claim file and the policy issued to the
insureds Based upon his review, there is no basis on Which to reconsider the denial or
make any payment to the insureds Without the information detailed below that your
clients were requested to produce more than a year ago. Further, there is no basis for
any bad faith claim against Standard Fire, who at all times during the investigation and
consideration of this claim acted in good faith. Standard Fire was unable to complete
its investigation due to your clients’ continued refusal to comply with their duties set
forth in the policy. We note that your demand also failed to provide any of the
requested inform ation, including any documentation supporting the amount of the
demand

Standard Fire made repeated efforts to obtain documents from your clients in
support of their claim. They were requested to produce certain documentation and
information at their examinations under oath held on October 11, 2011. When they
failed to produce the documentation at those proceedings I wrote them on October 14,
2011 and December 12, 2011 detailing the information and documentation that needed
to be produced

On December 29, 2011, your clients submitted a revised sworn statement in proof
of loss. That proof, however, did not include any documents to support the amount the
Hollahans were claiming under the policy and they continued to fail to produce the
outstanding docum ents. Accordjngly, that proof of loss was rejected via correspondence
dated January 6, 2012. In that oorrespondence, the Hollahans were requested to
submit, within go days, another proof of loss, any documentation to support that proof
as well as the outstanding documentation that had been requested In addition, they
were specifically advised that their continued failure to produce the requested
documents may be grounds for denial of the claim. Frorn January 6, 2012 until the
denial letter Was issued on Decernber 12, 2012, the Hollahans failed to submit any
revised sworn statement in proof of loss, or any of the outstanding documentation

The I'lollahans9 policy provides in pertinent part, as follows:
SECUONI - CONDIHONS

-)b-)'e-)l~')l>*

2. Your Duh'es Ajter Loss. fn case ofa loss to which this insurance may
apply, you shall see that the following duties-are performed

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 119 of 141 Page|D #: 123

 

 

 

 

 

Paul '1`. Housch
January 28, 2013
RE: Hollahans
Page 3

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 120 of 141 Page|D #: 124

H*%**

PREPARE ANINVENTORY OF DA_MAGED PERSONAL
PROPERTY SHOWING IN DETAIL:

(1) QUANTHY,-

(2) DESCRIPTION,-

(3) acrUAL cAsH vAL Us,~ AND
(4) AMOUNroFLoss.
AITACH ro ran n\rvnNroR YALL.-
(1) BILLS;

[2) RECEIPTS,-aND

(3) sara ran DOCLMENTS mar sUBsTaNrra re THE
FIG ones IN THE INVENTORY,-

AS OFTENAS WREASONABLYR.EQUIRE:

*****

(2) PROVIDE US WITH RECORDS A.ND DOCUMENTS AND
PER.MIT US TO lllAJCE COPIES; AND

(3) SUBMIT TO EXAMINATION UNDER OATH, l/VHILENOT
IN THE PRESENCE OFAM’OTHER INSURED AND SIGN
THE SAME;

SUB]\,HT TO US, MTHINéO DAYS AFTER WEREQUEST, YOUR
SIGNED, SWOR.N STATEMENT OF LOSS WHICH SETS FORTH,
TO THE BEST OF YOUR KNOWLEDGE AND BELIEF:

I. ' THE TIMEAND CAUSE OFLOSS,'
2. INTEREST OF THE INSURED AND ALL OTHERS IN THE

PROPERTYDV VOLlTD AND ALL ENC[HVIBRANCES ON
THE PROPERTY;

3. OTHER INSURANCE WHICHMY COl/T'R THE LOSS;

4. CIMNGES IN TITLE OR OCCUPANCYOF THE PROPERTY
DURING THE TERM OF THE POLICY,'

 

 

   

 

 

Paul T. Housch
January 28, 2013
RE: Holfahans
Page 4

5. 'SPECIFICA TIONS OFANYDAM'AGED BUILDING AND
DETAILED ESTIL€[ATES FOR REPAIR OF THE DAM/-lGE;

6. AN INVENTORYOF DAMAGED PERSONAL PR OPERTY
' DESCR_IBED IN 2e ABOl/E';

7. RECEIPTS FOR A.DDITIONAL Z.i VZNG EXPENSES
INCURRED AND RECORDS SUPPOR TING THE FAIR
RENTAL VALUE LOSS;

Accordingly, the l-lollahans’ policy provides as a condition to recovery that they
provide Standard Fire With records and documents and a sworn statement in proof of
loss containing the information detailed in the policy. Under Tennessee law, declining
to comply with these conditions precedent is in violation of the policy and bars any
recovery regarding this claim. See Wharton v. Stare Farm Fire & Cas. Ins. Co., 1995
U.S. App. LE.XIS 14586 (1995). Therefore, until your clients comply with the terms of
the policy within the time provided for in the policy,_ Standard Fire must stand by its
original denial of the claim

Neediess to sam ali parties continue to insist on the strict compliance

ofaH of the terms agd[or conditions of the policy and applicable law.

 

Very truly yours,
DREW, Ecr<r 8c FARNHAM, LLP
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l
l

/ /
K:Q/Wn. 355 ‘PCMMt/)u%j

Karen K. Karabinos l
KKK/kkk l

Enclosures via regular mail

3517002/1
05657-079680

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 121 of 141 Page|D #: 125

 

 

 

EXHIBIT “N”

 

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 122 of 141 Page|D #: 126

 

Case 3:14-cv-00001

 

‘J‘+"J\..‘_'-J¢\J.C-U'r|'l\r|¢>i\|U§JD‘b ;DD\_'.~PL'J|DOJ

THE Bli..i. DERRYBERRY COMPANY
GENERAL CONTRACTOR
#157‘14.

491 CORNERSVILLE ROAD
LEWlSBURG, TENNESSEE
37091
PHONE NO: 931)359-5691
FAX NO: (931}359-336?

, .

February 13, 2013

Mr. Glen Adcock
932 Foxboro Drive
Lewi.sburg, TN 37091

Ref: Timothy and Jennifer Hoilahan
6326 Currywood Drive
Nashvi|le, TN 37205

Enc|osed is The Bi|l Derryberry Cornpany’s opinion of the cost to rebuild the
house at 6326 Currywood Drive, Nashville. TN. As the house has been torn down
and removed, this opinion is based on-pictures taken by Bi||y' DEFFFF\Q. MEfI’O
Government of Davidson County's Fire investigation and dimensions furnished
by Grecco Construction Consultant's Report.

Approximately 3,325.8 sf of Living Area @ S110.00!s'f ' $ 365,843.00
Approximately 1,196 sf of Basement @ $45;.00/5¥ - 53,820.00
Approximately 537 sf of Poarch Areas @ $45,00.51" n 24,165.00
Approximate|y 170 sf of Deck @ $20.00/sf 3J400.0|J

$ 447,228.00

Again, l would like to emphasize, the above pricing is based on the information l
had to work with.

if you have anyl questions please call me.

Bl L ERRYBERRYC !N|PANY

 
   

Bill Derryberr‘y'
Ganeral Contractor

 

Document 1-1 Filed 01/02/14 Page 123 of 141 Page|D #: 127

 

EXHIBIT “0”

 

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 124 of 141 Page|D #: 128

 

PAUL T. HOUSCH

Attorney at LaW

 

PAUL T. HOUSCH TELEPH¢::NE
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|J.S_Ar'rny‘l 974 1577

Mr. Ted Alexander, Creneral Adjustor ;_i__ _1
Personal Alliance Maj or Case Unit

The S'tandard Fire insurance Cornpany

St. Paul Traveler’s Companies

4840 Forrest Dn`ve, Suite 6D PMD 337

Colurnbia, South Carolina 29206

RE: Insured: Timothy and Jennifer Hollaha-o
Policy No. 978409682-633-1

Clairn No. HlFXSl'M
Date of Loss: April 13, 2011

Dear Mr. Ale)rander:

Please be advised that 1 represent Mr. and Mrs. Timothy Hollahan in their tire loss claim against
The Standard Fire lnsurance Company arising out of the fire loss of their residence on April 13, 2011 in
Davidson County, Tennessee_

Pursuant to your letter ofDecernber 12, 2012, 1 am Writing to you to provide you with the Amended
Swom Statement and Pro of of loss Form duly executed and sworn to by Mr. and Mrs. Timothy Hollahan,
with documentation to support their tire loss claim for your reconsideration oi` your official denial of their
claim on December 12, 2012.

 

 

These materials which are being provided to you herein will be part of the lawsuit that I anticipate
filing on behalf oi`Mr. and l\/lrs. Hollahan against the Standard Fire lnsurance Company for failure ofthe
Standard Fire Insurance Company to pay their claim.

lt is my client’s position that Standard Fire lnsnrance Company should have never denied their
claim; and that Stanclard Fire insurance Company failed to cooperate with Mr. and Mrs. Hollahan after
the tire loss of their residence by placing demands upon them that were unreasonable, unjust and in breach
of the Standard Fire Insurance Company’s policy of tire loss insurance to act in good faith during the ,
claims process Because oi" the continued adversary role of Standard Fire insurance Company being
pursued against Mr. and Mrs, Timothy Hollahan following the fire loss on Apn`l 13, 201 1, Mr. and Mrs.
'l`itnothy Hollahan acting pto se_. were unableto resolve their tire loss claim accordingly prior to your letter
of Decetnhet 12, 1012, officially denying their claim.

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 125 of 141 Page|D #: 129

 

 

 

 

 

Mr. and Mrs. l-lollaha'n and their two minor children have suffered not only ofthe fire loss of their
residence, but also because of The Standard Fire lnsurance Company’s denial of their claim.

This letter is to advise you that there has been no criminal indictments or criminal warrants issued
against anyone for arson of the tire loss of their residence lt is my understanding that no presentments
have been made by the Metropolitan Fire Depattment to the grand jury against Mr. and-Mrs. Timothy
Hollahan because there is no evidence to support any charge of arson Mr. and Mrs. Timothy Hollahan
have emphatically denied that they caused the tire or had anything to do with the fire of their residence

The Standard Fire lnsurance Cotnpany was placed on notice at the very beginning that Mrl aners.
Holla.han had nothing to do with the fire loss of their residence on April 13, 201 l, yet the Standard Fire
lnsurance Company has basically accused them of arson with no evidence to support such a claim.

l am in the process of drafting the Complaint to pursue their fire loss claim against The Standard
Fire insurance Company, under Policy No. 978409682-633-1_. Claim No. HFX8174.

Since The Standard Fire lnsurance Company has done everything possible to delay the
determination of whether their claim should be paid; and has finally officially denied Mr. and Mrs.
Hol]ahan’s Claim on Decernber 12, 2012, my clients are well within their rights to file their claim in a
Court of competent jurisdiction in this matterto pursue their fire loss claim, and have a j ury deterrninetheir
claim.

l.u the interest of_justice and The Standard Fire insurance Company’s duty to act in good faith
under the policy insuring the fire loss of their residence, 1 call upon you to do the right thing in this matter
and to reconsider Mr. and Mrs. l-Iollahan’s fire loss claim short of any litigation being filed in this matter

I hope that with your experience as General Adjustor in dealing with fire loss claims of this nature
and circumstances, that you would understand the situation involving Mr. and Mrs. Hollahan and their
minor children and the loss they suffered

if l do not hear from you within thirty (30) days of receipt of this letter, 1 will proceed with the
litigation

 

cc: Mr. Tirnothy Hollahan
Mrs. J'ennifer Hollahan

Encl: Original Alnended Swom Statement in Proofof Loss and
Documentation for Proot` of Fire Loss Claim

P TH ! bros

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 126 of 141 Page|D #: 130

 

 

mm swoan statement iN PRooF or Loss

t

 

 

 

ii mount of policy at time of lossl Cl;iim Numben

§ s 1,050,000.00 aaxsi'it a
l Date issued: Date expires Agent Namel]f-l_l£ency Address: l
j 8-2-20 1 0 8-2-20 1 1 AL ps Agency f

 

 

 

'l`udic The seminar-d Fire rns-.irance conner of 'l’ravelers Pr:operty and Casualty Go.

nettie time of loss_ by the above indicated poiicy, you insured §§2§ gm D;ive., §ashv:l_]_`le, TH 3?205

outlined the loss of fire to the property described according to the tenns and conditions ot' said

gn=iicy mud of all fonns. endorsements._ transfers and assignments attached thereto_

 

 

 

lifle AND ORICIN
.-\ fire __ _ loss occurred about the hour of 3'4* : 30 o‘clnck AM/PM [circle ouc) on the
___1__3_1:13 ilii-. ct _£ll_’}-_l_l._________,__ in the year __1__. The cause and origin of the said loss were: _____

_j.qge:nii_:§.§g'_§_qgording _t_;_o Hetrci 'l_?:;i__re Depar.:t:mentt'_ Investid_._ga,tor.

 

(,‘C`CL'P.-*.N('.` \‘ ._

l'lic building iic::crii>ccl. or containing the prope described was occupied at the time oftlie loss as follows and for no oilier purpose
Insured's Residenee Pr'imtry Residence) with furniture and clothing in

\"-' hill.L` \'C['l

their residence.
TlTLE AND INTEREST

.-'lu the time of thc loss. the interest of your insured in the property described therein was met No other person or persons
had any intends therein N/A T or encumbrance thereon. except gull-rust uortgage
First Hortgage aBB_Equi ty Lme of flrth

CHANGE."S

.‘>'i.'-.._»c the sai.;i policy was issued there has been no assignment thereof`. or change of interest use occupancy possession location or
Ntme.

 

exposure ot`the property described , except

 

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T;-l`E T\'}T At. .‘-\M(_)l_iN'i' (`iF ll~iS‘iJRANCl`:' upon the property described by this policy was, al the time of the loss $ 1 ,USO,UOU .00
more particularly specified in tr.-'_~ apportionment attached besides which there was no~policy or other contract of insurance written

n:' nr:\l. valid or inv.'ilid_

 

virtue THE ACTUAL CASH VALUE of said property at the time ofthc loss wrist imm nn
t.;_~;r rt~’;_= wi-iC-Le toe-s n N.o burton w,~.-: _ §_SZW‘%_ __ _ `_
.Amounc Claimt-d THE AMOL?NT CLAIMED under the above numbered policy is: 5 553 ,912.96 1)

:i`l'.a"l`ENll-`.NTS OF' lNS L=`RED .
`.'lic snii:l loss did not originate try any act, design or procurement ou the part of your insured, or this affiant; nothing has been done by
-.:-r with thc privity or consent of your insured or'this affiant to violate the conditions of the policy. or render it void: no articles arc
mcniinncd herein ur in annexed schedules but such as were destroyed or damaged at the time cf said loss: no property saved h~.\s in any
manner been concealed and nc- attempt to deceive the said compuny, as to the extent of said loss, has in any manner been made Any
other in limitation that nm;, he required will be tiiniished and considered a part of this proof

The furnishing ot` this blank or the preparation uf proofs by a r
orally of its rights

 

  
    

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"7 C~..:.r/»~ e'i¢/~r~'r-' armco _\ 1 ~ -'

Pl?"_".’ u::u‘.'

i’r`nuc¢l m U.S.,*\_

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 127 of 141 Page|D #: 131

1) See Attar:hed far breakdown of amount claimed.

 

 

 

RELEASE AND AUTHORIZ.ATION

The The Stan<|a\rd Fire fnsumnce Cornpany is hereby requested_. authorized and empowered to pay as follows:

 

 

.;.D l the sum of $
To the sum of $
Total $

ln full settlement and satisfaction for all loss and damage which occurred on co the propeny described

in wis Prool`of` Los.<, and covered under Policy Nmnber , issued to the undersigned

in :c)ns¢<.lezn.t:c-n of such payment r_'r.'c Ccmpa'ny 15 hereby discharged and ib_¢_'::v»;-;r released 'r`.-om day and a.='.i
claims_ demands uf` liability whatsoever for said loss and damage, under said policy.

 

lNSURED

 

 

DATE ' . MoR_TeAGEE

P| 727 UZ,"UT

Case 3:14-cv-OOOOl Document 1-1 Filed 01/02/14 Page 128 of 141 Page|D #: 132

 

 

 

 

1) BREAKDOWN OF FIRE LOSS CLAIM

 

1) VALUE
$500,000 ,00 Value of Home
$] 05,000.00 Fumimre & Clotlling
§605,000.00
2) LOSS $447,228.00 (Replaceme:nt€osts to Rebuild Homz]
+ $ 81 474.96 (Fumiture and Clothj.ng)
$528,702.95 5528,702.96
3)_ AMOUNT CLAIMED: $528,702.96
+ 6,000.00 - Hotel Expense (April - May 2011)
+ 400.00 - Meals
+ 18.810.00 = 990.00 per month x 19 months (rent)
_ ' (June, 2011 - D¢c. 12, 2012)
$553,912.96 Toral: $553,912.96

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 129 of 141 Page|D #: 133

 

 

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Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 130 of 141 Page|D #: 134

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Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 131 of 141 Page|D #: 135

 

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Case 3:14-cv-OOOOl Document 1-1 Filed 01/02/14 Page 132 of 141 Page|D #: 136

 

 

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Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 133 of 141 Page|D #: 137

 

 

134-'33-`.3.'02154PN1;MOSBEC 1353423‘|563

THE BlLL DERRYBERRY COMPANY
GENERAL CONTRACTOR
#'15714.

491 CORN ERSVlLI_E ROAD
LEWlSBURG, TENNESSEE
3709‘1
F'HONE NO: 931)359-5691
FAX NO: {931)359-3367

February 13, 2013

Mr. Glen Adcocl< _
932 Fo)<boro Drive
Lawisburg, TN 37091

Ref: Timol:hy and .Jennifer Hol|ahan
6326 Currywood Drive
Nashville,Th| 37205

Enclosed is The Bill Derryberry Company’s opinion of the cost to rebuild the
house at 5326 Currj,m!ood Drive, Nas hville, TN. As the house has been torn down
and removed, this opinion is based on.pictures taken by Bil|y Derring, Metro
Government of Davidson County's Fire investigation and dimensions furnished
by Grecco Construction Consultant’s Report.

Approximately 3.325.8 sf of Living Area @, S110.00/s‘f ' $ 365,843.00
Appro)cimate|y 1,196 sf of Basement @_ $4’:'i.UUlsf 53,820.00
Approximata|y 537 sf of Pcarch Areas @ $45,00.sf 24,'165.00
Approximateiy 170 sf of Deck @ $20.DDlsf 3,400.00
' 5 447,228_00

Again, l would like 'to emphasize, the above pricing is based on the information l
had to work with.

lf you have any questions please call me.

Bl L ERRYBERRYC lMPANY

 
   

am newberry

Gsnemi Contractor

 

Case 3:14-cv-OOOOl Document 1-1 Filed 01/02/14 Page 134 of 141 Page|D #: 138

 

SUPPORTING
D0CUMENTATION FOR
PLAINTIFFS’ AMENDEI)
SWORN STATEMENT IN

PROOF OF LOSS, FOR
$553,912.66, DATED JUNE
14, 2013, ARE
vOLUMINoUS AND WlLL
BE FILED AS PART 0F
EXHIBIT “0”

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 135 of 141 Page|D #: 139

 

 

EXHIBIT “P”

 

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 136 of 141 Page|D #: 140

 

 

7/18/2013 2:59:40 PM DREW ECKL FARNHAM ' 404-878-0992 Page l

DREW ECKL & FAP.NHAM, LLP

ATTDRNEYS AT l_AW
880 Wesi Peachlree Slreet
P.O. Bo)c 7600
Atlanla, GA 30357-0600
(404) sss-1400 ~ voice
(404) are-Degz - flax

FAcslwlll_E TRANSMlTrAL

DATEI 7/18!2013

TO: PAuL T. Hc>uscn FAX No.: (615)259-3315
COMPANY: vOlCE NO.:
FRoM.‘ KAREN KARABWOS ATTORNEY!PARALEGALNO.: 198

SENDER EN|A|L: karabinosk@def|aw.com

cuENT!MATrER No.: 05557-0?9550

RE; Hol|ahans

TQTAL. ND. OF PAGES (|NCL.LID\NG TH\S COVER SHEET]£ 4

IF YOU SHOULD HAVE ANY PROBLEMS RECElVlNG THIS FAX, PLEASE CONTADT;
Karen Karabinos AT: [404} 585-1400

REMARKS:

Please see the attached correspondence

CONF[DENTIALII'Y NO:I:§: The infolmacion conmined in this fapsimiie message is legally privileged and enni]demiai
information intended only for the usc of the individual or entity named abo\e ii this reader of tl\is message is not the intended
incipient von are henl_)y notified that any disseminmion. distribution m copy of this telecan is strictly prohibited If- v`ou have
received this ie]ecnpy in error, please immediately notify us by telephone and mum the oligiml message to us at tile address
above via the United States Pos‘l,al Selvice. Tlt:z.nk you.

Case 3:14-cv-00001 Document 1-1 File`d 01/02/14 Page 137 of 141 Page|D #: 141

 

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July 18, 2 o 13
`WRITER'S DIRECT ACCESS
14041 885-6313
lcka_rabinos @det`l aw.com

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Paul T. Housch

222 Second Avenue North
Washington Squire, Silite 310
Nashville, TN 37201

RE: Insureds; Timo thy & Jennifer Ho!lahan
Policy No.: 978409682-633-1
Claim No.: HFX81'74
Date of Loss: 4/13/2011
Our File No.: 05657-079680

Dear Mr. Housch:

I represent The Standard Fire Insul‘ance Company (“Standard Fire") who has
asked me to respond to your letter dated June 17, 2013 `m which you have threatened to
tile suit against Standa.rd on behalf of your clients, Timothy and Jennifer `Hollahan.

As you imow, the tire loss for which your clients submitted their claim occurred
on or about April 13, 201;1. The policy issued by Standard Fire to your clients provided
in pertinent part as follows:

SECTION 1 - CONDITIONS

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2. Your Dun'es Aji“er Loss. fn case of a loss to which this insurance may
appiy, you shall see that the following duties areperfor'med:

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ARANTA BRUNSWTCK

Case 3:14-cv-00001 Document 1-1 Filed 01/02/14 Page 138 of 141 Page|D #: 142

 

 

7/18/2013 2159:44 PM DREW ECKL FARNHAM 404-876_0382" Page 3

Paul T. Housch
July 18J 2013
RE: Ho!tahans
Page 2

g. ' SUBMIT TO US, WI`THIN 60 DA YS AFJ'ER 1i/‘l&`i`lRlE€QUEST, YOUR
SIGNED, SWORN STATEMENT OF LOSS WHICH SETS FORTH,
TO THE BEST OF YO UR IG\TOWLEDGE AND BELIEF:

1. ms mrs AND ca sss oF soss,-

2. INTEREST OF THE .[NSURED AND ALL OTHERS IN THE
PROPERTY WVOLVED AND ALL ENCUMBRA_NCES ON

THE PR oPER TY,~
3. OTHER msURANCs WHICH MA Y COVER rea Loss,~

4. CHANGES IN TITLE OR OCCUPANCY OF THE PROPERTY
DURING THE TERM OF THE POLICY,'

5. SPECIFI(HTIONS OFANY DA_MAGED B UILDING AND
DETAILED ESTH'¢MTES FOR REPA_{R OF THE DAMAGE,‘

6. ANINVENTOR YOF DAMAGED PERSONAL PROPERTY
DESCRIBED mae ABO VE;

7.' RECEIPTS FOR ADDITIONAL LIVING EXPENSES
INCURRED AND RECORDS SUPPOR'.UNG THE FAIR
RENTAL VALUE LOSS,'

**~!'*'I(-

S. SuitAgainst Us. No action shall be brought UNLESS THERE HAS
BEEN COBFPLIANCE WITH THE POLICYPR OVISIONS AND THE
ACTIONIS STARTED MTHIN ONE YEAR AFTER THE
OCCLURENCE CAUSING LOSS OR DAMAGE.

It is undisputed that your clients did not comply with the policy provisions as
requested by Standard Fire, which Was specifically detailed in the denial letter dated
December 12, 2011. The Hollahans’ failure to cooperate prevented Standard Fire from
fully and fairly investigating the other issues related to their claim.

Not only did the l-Iollahans’ failed to cooperate, they did not tile suit within the
suit limitations period provided for in the policy. Any suit now filed thus would be time
barred See Certa in Underwriters at Llovd's of london v. Transcarriers Inc., 107 S.W.3d
496, 499 (Tenn.Ct.App.aooa).

While we understand that your clients may be disappointed that Standard Fire
did not pay their claim, Standard Fire cannot accept their claim or make any payment
based on the facts of their claim, the policy provisions and Ten nessee law.

Case 3:14-cv-OOOOl Document 1-1 Filed 01/02/14 Page 139 of 141 Page|D #: 143

 

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Paul T. Hou.sch
July 18, 2013
RE: Hotlahans
Page 3

Please let me know if you are aware of any further documentation or legal
support that Standard Fire should consider in connection with your clients’ claim.

Very truly yours,
D st, ECKL & FARNHAM, LLP

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Karen K. Karabinos

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05657-079680

Case 3:14-cv-OOOOl Document 1-1 Filed 01/02/14 Page 140 of 141 Page|D #: 144

 

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Case 3:14-cv-OOOOl Document 1-1 Filed 01/02/14 Page 141 of 141 Page|D #: 145

